CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 1 of 103




          EXHIBIT 8
       CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 2 of 103

                                                          800 LAS ALLE AVENUE        612 349 8500 TEL
                                                          SUITE 2800                 612 339 4181 FAX
                                                          MINNE APOLIS MN 55 402     ROBINS KAP LAN COM




Soren Stevenson                                         Date:                      March 31, 2022
2717 East 22nd Street                                   File Number:               129949.0000
Minneapolis, MN 55406                                   Attorney:                  R. Bennett
                                                        Terms:                     30 Days



RE: Stevenson, Soren v. City of Minneapolis; John Doe

Professional Services & Expenses:

               Legal Fees                                                                 $1,481,258.00
               Legal Expenses                                                                 $31,934.60

               Total Amount Due                                                           $1,513,192.60




Robins Kaplan Contacts:
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Please send remittance information to: RK-CashReceipts@RobinsKaplan.com
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             CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 3 of 103

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Stevenson, Soren                                                          Date:             March 31, 2022
                                                                          File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:             1

Date        Timekeeper          Description                                               Hours              Fees

06/02/20    R. Bennett          Soren STEVENSON: Telephone conference with                 0.70         $598.50
                                attorney R. Kreps, referring counsel and long term
                                Stevenson family friend
06/03/20    R. Bennett          SOREN STEVENSON: Review WCCO video.                        0.30         $256.50

06/04/20    R. Bennett          STEVENSON: Telephone conference with R,                    0.40         $342.00
                                Kreps.
06/05/20    R. Bennett          SOREN STEVENSON: Telephone conference with                 0.60         $513.00
                                R. Kreps.
06/08/20    R. Bennett          SOREN STEVENSON: Telephone conference with                 1.10         $940.50
                                R. Kreps [.5]; telephone conference with Katie
                                Bennett [.3]; telephone conference with Nick Adler
                                re new client[.3].
06/08/20    K. Bennett          telephone conference with RB re: new client [.3]           0.30         $205.50

06/09/20    R. Bennett          Attend Zoom meeting with client [1.0]; telephone           2.80       $2,394.00
                                conference with Katie Bennett [.3]; telephone
                                conference with Andy Noel re new client [.3];
                                telephone conference with Katie Bennett x2 re
                                interview [.4]; review meeting notes [.4]; review file
                                opening memo [.4].
06/09/20    A. Noel             Prepare for and attend telephone conference with           1.50       $1,095.00
                                client and Ronn Kreps and team.
06/09/20    A. Noel             telephone conference with RB re: new client [.3]           0.30         $219.00

06/09/20    K. Bennett          telephone conference with RB re: new client and            1.70       $1,164.50
                                next steps[.7]; zoom mtg with client/RB/AJN/R.
                                Kreps [1.0]
06/09/20    N. Adler            Soren Stevenson - Client meeting with potential            3.00         $660.00
                                new client Soren Stevenson [1.0]; Research media
                                for incident [2.0]
06/10/20    R. Bennett          Telephone conference with Katie Bennett and Andy           0.50         $427.50
                                Noel re: next steps
06/10/20    A. Noel             telephone conference with RB/KHB re next steps             0.50         $365.00
                                [.5]
06/10/20    K. Bennett          Draft email to Soren re: retainer, auths, provider list    0.70         $479.50

06/10/20    K. Bennett          telephone conference with RB/AJN re next steps             0.50         $342.50
                                [.5]
             CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 4 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             2

Date        Timekeeper          Description                                             Hours              Fees

06/10/20    A. Koob             Review emails from KHB, review file/notes, and           0.40          $92.00
                                view related videos/articles [.2]; prepare and send
                                authorizations to KHB for client signature [.2].
06/15/20    R. Bennett          Email N. Adler re investigation [.3]; voice mail         1.50       $1,282.50
                                from client [.2]; telephone conference with client
                                [.3]; telephone conference with Katie Bennett re
                                next steps [.2]; review Katie Bennett email [.4];
                                telephone conference with client [.3].
06/15/20    K. Bennett          Discuss plan, updates with civil rights team.            0.30         $205.50

06/15/20    M. Betinsky         Conference call with CRG re Stevenson matter             0.30         $159.00
                                strategy and next steps in development of record
                                (.3).
06/15/20    A. Koob             Review multiple emails regarding status and              0.50         $115.00
                                respond to same [.2]; Zoom meeting with RB, AJN,
                                KHB, and MEB to discuss status and strategy [.3].
06/16/20    R. Bennett          Telephone conference with Katie Bennett/Andy             1.20       $1,026.00
                                Noel re Go Fund Me [.6]; telephone conference with
                                Ronn Kreps [.6].
06/16/20    A. Noel             telephone conference with RB/KHB re: GoFundMe            0.60         $438.00
                                [.6]
06/16/20    K. Bennett          Review go fund me page, entries, links to you tube       1.30         $890.50
                                and other websites with information re: injuries, etc
                                [.7] Discuss concerns with RB and AJN [.6].
06/17/20    M. Betinsky         Emails with N. Adler re circumstances surrounding        2.00       $1,060.00
                                S. Stevenson shooting, review file materials
                                regarding same, and draft and edit letter with
                                photographs to Arradondo and Nilsson concerning
                                same (2.0)
06/17/20    N. Adler            Soren Stevenson - Review and capture still shots of      1.50         $330.00
                                video [1.0]; Correspond with client, correspond with
                                team [.5]
06/18/20    R. Bennett          Review and revise letter to Nillson and Arradondo        1.50       $1,282.50
                                and telephone conference with Marc Betinsky re
                                same [.5]; telephone conference with R. Kreps [.2];
                                telephone conference with Andy Noel and Marc
                                Betinsky and emails re press conference [.8].
06/18/20    A. Noel             Telephone conference with Bob Bennett re Nilsson         0.70         $511.00
                                ltr
             CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 5 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                           Date:            March 31, 2022
                                                                           File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                          Page:            3

Date        Timekeeper          Description                                               Hours              Fees

06/18/20    M. Betinsky         T/C with RB re letter concerning S. Steveson to            0.80         $424.00
                                MPD/City, edits to letter, and follow-up call re same
                                (.5).
06/19/20    R. Bennett          Communication with Marc Betinsky re getting                0.30         $256.50
                                correspondence out.
06/19/20    A. Noel             Review client and team emails and media strategy.          1.00         $730.00

06/19/20    M. Betinsky         Emails with RB and Soren Stevenson re information          1.40         $742.00
                                needed for letter to Arrandondo and Nilsson, prep
                                authorization to go with same, and oversee sending
                                same (1.4)
06/20/20    M. Betinsky         Emails re Soren Stevenson injuries.                        0.20         $106.00

06/22/20    R. Bennett          Review client email and Adler email and photos             1.90       $1,624.50
                                [.6]; review blunt impact projectile specifications of
                                Safariland in detail [.6]; telephone conference with
                                Marc Betinsky [.4]; telephone conference with
                                Andy Noel re same [.3]
06/22/20    A. Noel             Review claim letter and file material [1.0];               1.30         $949.00
                                telephone conference with Bob Bennett re BIP [.3]
06/22/20    K. Bennett          Review info re: retainer; update from Nick and             1.30         $890.50
                                evidence collected; review info on the Safariland
                                projectile likely used against Soren.
06/22/20    M. Betinsky         Email from N. Adler re evidence collected in               0.90         $477.00
                                Stevenson case and research projectile used (.5);
                                conference call with RB (.4)
06/22/20    N. Adler            Correspond with team [.5]; Travel to Ron Krepps            5.50       $1,210.00
                                house. Social distant meeting with Krepps and
                                Soren Stevenson and 2 witnesses. Retrieve
                                evidence. Process and store evidence at Warehouse.
                                Travel. [5.0]
06/23/20    R. Bennett          Email client [.3]; review evidence [.3].                   0.60         $513.00

06/24/20    R. Bennett          Telephone conference with Sarff.                           0.30         $256.50

06/25/20    R. Bennett          Contact - email - voice mail with and from K. Sarff        1.80       $1,539.00
                                Mpls. City Atty's Office [1.5]; revise letter to Evans
                                [.3].
06/25/20    M. Betinsky         Prepare and submit data practices act request to city;     0.40         $212.00
                                emails re same.
             CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 6 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             4

Date        Timekeeper          Description                                             Hours              Fees

07/01/20    R. Bennett          Telephone conference with Marc Betinsky [.3];            1.30       $1,111.50
                                review Drew Evans letter [.3]; correspondence to
                                client [.4]; review email from client [.3].
07/01/20    M. Betinsky         Emails re BCA letter [.2]; conference with RB [.3]       0.50         $265.00

07/02/20    A. Noel             Email correspondence with team and client.               0.50         $365.00

07/09/20    R. Bennett          Telephone conference with Ronn Kreps [.3];               1.30       $1,111.50
                                telephone conference with Sarff [.2]; review file and
                                media [.8].
07/13/20    R. Bennett          Respond to Sarff.                                        0.30         $256.50

07/14/20    R. Bennett          Telephone conference with K. Sarff [.3]; telephone       1.00         $855.00
                                conference with Katie Bennett and Marc Betinsky re
                                tactics and review Washington Post piece on 40 mm
                                misuse [.7].
07/14/20    K. Bennett          telephone conference with RB/MEB re:                     0.40         $274.00
                                tactics/Washington post piece [.4]
07/14/20    M. Betinsky         telephone conference with RB/KHB re:                     0.40         $212.00
                                tactics/Washington post piece [.4]
07/15/20    R. Bennett          Conference with team and telephone conference            1.60       $1,368.00
                                with Soren [1.0]; conference call with Andy Noel,
                                Katie Bennett and Marc Betinsky [.2]; telephone
                                conference with Marc Betinsky re research of
                                enforceability of MPD policies re use of force and
                                action plan [.2]; review memo [.2];
07/15/20    A. Noel             telephone conference with team re Storms emails          0.20         $146.00
                                [.2]
07/15/20    K. Bennett          telephone conference with team re Storms emails          0.20         $137.00
                                [.2]
07/15/20    M. Betinsky         Research re enforceability of policy modifications at    2.20       $1,166.00
                                MPD re use of force and emails CRG re same (1.7);
                                emails regarding GoFundMe (.3); conference call
                                RB and KHB re GoFundMe and next steps to take
                                re same (.2).
07/16/20    R. Bennett          Review Fluegel's memo on GoFundMe.                       0.40         $342.00

07/16/20    M. Betinsky         Email RB re City response to identification requests     1.00         $530.00
                                re shooter (.1); email RB re potential RICO claims
                                vis-a-vis union and begin review of article
                                concerning same (.6); emails re GoFundMe (.3).
             CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 7 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                           Date:              March 31, 2022
                                                                           File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                          Page:              5

Date        Timekeeper          Description                                                 Hours              Fees

07/17/20    R. Bennett          Review Marc Betinsky's RICO memo.                            0.30         $256.50

07/20/20    R. Bennett          Telephone conference with Brad Murkens FBI [.3];             0.70         $598.50
                                review communication history [.4].
07/21/20    R. Bennett          Review and consider pertinent MPD policies and               2.00       $1,710.00
                                options with Marc Betinsky and Katie Bennett [1.0];
                                telephone conference with Ronn Kreps [.3]; review
                                Katie Bennett MPD policies memo [.5]; telephone
                                conference with Katie Bennett [.2].
07/21/20    K. Bennett          Call with RB/MEB re: next steps (sue out/research            2.00       $1,370.00
                                assignments) [.5] MPD policy and procedure review
                                + draft memo to civil rights team re: same
                                (identification of officers, reports should exist)
                                [1.5].
07/21/20    M. Betinsky         Conference call with RB/KHB re MPD officer                   1.70         $901.00
                                identification, relevant MPD policies re same, and
                                strategies for identifying shooting officer (.5);
                                review KHB memo re relevant MPD policies and
                                research re officer failure to identify, emails re same
                                (.8); emails N. Adler re video of shooting and prep
                                for media attention and T/C RB re same (.4).
07/22/20    R. Bennett          Email Katie Bennett re additional MPD BWC                    1.40       $1,197.00
                                policies [.3]; review Marc Betinsky email [.2];
                                review Katie Bennett revised memo [.5]; telephone
                                conference with Katie Bennett re expert issue [.3];
                                telephone conference with Jack Ryan [.3].
07/22/20    K. Bennett          Continue review of MPD policies; begin drafting              2.00       $1,370.00
                                letter re: identities of officers to Minneapolis City
                                Attorney's office [2.0]
07/22/20    K. Bennett          telephone conference with RB re: BWC expert                  0.30         $205.50
                                issues [.3]
07/22/20    M. Betinsky         Send and review mails re MPD policies.                       0.30         $159.00

07/22/20    N. Adler            Download photos and video, correspond with M.                1.00         $220.00
                                Betinsky.
07/23/20    R. Bennett          Conference with Marc Betinsky and Katie Bennett              1.50       $1,282.50
                                re action plan [.5]; review/revise letter to Sarff [1.0].
07/23/20    A. Noel             Review early draft letter [.6] and discuss same [.4].        1.00         $730.00

07/23/20    K. Bennett          Continue drafting letter to Sarff [2.5]Review                3.50       $2,397.50
                                Projectile policy [1.0].
             CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 8 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:              March 31, 2022
                                                                         File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:              6

Date        Timekeeper          Description                                               Hours              Fees

07/23/20    M. Betinsky         Conference with CRG re next steps (.2); T/C with           0.40         $212.00
                                Paul McCaffrey re video of shooting (.2).
07/24/20    R. Bennett          Review and revise letter to Nilsson and Sarff [.6];        2.50       $2,137.50
                                conference with Andy Noel re same [.4]; details re
                                distribution [.5]; telephone conference with media
                                [1.0].
07/24/20    A. Noel             telephone conference with RB re: Nilsson and Sarff         0.40         $292.00
                                ltr [.4]
07/24/20    K. Bennett          Review edits to Sarff letter by MEB and RB; edit           0.50         $342.50
                                letter and email out for further discussion with RB.
07/28/20    R. Bennett          Review Mpls. initial response.                             0.40         $342.00

07/28/20    K. Bennett          Emails re: starting lawsuit.                               0.20         $137.00

07/29/20    R. Bennett          Review 609.066/telephone conference with Marc              0.80         $684.00
                                Betinsky [.4]; review emails re medicals [.4].
07/29/20    A. Noel             telephone conference with RB re: 609.066 [.4]              0.40         $292.00

07/29/20    K. Bennett          Review MPD report info; review file and discuss            1.60       $1,096.00
                                plan with regard to records requests with ATK
                                [1.0]Correspondence with Soren re: treating
                                providers and authorizations [.6].
07/29/20    A. Koob             Review emails from KHB regarding records                   1.10         $253.00
                                requests and respond to same [.2]; review signed
                                authorizations from client, save same to electronic
                                file and submit requests for medical and billing
                                records [.5]; create request index and billing index
                                [.3]; email to client regarding Dr. Holt for additional
                                information on affiliated facility and review
                                response from client regarding same[.1].
08/01/20    A. Noel             Work on complaint.                                         2.80       $2,044.00

08/03/20    R. Bennett          Conference with civil rights team re complaint and         0.50         $427.50
                                action plan.
08/03/20    A. Noel             Telephone conference with team re: complaint               0.50         $365.00
                                issues
08/04/20    R. Bennett          Telephone conference with Katie Bennett re                 0.40         $342.00
                                complaint issues.
08/04/20    A. Noel             Drafting complaint.                                        2.00       $1,460.00
             CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 9 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:            March 31, 2022
                                                                       File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:            7

Date        Timekeeper          Description                                           Hours              Fees

08/04/20    K. Bennett          Draft MPD launcher policy section of complaint and     0.80         $548.00
                                email to AJN.
08/04/20    K. Bennett          telephone conference with RB re: complaint [.4]        0.40         $274.00

08/05/20    A. Noel             Work on complaint.                                     1.50       $1,095.00

08/06/20    R. Bennett          Telephone conference with Andy Noel re complaint.      0.50         $427.50

08/06/20    A. Noel             telephone conference with RB re: complaint [.5]        0.50         $365.00

08/07/20    R. Bennett          Telephone conference with Andy Noel re complaint.      0.40         $342.00

08/07/20    A. Noel             telephone conference with RB re: complaint [.4]        0.40         $292.00

08/09/20    A. Noel             Drafting complaint.                                    2.10       $1,533.00

08/11/20    R. Bennett          Conference with Andy Noel.                             0.40         $342.00

08/11/20    A. Noel             telephone conference with RB re: complaint [.4]        0.40         $292.00

08/12/20    R. Bennett          Review Guardian article.                               0.50         $427.50

08/12/20    A. Noel             Work on complaint.                                     5.50       $4,015.00

08/14/20    R. Bennett          Preview draft complaint.                               1.00         $855.00

08/14/20    M. Betinsky         Review draft complaint/facts.                          0.60         $318.00

08/17/20    A. Noel             Review and revise complaint.                           1.70       $1,241.00

08/19/20    R. Bennett          Telephone conference with client re complaint,         1.00         $855.00
                                Gofund me, options re career; case strategy and
                                non-monetary relief.
08/21/20    R. Bennett          Review draft complaint.                                0.60         $513.00

08/21/20    A. Noel             Review medical.                                        1.70       $1,241.00

08/21/20    A. Koob             Review email from D. Roisum regarding MHealth          0.20          $46.00
                                records request and approval for records fee and
                                email to KHB and RB to get approval for amount,
                                review of records requests to confirm requests for
                                imaging and email response to D. Roisum regarding
                                approval of records costs.
08/27/20    R. Bennett          Emails x3 to/from client.                              0.80         $684.00
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 10 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            8

Date        Timekeeper          Description                                            Hours              Fees

08/28/20    A. Noel             Update and draft complaint.                             1.20         $876.00

08/28/20    A. Koob             Review of Brave Choices medical records and             4.00         $920.00
                                prepare summary of same [3.6]; review billing
                                records from Brave Choices and update billing
                                index, email summary and updated information to
                                KHB and AJN [.4].
08/31/20    A. Koob             Emails to/from D. Roisum regarding imaging CD.          0.10          $23.00

09/01/20    R. Bennett          Review case development strategy with Andy Noel.        0.50         $427.50

09/02/20    R. Bennett          Telephone conference with Andy Noel re timing           0.80         $684.00
                                and contacts.
09/02/20    A. Noel             Drafting complaint ].7] and telephone conference        1.50       $1,095.00
                                with Bob Bennett re info from Sarff [ .8]
09/02/20    M. Betinsky         Email re Soren's attendance at George Floyd             0.10          $53.00
                                discussion.
09/03/20    R. Bennett          Telephone conference with Sarff [.7]; telephone         2.20       $1,881.00
                                conference with CR team re status update [.5];
                                telephone conference with client re public
                                statements [.6]; review Katie Bennett notes [.4].
09/03/20    A. Noel             Review imaging and other medical for input into         1.50       $1,095.00
                                complaint.
09/03/20    A. Noel             conference with team re status update [.5]              0.50         $365.00

09/03/20    K. Bennett          Review MPD policy and procedure manual,                 2.20       $1,507.00
                                brainstorm re: identification discovery needed and
                                draft memo re: same [1.8]Update from Bob re:
                                information on BWC evidence from City [.4].
09/03/20    K. Bennett          conference with team re status update [.5]              0.50         $342.50

09/03/20    M. Betinsky         Conference call CRG re contact from City                0.70         $371.00
                                Attorney's Office, new information for Complaint
                                and strategy going forward (.5); review KHB memo
                                re policies and other information that should allow
                                identification of involved officer(s) (.2).
09/03/20    A. Koob             Email to/from KHB regarding imaging CD from M           0.10          $23.00
                                Health received and status of download, email to
                                AJN regarding same.
09/04/20    M. Betinsky         Brief review of draft complaint.                        0.40         $212.00
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 11 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:              March 31, 2022
                                                                       File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:              9

Date        Timekeeper          Description                                             Hours              Fees

09/04/20    A. Koob             Review imaging CD from M Health, download                0.30          $69.00
                                imaging to electronic file, update index and email
                                AJN regarding available imaging for his review.
09/08/20    R. Bennett          Telephone conference with Andy Noel and Marc             0.60         $513.00
                                Betinsky re complaint issues.
09/08/20    A. Noel             telephone conference with RB/MEB re: complaint           0.60         $438.00
                                issues [.6]
09/08/20    M. Betinsky         telephone conference with RB/MEB re: complaint           0.60         $318.00
                                issues [.6]
09/10/20    M. Betinsky         Email re additional info for Complaint and begin         0.70         $371.00
                                "hard review" of draft Complaint.
09/11/20    M. Betinsky         Continue "hard review" of draft Complaint.               0.50         $265.00

09/14/20    M. Betinsky         Continue "hard review" of draft Complaint.               1.60         $848.00

09/15/20    R. Bennett          Telephone conference with Marc Betinsky re               2.60       $2,223.00
                                organization of complaint [.4]; telephone conference
                                with client [.4]; telephone conference with client re
                                meeting [.5]; telephone conference with Furst at
                                Strib [.5]; telephone conference with RK
                                receptionist re medical records [.4]; telephone
                                conference with Marc Betinsky re same [.4].
09/15/20    M. Betinsky         T/C with RB re draft Complaint (.8); Revise,             5.00       $2,650.00
                                restructure, reorganize complaint and add additional
                                details to same (4.2)
09/16/20    R. Bennett          Review medical imaging records [.5]; review              2.30       $1,966.50
                                revised complaint [1.0]; telephone conference with
                                Marc Betinsky [.4]; prepare for interview [.4].
09/16/20    M. Betinsky         T/C with RB re new medical and adding medical            3.80       $2,014.00
                                information to Complaint (.4); Work with and
                                review newly received documents from Soren with
                                medical imaging and radiology reports, add new
                                allegations regarding same, amendments to draft
                                Complaint for meeting with media on 9/17 (3.1) T/C
                                and emails to Soren re media meeting, emails RB
                                (.3)
09/17/20    R. Bennett          Prepare for and client conference with R. Furst          2.90       $2,479.50
                                [2.3]; conference with client [.6].
09/17/20    A. Koob             Review emails regarding imaging from client,             0.20          $46.00
                                review same and respond to MEB question
                                regarding imaging.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 12 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:              March 31, 2022
                                                                        File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:              10

Date        Timekeeper          Description                                              Hours              Fees

09/18/20    R. Bennett          Conference with CR team [.4]; review text message         3.40       $2,907.00
                                and respond [.4]; review MPD IA request [.3];
                                review and revise complaint [1.2]; telephone
                                conference with Marc Betinsky [.3]; telephone
                                conference with client [.5]; review civil cover sheet
                                [.3].
09/18/20    A. Noel             Telephone conference with team.                           0.30         $219.00

09/18/20    K. Bennett          Discuss strategy and status of complaint/filing.          0.30         $205.50

09/18/20    M. Betinsky         Conference call CRG re status and strategy (.4);          2.70       $1,431.00
                                further edits to draft Complaint and civil cover sheet
                                (1.7); T/C with RB re same (.3); review IA letter re
                                meeting and T/C with RB re same (.3).
09/21/20    R. Bennett          Review final draft [.7]; telephone conference with        1.60       $1,368.00
                                client [.6]; telephone conference with Furst [.3].
09/21/20    M. Betinsky         Final review of Complaint for filing, T/Cs with RB        2.80       $1,484.00
                                re same, oversee filing same and civil cover sheet
                                (1.5); emails with team re judicial assignment (.2);
                                review Star Tribune article re Complaint (.8); T/C
                                with RB and R. Furst re Star Tribune article errors
                                (.3)
09/21/20    A. Koob             Receive and review billing and medical records            2.90         $667.00
                                from M Health, update index and compare to
                                medical records and dates of service, begin review
                                of medical records from M Health (557 pages) and
                                begin to work on summary of records.
09/22/20    R. Bennett          Telephone conference with Griff Merry [.4];               2.30       $1,966.50
                                telephone conference with Brian Cade [.3];
                                telephone conference with R. Kreps [.4]; conference
                                with Randy Furst re new writers [.4]; telephone
                                conference with Andy Canadeo IA/MPD [.2];
                                telephone conference with Nick Adler [.3];
                                telephone conference with MEB [.3]
09/22/20    A. Noel             Review correspondence re: judicial assignment and         0.50         $365.00
                                damages.
09/22/20    K. Bennett          Update re: witness to Stevenson's injury.                 0.30         $205.50

09/22/20    M. Betinsky         T/C with RB re Complaint, email same to Soren and         0.70         $371.00
                                Ronn Kreps (.3); email Jack Ryan re Complaint and
                                retention, complete file opening form, emails and
                                T/C with RB re same (.4).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 13 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:            March 31, 2022
                                                                         File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:            11

Date        Timekeeper          Description                                             Hours              Fees

09/22/20    A. Koob             Continue to review medical records from M Health         5.40       $1,242.00
                                and draft summary of records, finalize summary of
                                M Health records and email same to KHB and AJN.
09/22/20    N. Adler            Interview Griff Merry. Correspond with Bob               1.00         $220.00
                                Bennett.
09/23/20    R. Bennett          Conference with CR team re action plan [.4];             1.30       $1,111.50
                                telephone conference with client [.3]; telephone
                                conference with Jack Ryan [.6].
09/23/20    K. Bennett          Conf call with civil rights team re: strategy.           0.40         $274.00

09/23/20    M. Betinsky         Conference ZOOM with CRG re status and strategy.         0.40         $212.00

09/24/20    R. Bennett          Telephone conference with Sgt. Canadeo.                  0.30         $256.50

09/24/20    K. Bennett          Review Tirado Amended Complaint and Motion to            1.50       $1,027.50
                                Dismiss [1.5].
09/28/20    R. Bennett          Review Griffin Merry interview notes and Adler           0.50         $427.50
                                email/report.
09/29/20    A. Koob             Request billing records from U of M Physicians           0.20          $46.00
                                related to M Health billing and records previously
                                received and update request index.
10/01/20    R. Bennett          Telephone conference with Ronn Kreps.                    0.50         $427.50

10/06/20    R. Bennett          Review medical note [.3]; telephone conference           0.50         $427.50
                                with K. Sarff [.2]
10/07/20    A. Noel             Telephone conference with team re City response          0.30         $219.00
                                and discovery.
10/07/20    K. Bennett          Discuss updates and plan re: disclosures of medical      0.30         $205.50
                                records to Saarf with team
10/07/20    A. Koob             Zoom meeting with team with updates, strategy            0.30          $69.00
                                moving forward, and medical records status.
10/12/20    R. Bennett          Telephone conference with Ronn Kreps re: Soren's         0.90         $769.50
                                surgery/COVID-19 status [.4]; telephone conference
                                with client [.5].
10/13/20    R. Bennett          Follow-up re Soren's cheek graft surgery.                0.40         $342.00

10/20/20    R. Bennett          Respond to Sarff re stip for protective order [.5]       0.40         $342.00

10/22/20    K. Bennett          Prep and Zoom call with Minneapolis City                 0.30         $205.50
                                Attorneys re: PO and case progression.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 14 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             12

Date        Timekeeper          Description                                             Hours              Fees

10/26/20    A. Koob             Receive and review U of M Physicians billing             0.80         $184.00
                                records, update index, review of other M Health
                                billing and records.
10/27/20    R. Bennett          Conference with CRT [.3]; review several issues          0.80         $684.00
                                [.5].
10/27/20    A. Noel             Telephone conference with team re file status and        0.30         $219.00
                                action items.
10/27/20    K. Bennett          Conf re: update and next steps with civil rights team    0.30         $205.50
                                [.3].
10/27/20    M. Betinsky         Conference call CRG re status and strategy (.3);         0.60         $318.00
                                check status of service and oversee accomplishing
                                service on city and Arrandondo, filing of affidavits
                                of service (.3).
10/27/20    A. Koob             Zoom call with Civil Rights Team to discuss              0.60         $138.00
                                strategy moving forward [.3]; review of U of M
                                Physician records regarding Dr. Uppgaard
                                appointments and billing [.3].
10/28/20    A. Noel             Review recent case law and complaints.                   0.90         $657.00

11/02/20    R. Bennett          Emails to/from A. Koob [.3]; telephone conference        2.10       $1,795.50
                                with Soren Stevenson [.5]; telephone conference
                                with A. Koob [.3]; review FOIA response [1.0].
11/02/20    K. Bennett          Review data request response.                            0.80         $548.00

11/02/20    M. Betinsky         Review documents from city in response to open           0.50         $265.00
                                records request and email CRG re same (.4); emails
                                re Soren's latest medical treatment (.1).
11/02/20    A. Koob             Review of requested records and email to client to       2.30         $529.00
                                confirm treaters prior to requesting updated records
                                [.4]; review response from client and respond to
                                same [.1]; submit requests for updated records and
                                update request index [.3]; email RB and MEB
                                regarding client's lack of follow-up with Chang
                                referral [.1]; telephone call with RB regarding past
                                medical history per client [.3]; review M Health
                                records regarding ablation and eye vision and
                                update medical summary regarding same, request
                                operative/chart notes regarding ablation and email to
                                RB and MEB with updated vision and ablation
                                information [1.1].
11/10/20    R. Bennett          Telephone conference with Andy Noel re Rule 12b6         0.70         $598.50
                                motion prospects and additional arguments.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 15 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:            March 31, 2022
                                                                       File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:            13

Date        Timekeeper          Description                                           Hours              Fees

11/11/20    A. Noel             Telephone conference with RB re 12b6 motion [.7];      1.80       $1,314.00
                                conduct fact based survey of other similar cases
                                with memo to team re same [1.1]
11/17/20    R. Bennett          Telephone conference with K. Sarff [.5]; quick         1.20       $1,026.00
                                review of filings [.7].
11/17/20    M. Betinsky         Brief review of city defendants' motion to dismiss.    0.30         $159.00

11/18/20    R. Bennett          Conference with Andy Noel re: MTD                      0.40         $342.00

11/18/20    A. Noel             telephone conference with RB re: MTD [.4]              0.40         $292.00

11/19/20    R. Bennett          Review motions and filing [1.7]; conference with       2.10       $1,795.50
                                Andy Noel [.4].
11/19/20    K. Bennett          Review memo re: motion to dismiss.                     2.00       $1,370.00

11/20/20    R. Bennett          Conference with Andy Noel and Katie Bennett re         0.40         $342.00
                                Rule 12 motion response.
11/20/20    A. Noel             Telephone conference with Bob Bennett and Marc         0.40         $292.00
                                Betinsky re officer ID and Doe.
11/20/20    A. Noel             telephone conference with RB/KHB re MTD [.4]           0.40         $292.00

11/20/20    K. Bennett          telephone conference with RB/AJN re MTD [.4]           0.40         $274.00

11/20/20    M. Betinsky         Review motion to dismiss and begin work on             0.80         $424.00
                                response to same.
11/23/20    M. Betinsky         Work on opposition to motion to dismiss.               1.60         $848.00

11/24/20    M. Betinsky         Continue work on opposition to motion to dismiss,      2.20       $1,166.00
                                T/C with RB re same, T/C with B. Resch re Samaha
                                oral argument before Judge Nelson and arguments
                                for same.
11/25/20    M. Betinsky         Continue work on opposition to motion to dismiss.      2.60       $1,378.00

11/30/20    M. Betinsky         Continue work on opposition to motion to dismiss.      4.50       $2,385.00

11/30/20    A. Koob             Review email from D. Roisum regarding Fairview         0.20          $46.00
                                records requests, email AJN regarding cost of same,
                                review response and email to D. Roisum approving
                                costs.
12/01/20    M. Betinsky         Continue work on opposition to motion to dismiss.      6.50       $3,445.00
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 16 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:              March 31, 2022
                                                                       File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:              14

Date        Timekeeper          Description                                             Hours              Fees

12/02/20    R. Bennett          Review response to Rule 12 motion in detail [2.2];       2.50       $2,137.50
                                telephone conference with Marc Betinsky re filing
                                [.3].
12/02/20    A. Noel             Review response to MTD and offer revisions.              2.00       $1,460.00

12/02/20    M. Betinsky         Complete and edit draft of opposition to motion to       5.80       $3,074.00
                                dismiss, emails CRG re same (5.5); T/C RB with
                                edits to same (.3)
12/03/20    R. Bennett          Telephone conference with client [1.0]; review           1.60       $1,368.00
                                Judge Tunheim's order in Sagehorn [.6].
12/03/20    M. Betinsky         Final review and edits to opposition to motion to        4.00       $2,120.00
                                dismiss, emails AJN with additional edits, prepare
                                RB Declaration with opposition, oversee filing
                                same, email client with opposition.
12/04/20    M. Betinsky         Revise stipulation for John Doe Defendants from          0.40         $212.00
                                Marks for use in Soren's case and email RB re same.
12/07/20    M. Betinsky         Email and T/C with K. Sarff re John Doe extension,       0.70         $371.00
                                email CRG re same, review draft protective order
                                regarding same.
12/08/20    M. Betinsky         Draft and send email to K. Sarff re John Doe             0.50         $265.00
                                extension and early discovery
12/09/20    A. Noel             Telephone conference with team re status and action      0.50         $365.00
                                items.
12/09/20    M. Betinsky         Observe argument of Armstrong MTD before Judge           2.40       $1,272.00
                                Nelson (1.9); conference call with CRG following
                                same re arguments raised at hearing and questions
                                from the bench for consideration in connection with
                                MTD Soren's Complaint (.5)
12/10/20    M. Betinsky         Emails K. Sarff re John Doe stipulation and              0.70         $371.00
                                revisions to same.
12/11/20    M. Betinsky         Emails with K. Sarff re John Doe extension and           0.70         $371.00
                                protective order.
12/14/20    M. Betinsky         Emails K. Sarff re protective order and extension for    0.20         $106.00
                                John Does.
12/15/20    R. Bennett          Telephone conference with Marc Betinsky and              1.80       $1,539.00
                                Katie Bennett re protective order and Doe issue
                                [1.0]; conference with Marc Betinsky re: Samaha
                                [.4]; telephone conference with Sieff re mediation
                                and stip [.4].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 17 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:             March 31, 2022
                                                                         File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:             15

Date        Timekeeper          Description                                              Hours              Fees

12/15/20    K. Bennett          Review MEB email and Sarff's PO [.4] conf call            0.80         $548.00
                                with MEB and RB re: next steps/mediation [.4].
12/15/20    M. Betinsky         Conference with CRG re protective order issue and         3.80       $2,014.00
                                John Doe extension and strategy for case and early
                                resolution, review draft protective order (1.0),
                                additional emails re same, T/C with K. Sarff re
                                same, revise and email John Doe stipulation (1.2);
                                listen to oral argument in Samaha case re pending
                                motion to dismiss and arguments for same (1.2);
                                conference with RB re: same (.4)
12/16/20    R. Bennett          Telephone conference with Marc Betinsky x3 re             0.80         $684.00
                                stipulation and protective order.
12/16/20    M. Betinsky         Emails with court re rescheduled hearing and NEF          1.60         $848.00
                                re same (.1); emails K. Sarff re John Doe stip,
                                amendments to same, draft proposed order, and
                                oversee filing of same (.4); brief research re alleged
                                service issue & emails RB re same (.3); telephone
                                conferences with RB re stip and PO (.8)
12/18/20    K. Bennett          Review reply memo in support of defendants'               1.50       $1,027.50
                                motion to dismiss [1.5].
12/18/20    M. Betinsky         Review reply brief in support of city's motion to         0.70         $371.00
                                dismiss and emails CRG re same (.7).
12/21/20    A. Koob             Review certificate of no records from Fairview (M         0.10          $23.00
                                Health) regarding photos and update index
                                regarding same.
12/22/20    R. Bennett          Telephone conference with A. Koob re medical              2.50       $2,137.50
                                records [.4]; review TNL Order [.2]; telephone
                                conference with Marc Betinsky [.2]; review and
                                respond to Sarff request for mediation [.8];
                                telephone conference with Marc Betinsky [.9].
12/22/20    M. Betinsky         Emails re mediation, T/C with RB re conversations         0.30         $159.00
                                with Sarff and John Doe extension and review order
                                re same.
12/22/20    A. Koob             Telephone call with RB regarding medical records          1.10         $253.00
                                update/status moving forward [.4]; download/save
                                M Health imaging CD and begin to review/organize
                                voluminous M Health updated records [.7].
12/23/20    R. Bennett          Email and telephone conference with K. Sarff [.5];        0.80         $684.00
                                conference with MEB re mediation [.3].
12/23/20    M. Betinsky         Emails re potential mediation and T/C with RB re          0.30         $159.00
                                same.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 18 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:            March 31, 2022
                                                                          File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:            16

Date        Timekeeper          Description                                              Hours              Fees

12/24/20    R. Bennett          Conference with client re mediation/issues -              2.10       $1,795.50
                                mediator [1.0]; memo to CRT [.3]; review medical
                                [.8].
12/28/20    R. Bennett          Telephone conference with R. Krepps [.5];                 1.00         $855.00
                                telephone conference with client [.5].
12/28/20    A. Koob             Emails to/from D. Roisum regarding records [.2];          8.70       $2,001.00
                                continue review of updated M Health records and
                                requested ablation records and update summary of
                                M Health records memo regarding same [5.6]; email
                                to from client regarding ocularist, request records
                                from Midwest Eye Laboratories Woodbury LLC
                                and update index [.3]; submit request for Dr.
                                Uppgaard records and update index [.2]; review M
                                Health billing (updated records) and update billing
                                index regarding same [.6]; review and update billing
                                from Brave Choices [.3]; review of updated records
                                from Brave Choices and update summary memo
                                regarding same [1.5].
12/29/20    A. Koob             Finalize summaries of updated Brave Choices and           2.10         $483.00
                                M Health records and email updates to RB, KHB
                                and AJN.
12/31/20    R. Bennett          Review Sarff email and conference with CRT.               0.30         $256.50

12/31/20    A. Noel             Review medical summary [.9] and telephone                 1.20         $876.00
                                conference with Bob Bennett re mediators and
                                settlement concepts [.3]
01/03/21    R. Bennett          Memo to RK re expert in monocular vision [.3]; text       3.10       $2,650.50
                                mediator Weyandt x2 [.2] [.2]; review file [1.2];
                                review Dr. Sher CV in detail [.8]; conference with
                                client [.4].
01/04/21    R. Bennett          Conference with CRT [.4]; email Sieff [.5];               1.40       $1,197.00
                                telephone conference with Dr. Sher [.5].
01/04/21    A. Noel             Telephone conference with team re status and action       0.40         $292.00
                                items.
01/04/21    K. Bennett          Civil rights dept call re: status/plan/next               0.20         $137.00
                                steps/assignments.
01/04/21    M. Betinsky         Emails K. Sarff re mediation, CRG Zoom strategy           0.30         $159.00
                                session re mediation and next steps.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 19 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             17

Date        Timekeeper          Description                                             Hours              Fees

01/04/21    A. Koob             Review of U of M School of Dentistry records and         1.30         $299.00
                                prepare summary of same [.9]; update/review index
                                of requests [.1]; ZOOM meeting with Civil Rights
                                Group regarding status of case/mediation/records to
                                date [.3].
01/05/21    R. Bennett          Review dental records - U of M dentistry [.5];           1.20       $1,026.00
                                telephone conference with Angela Koob [.5];
                                conference with AJN re medical [.2]
01/05/21    A. Noel             Review updated medical memos [1.0] and telephone         1.20         $876.00
                                conference with Bob Bennett [.2]
01/05/21    K. Bennett          Review medical review summary - MTF UofM                 1.10         $753.50
                                School of Dentistry [.7]Review email update on
                                records and billing from ATK [.4].
01/05/21    A. Koob             Finalize summary of U of M School of Dentistry           4.90       $1,127.00
                                records and prepare medical summary with all
                                records to date in chronological order, email to
                                KHB, RB, AJN with update of records to date and
                                missing records [2.5]; emails to/from K. Lyons at
                                CAG regarding records and emails to/from D.
                                Roisum regarding CNR and checking specific dates
                                of appointments [.3]; telephone call with RB
                                regarding status of records [.5]; review email from
                                KHB regarding summary, receive and review
                                Midwest Eye records and email to KHB, RB and
                                AJN regarding same [.2]; review Midwest Eye
                                Laboratories medical records, brief summary of
                                same, review of billing records from Midwest Eye
                                and update request and billing indexes [.5]; email to
                                D. Roisum regarding requesting referenced photos
                                from Midwest Eye [.1]; add Midwest eye records to
                                medical summary and review of updated summary
                                [.5]; summary/update email to KHB, AJN, RB with
                                updated Midwest Eye information and medical
                                summary [.3].
01/06/21    R. Bennett          Review A. Koob memo re prosthesis issues and             2.20       $1,881.00
                                respond [.6]; review medical records summary [1.0];
                                conference with Katie Bennett and Marc Betinsky re
                                medical and Weyandt submission [.6].
01/06/21    K. Bennett          Conf call with MEB/RB re: strategy/mediation             0.60         $411.00
                                submission.
01/06/21    M. Betinsky         T/C w/ RB re MTD hearing and strategy and conf           0.80         $424.00
                                w/RB/KHB re strategy (.6); emails AV team re
                                pictures for use in litigation (.2).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 20 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            18

Date        Timekeeper          Description                                            Hours              Fees

01/06/21    A. Koob             Prepare letter to MN DHS requesting interest            0.50         $115.00
                                information and prepare authorization to send with
                                letter, fax same.
01/07/21    R. Bennett          Conference with Katie Bennett re photography            2.00       $1,710.00
                                session [.4]; review Sarff email to Weyandt [.3];
                                review images and telephone conference with BITS
                                for help [1.0]; review Marc Betinsky email report
                                [.3].
01/07/21    A. Noel             Review jury verdict/settlement research and email to    1.10         $803.00
                                Katie Nadem.
01/07/21    K. Bennett          Meeting with client and take photos/videos for          2.60       $1,781.00
                                mediation submission [.6] Review information re:
                                pricing and next steps from ATK; strategize re:
                                mediation submission [1.6]; conference with RB re:
                                photography session [.4]
01/07/21    M. Betinsky         Emails with Soren re photographs for use in the         1.20         $636.00
                                mediation/litigation, coordinate photographing,
                                meet with Soren and KHB for photographs, emails
                                RB re same (1.0); emails with Court re technology
                                test for 1/15 hearing and coordinate same (.2).
01/07/21    A. Koob             Telephone call to Midwest Eye Laboratories              0.50         $115.00
                                regarding cost/replacement of prosthesis and email
                                information/update to RB, KHB, AJN regarding
                                same.
01/07/21    P. McCaffrey        Prep for, and actual photo/video shoot for client.      2.50         $737.50
                                Including processing and uploading photos to
                                network drive.
01/08/21    R. Bennett          Telephone conference with Katie Bennett re              1.40       $1,197.00
                                mediation brochure [.4]; review Greg Weyandt
                                email and respond [.3]; telephone conference with
                                client [.6].
01/08/21    K. Bennett          telephone conference with RB re mediation               0.40         $274.00
                                brochure [.4]
01/10/21    M. Betinsky         Review complaint and identify key case law to prep      1.50         $795.00
                                for motion to dismiss hearing on 1/15.
01/11/21    R. Bennett          Conference with MEB re action plan [1.0]; review        2.00       $1,710.00
                                photos and video [1.0].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 21 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:            March 31, 2022
                                                                         File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:            19

Date        Timekeeper          Description                                             Hours              Fees

01/11/21    K. Bennett          Review medical imaging [.8]Review                        7.80       $5,343.00
                                photographs/video of injuries and other
                                evidence/plan for mediation submission [.5]Review
                                medical summary/strategize for mediation
                                submission [2.5]Begin drafting mediation
                                submission [4.0].
01/11/21    M. Betinsky         Review pleadings and cases, prep for oral argument       3.90       $2,067.00
                                on motion to dismiss (2.9), multiple T/Cs with RB
                                re same (1.0)
01/11/21    A. Koob             Pull and save cases cited in Defendants' Motion to       5.10       $1,173.00
                                Dismiss Brief, Plaintiff's Brief in Opposition and
                                Defendants' Reply Brief per MEB request, email
                                MEB regarding same and email to Offices Services
                                regarding printing cases [3.3]; begin to put together
                                medical and billing records in advance of
                                production, including redaction of billing records
                                [1.8].
01/12/21    R. Bennett          Telephone conference with K. Sarff [.5]; telephone       2.50       $2,137.50
                                conference with Dr. Sher [.4]; email CRT [.4];
                                review Koob email re medical/dental records and
                                new photos [.5]; review further Koob emails and
                                Katie Bennett email to client [.4]; telephone
                                conference with MEB re: arguments/MTD hearing
                                [.3]
01/12/21    K. Bennett          Continue drafting mediation submission and               7.70       $5,274.50
                                reviewing file [7.2] Email client with list of items
                                and questions needed for submission [.5].
01/12/21    M. Betinsky         T/C with B. Resch re status of Samaha MTD and            6.00       $3,180.00
                                information re related pending protest cases (.5);
                                T/Cs with RB re same and arguments for MTD
                                hearing (.3); continue review of motion papers,
                                complaint, and caselaw to prep for argument on
                                MTD (5.0); emails re expert review (.2).
01/12/21    A. Koob             Finalize case cite notebooks for MEB [.3]; organize,     2.80         $644.00
                                prepare and review medical records received to date
                                to send to Dr. Sher, review of U of M School of
                                Dentistry bills and update billing index, review/save
                                photos from Midwest Eye Laboratories, email to
                                CRG with updated information and records inquiry
                                [2.5].
01/13/21    R. Bennett          Correspondence to Dr. Sher re materials and file.        0.50         $427.50
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 22 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:            March 31, 2022
                                                                          File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:            20

Date        Timekeeper          Description                                              Hours              Fees

01/13/21    K. Bennett          Review MPR article re: non lethal weapons used by         0.20         $137.00
                                MPD.
01/13/21    M. Betinsky         Continue prep for oral argument on motion to              4.50       $2,385.00
                                dismiss and work on outline of argument.
01/13/21    A. Koob             Continue to prepare records and bills for Sarff,          0.70         $161.00
                                including finalizing redaction of bills [.5]; receive
                                and brief review of itemization and interest from
                                MN DHS [.2]
01/14/21    R. Bennett          Review Strib article on less lethal usage [.5]; email     3.40       $2,907.00
                                client [.3]; telephone conference with A. Koob re
                                discovery to City of Mpls. [.5]; review NE Journal
                                of Medicine letter and supplementary appendix in
                                detail [.8]; correspondence to Dr.Sher [.3];
                                telephone conference with Adam Hansen [.5];
                                conference with Marc Betinsky re use of NE Journal
                                study [.5]
01/14/21    M. Betinsky         Review records and email to Sarff re Soren's              0.40         $212.00
                                injuries.
01/14/21    M. Betinsky         Continue work on outline and prep for motion to           5.00       $2,650.00
                                dismiss hearing.
01/14/21    A. Koob             Email to Civil Rights Group regarding records to          3.30         $759.00
                                Sarff and MN DHS lien information - updates [.3];
                                internet search for NEJM letter regarding use of
                                non-lethal projectiles and email same to RB [.2];
                                telephone call with RB regarding documents for
                                Sarff [.5]; emails to/from RB regarding NEJM
                                Letter and Supplementary Appendix [.2]; prepare
                                letter to Sarff and email same to RB for review [.4];
                                contact Hennepin Health regarding subrogation/lien
                                information [.2]; prepare letter to Hennepin Health
                                requesting subro information and prepare
                                authorization regarding same, email letter and
                                authorization to Hennepin Health [.6]; finalize letter
                                to Sarff, finalize materials to send to Sarff,
                                telephone call with BITS regarding attaching
                                imaging and email materials to Sarff via Accellion
                                [.6]; emails to/from K. Lyons regarding additional
                                records [.2]; email from J. Hanslich at Sarff's office
                                requesting materials and forward same [.1].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 23 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:              March 31, 2022
                                                                        File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:              21

Date        Timekeeper          Description                                              Hours              Fees

01/15/21    R. Bennett          Telephone conference with Sieff re: Dr. Sher              1.80       $1,539.00
                                witness experience[.3]; email to Dr. Sher [.2]; attend
                                motion hearing [.9]; telephone conference with
                                Katie Bennett re conference with Stevenson - Holt
                                QMHP and report [.4].
01/15/21    K. Bennett          Attend hearing on Motion to Dismiss [1.0] Continue        2.40       $1,644.00
                                drafting mediation submission [1.0]; conference
                                with RB re: Holt and report [.4]
01/15/21    M. Betinsky         Final prep for motion to dismiss hearing, argue           5.40       $2,862.00
                                motion to dismiss before Judge Nelson.
01/15/21    P. McCaffrey        Setup of all tech needs for courtroom. testing with       1.50         $442.50
                                attorneys and monitoring of actual event for the time
                                of hearing.
01/15/21    R. Ehramjian        -Tech setup and test call for oral argument day prior     1.00         $280.00
                                -Day of tech setup and test -Running tech during
                                oral argument.
01/16/21    R. Bennett          Review Brave Choices medical records [.6];                2.40       $2,052.00
                                conference with Katie Bennett before telephone
                                conference with Heather Holt [.5]; telephone
                                conference with Katie Bennett and Heather HOlt
                                [.4]; telephone conference with Soren [.5]; email
                                new demand to Kristin Sarff [.4].
01/16/21    K. Bennett          Prep for call with Heather Holt [2.1] discuss same        3.00       $2,055.00
                                with RB [.5] and call with Holt and RB re: Soren's
                                treatment and prognosis [.4]
01/17/21    R. Bennett          Review Soren’s letter re personal damages.                0.50         $427.50

01/19/21    M. Betinsky         Emails re current subro amounts and review same.          0.20         $106.00

01/19/21    A. Koob             Review subro information received to date and             0.30          $69.00
                                email update to RB, KHB, MEB and AJN with
                                update regarding same.
01/25/21    R. Bennett          Telephone conference with Weyandt [.5]; email             1.20       $1,026.00
                                Sieff re evaluation [.3]; telephone conference with
                                ATK re: prosthesis cost/Dr. Sher [.4]
01/25/21    A. Koob             Telephone conference with RB regarding prosthesis         0.40          $92.00
                                costs for Dr. Sher, email to Dr. Sher with prosthesis
                                costs information from Midwest Eye Laboratories.
01/26/21    R. Bennett          Review and consider Dr. Sher's draft report.              0.80         $684.00
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 24 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             22

Date        Timekeeper          Description                                             Hours              Fees

01/27/21    R. Bennett          Review and discuss Sher report with Andy Noel and        1.50       $1,282.50
                                Katie Bennett [.8]; review Holt case [.7].
01/27/21    A. Noel             Review expert report and telephone conference with       1.30         $949.00
                                Bob Bennett re same.
01/27/21    K. Bennett          Review Sher report [.4], discuss same with RB [.8];      2.00       $1,370.00
                                email Heather Holt and review Case Summary/send
                                to group [.8].
01/29/21    R. Bennett          Review and approve expert's reports/summaries of         2.00       $1,710.00
                                Dr. Sher and Ms. Holt [1.4]; details re scheduling of
                                mediation [.3]; telephone conference with client
                                [.3].
01/29/21    M. Betinsky         Legal research on less-lethal munitions and clearly-     0.70         $371.00
                                established law.
02/01/21    R. Bennett          Telephone conference with client.                        0.60         $513.00

02/01/21    A. Koob             Review expert report, CV and additional materials        0.30          $69.00
                                from RB and organize, save same to electronic file
                                and email RB and KHB regarding same.
02/02/21    R. Bennett          Call A. Koob re Sher/Holt/James Snyder, Elizabeth        1.50       $1,282.50
                                Hector status [.8]; deal with experts [.7].
02/02/21    A. Koob             Begin review/comparison of itemization from              3.30         $759.00
                                HennepinHealth to bills we have to date [.5];
                                telephone call with RB regarding witness interviews
                                [.8]; review Dr. Sher report and Dr. Hunt report in
                                advance of interviews with Soren's roommate and
                                girlfriend [.8]; prepare witness questions for
                                Elizabeth [.6]; prepare witness questions for Jamee
                                (room mate) [.6].
02/03/21    R. Bennett          Review Weyandt email, mediation agreement, draft         1.90       $1,624.50
                                settlement agreement [.8]; telephone conference
                                with client [.3]; email to Katie Bennett re
                                submission [.3]; review and assemble list of things
                                needed for submission and telephone conference
                                with K. Sarff and voice mail [.5].
02/03/21    A. Koob             Compare DHS itemization to bills received to date        1.50         $345.00
                                and submit request for anesthesia bills.
02/04/21    R. Bennett          Telephone conference with A. Koob re emails [.6];        1.50       $1,282.50
                                telephone conference with K. Sarff [.4]; email Sarff
                                Sher and Holt reports [.5].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 25 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:              March 31, 2022
                                                                        File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:              23

Date        Timekeeper          Description                                              Hours              Fees

02/04/21    K. Bennett          Review update from Soren and reply with status            1.40         $959.00
                                update [.5]Pull updated medical to review for
                                continuing to draft mediation submission
                                [.3]Review mediation instructions from Weyandt
                                [.3]Review bill status update from ATK [.3].
02/04/21    A. Koob             Telephone call to Jamee Heehn, telephone call to          3.30         $759.00
                                Elizabeth Snyder, email update to RB and KHB [.2];
                                continue to work on subro and prepare update email
                                to RB and KHB [1.3]; telephone call with RB
                                regarding lien amounts and strategize regarding
                                same [.6]; review of COVID hospital records and
                                pull specific HOT DOCS for RB and email same to
                                RB [.6]; telephone call to Fairview billing to check
                                status of bills not showing paid on our received
                                statements [.2]; telephone call to HennepinHealth
                                (left voice mail) and telephone call to MN DHS (left
                                voice mail) [.1]; email update to RB [.1]; email
                                Jamee regarding setting up a time to interview
                                regarding Soren [.1]; email to RB with Midwest Eye
                                Lab prosthesis information for Sarff [.1].
02/05/21    R. Bennett          Correspondence to client [.3]; correspondence to          1.00         $855.00
                                Sarff [.3]; zoom conference with CRT [.4].
02/05/21    K. Bennett          Continue drafting mediation submission [3.0];             3.40       $2,329.00
                                conference re: mediation attendees and strategy [.4].
02/05/21    M. Betinsky         ZOOM with CRG re strategy for mediation and case          0.40         $212.00
                                moving forward.
02/08/21    R. Bennett          Telephone conference with A. Koob re interview            1.40       $1,197.00
                                with Elizabeth Heehn [.6]; telephone conference
                                with Marc Betinsky [.3]; telephone conference with
                                Marc Betinsky and Katie Bennett re submission [.5].
02/08/21    K. Bennett          Continue drafting mediation submission [4.0]; get         4.50       $3,082.50
                                update from RB/MEB re: ATK call with girlfriend
                                [.5].
02/08/21    M. Betinsky         Conference call with RB/KHB re mediation                  0.80         $424.00
                                submission and assertions/strategy/attachments for
                                same ( .5), review Strib article re Rowader for use at
                                mediation and emails re same (.3)
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 26 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             24

Date        Timekeeper          Description                                             Hours              Fees

02/08/21    A. Koob             Telephone call with Soren's girlfriend, Elizabeth        5.70       $1,311.00
                                Heehn - interview [2.2]; work on memo to file
                                regarding summary of interview of Elizabeth Snyder
                                [2.8]; telephone call with RB regarding phone call
                                with Elizabeth [.4]; telephone call with RB [.2];
                                telephone call with Jamee to set up time to interview
                                [.1].
02/09/21    R. Bennett          Telephone conference with Katie Bennett [.5] re          3.80       $3,249.00
                                mediation submission and Rowader Counterpoint
                                [2.3]; telephone conference with A. Koob re Jayme
                                Snyder[.5]; review A. Koob interview note with
                                Elizabeth Heehn [.5].
02/09/21    K. Bennett          Review articles, Sauro manifesto to strategize for       2.00       $1,370.00
                                mediation [1.5]; discuss same with RB [.5].
02/09/21    A. Koob             Continue to organize memo to file regarding call         9.00       $2,070.00
                                with Elizabeth [4.1]; telephone interview/call with
                                Jamee [1.1]; finalize memo to file regarding call
                                with Elizabeth and forward same to RB and KHB
                                [.6]; telephone call with RB regarding Jamee
                                interview [.5]; work on memo to file regarding
                                interview with Jamee [2.7].
02/10/21    R. Bennett          Continuing revision of mediation submission [2.2];       2.70       $2,308.50
                                conference with Katie Bennett re new edits [.5].
02/10/21    K. Bennett          Review ATK memo re: interview with Elizabeth             3.90       $2,671.50
                                Heehn [.9]Edit mediation submission [2.2]Review
                                Spec Sheet for BIP; review BIP photos from scene
                                [.3]Second round of edits with RB [.5].
02/11/21    R. Bennett          Review A. Koob reports on James Snyder.                  1.00         $855.00

02/11/21    A. Noel             Assemble materials to supplement mediation               1.00         $730.00
                                package a
02/11/21    K. Bennett          Review memo re: Jamee Synder interview                   1.40         $959.00
                                [.9]Strategize with re: to interview and mediation
                                submission [.5].
02/11/21    A. Koob             Review and finalize memo to file regarding               3.00         $690.00
                                interview with Jamee Snyder and forward same to
                                RB and KHB [2.6]; submit request for updated
                                Fairview, physician billing and update index
                                regarding same [.2]; telephone call with Kim at MN
                                DHS regarding itemization [.1]; email update on
                                itemization/MN DHS to RB [.1].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 27 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:              March 31, 2022
                                                                          File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:              25

Date        Timekeeper          Description                                                Hours              Fees

02/12/21    R. Bennett          Review and respond to client [.5]; conference with          1.50       $1,282.50
                                Katie Bennett re submission [.4]; telephone
                                conference with client [.6].
02/12/21    K. Bennett          Look for instagram video of shooting [.8] Review            2.20       $1,507.00
                                interview and edit mediation submission [1.0];
                                conference with RB re: submission [.4]
02/14/21    R. Bennett          Review medical records, billing and review and              2.40       $2,052.00
                                revise mediation submission.
02/15/21    R. Bennett          Conference with Katie Bennett re mediation                  3.70       $3,163.50
                                submission [1.0]; telephone conference with
                                Weyandt [.5]; voice mail to Sarff [.2]; telephone
                                conference with client [.4]; email to CRT [.4];
                                telephone conference client re upcoming surgery
                                and MD appointments [.3]; email to file [.3];
                                telephone conference with Katie Bennett re
                                revisions to submission [.6].
02/15/21    K. Bennett          Emails to Adler/Cade re: instagram video [.3]               3.50       $2,397.50
                                Strategize with RB re: mediation [1.0] Review email
                                re: additional surgery [.2] Review emails re:
                                appointments and additional, upcoming surgeries
                                [.4]; discuss plan with RB re: mediation submission
                                [1.0]; conference with RB re: revisions to
                                submission [.6]
02/15/21    M. Betinsky         Emails re latest medicals for Soren and need for            0.20         $106.00
                                further surgery.
02/15/21    A. Koob             Review email from RB regarding additional surgery           0.40          $92.00
                                and previous costs of similar surgeries, review
                                records relating to previous surgeries and respond to
                                same [.3]; review email response from RB regarding
                                records requests and telephone call to
                                HennepinHealth to follow up on itemization
                                questions (left voice mail) [.1].
02/16/21    R. Bennett          Telephone conference with client [.5]; conference           3.10       $2,650.50
                                with Katie Bennett and Andy Noel (phone and text)
                                [.5]; telephone conference with Katie Bennett re
                                additional revisions [.5]; telephone conference with
                                Teresa McClain re evaluations and new medical
                                issues, her recent jury verdict in an eye out case [.6];
                                review and revise latest draft [1.0].
02/16/21    K. Bennett          Review mediation submission and continue editing            5.80       $3,973.00
                                [4.8]; calls and texts conference with team re:
                                submission [1.0]
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 28 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:             March 31, 2022
                                                                         File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:             26

Date        Timekeeper          Description                                              Hours              Fees

02/16/21    A. Koob             Email to Jamee following up on video of incident in       0.40          $92.00
                                her possession [.1]; email to RB regarding updated
                                records requests and review response regarding
                                same [.1]; review email from KHB regarding
                                prosthesis email and forward same to KHB [.1];
                                review email from Jamee regarding video of
                                incident and respond to same [.1].
02/17/21    R. Bennett          Telephone conference with team MPD less-lethal            3.20       $2,736.00
                                policies old (pre 12/22/20) and now [1.0]; review
                                2/17/21 draft [.7]; telephone conference with K.
                                Sarff and memo to file [1.0]; telephone conference
                                with Marc Betinsky re Sarff request for protective
                                order covering mediation [.5].
02/17/21    K. Bennett          Continue to pull mediation exhibits/save to T drive.      0.40         $274.00

02/17/21    K. Bennett          Organize mediation submission exhibits                    2.20       $1,507.00
                                [1.2]Discuss plan with MEB/RB [1.0].
02/17/21    M. Betinsky         Conference call with RB/KHB re mediation                  2.50       $1,325.00
                                submission and strategy (1.0), follow-up with RB re
                                call with Sarff and protective order issue (.5), begin
                                review of mediation submission (1.0)
02/18/21    R. Bennett          Review last draft [.6]; zoom with Katie Bennett,          5.60       $4,788.00
                                Marc Betinsky and Andy Noel re zoom edits and
                                strategy [1.0]; telephone conference with Soren re
                                MD appointments and results and memo to Sarff
                                [1.6]; review revised draft and Sarff draft [1.6];
                                review and approved limited protective order and
                                telephone conference with Marc Betinsky re same
                                [.5]; telephone conference with client [.3].
02/18/21    A. Noel             Review/revise mediation submission [1.3] and              2.30       $1,679.00
                                OCW team re: submission contents and mediation
                                strategy [1.0]
02/18/21    K. Bennett          Review/finalize exhibits for mediation submission         5.40       $3,699.00
                                [1.0] Conf with AJN/RB/MEB re: mediation
                                submission edits/plan [1.0] Call with MEB re:
                                additional edits [.5] Continue editing mediation
                                submission [1.0]; edit letter to go to Sarff and email
                                to RB [.8] Review medical update [.6] Review Stip
                                for PO [.4]; call with ATK re: case status [.1]
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 29 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             27

Date        Timekeeper          Description                                             Hours              Fees

02/18/21    M. Betinsky         Complete review and revisions to mediation               5.20       $2,756.00
                                submission (2.0), Zoom with CRG re same (1.0),
                                follow-up T/C with KHB re additional edits (.5),
                                attention to exhibits to be submitted with mediation
                                letter (.5); draft stipulation for limited protective
                                order re early exchange of information, revisions re
                                comparison to prior drafts and email RB re same
                                (1.2).
02/18/21    A. Koob             Review email update from RB to Sarff regarding           0.30          $69.00
                                Soren's recent appointments, review mediation
                                submission [.2], telephone call with KHB regarding
                                status of case [.1]
02/19/21    R. Bennett          Telephone conference with Katie Bennett and Andy         3.20       $2,736.00
                                Noel re edits and medical records [.5]; review
                                methods for getting records with Katie Bennett [.4];
                                conference with Katie Bennett [.3] and review
                                urology notes [.4]; email Sarff re meeting [.4];
                                analyze urology notes [.6]; telephone conference
                                with Soren [.6].
02/19/21    A. Noel             telephone conference with KHB/RB re edits to             0.50         $365.00
                                mediation info and medical records [.5]
02/19/21    K. Bennett          Review new medical info, research re: same; calls to     3.30       $2,260.50
                                new providers re: rush records, emails/calls with
                                ATK, contact client re: rush records request and
                                instructions [2.5] Calls with RB and AJN re: plan
                                [.5] and urology [.3]
02/19/21    M. Betinsky         T/Cs with RB re impending mediation, review latest       0.50         $265.00
                                medicals for Soren in advance of same (.3), emails
                                Sarff re mediation (.2).
02/19/21    A. Koob             Review email from KHB regarding RUSH request             0.60         $138.00
                                for medical records and respond to same, telephone
                                call with KHB regarding records request and
                                confirmation of clinic, prepare request letter and
                                authorization and fax same, email to KHB and RB
                                regarding RUSH request.
02/22/21    R. Bennett          Review proposed revisions and telephone                  2.80       $2,394.00
                                conference with Katie Bennett re same [.6]; review
                                and revise near final submission [1.0]; approve final
                                [.5]; conference with Andy Noel re actions pre-
                                mediation [.4]; review and call Marc Betinsky re
                                protective order draft [.3].
02/22/21    A. Noel             TCW RB re demand and negotiation strategy.               0.40         $292.00
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 30 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             28

Date        Timekeeper          Description                                             Hours              Fees

02/22/21    K. Bennett          Discuss mediation submission with RB [.6];               5.80       $3,973.00
                                continue drafting same and finalize [3.6] Coordinate
                                exhibits to get to Weyandt; email Molly re:
                                submission packet for RB and I [1.4] Send Zoom
                                link info to all [.2].
02/22/21    M. Betinsky         Review final mediation submission (.2); review           0.80         $424.00
                                changes to draft protective order and T/C with RB
                                re same (.6).
02/22/21    A. Koob             Review email from RB regarding Stevenson                 0.40          $92.00
                                Urology visit, review Dr. note and forward same to
                                D. Roisum to add to file [.1]; review email from
                                KHB regarding mediation submission and prepare
                                email with additional exhibits to send to mediator,
                                send same [.3].
02/23/21    R. Bennett          Review email from Katie Bennett re Wattercott [.5];      1.30       $1,111.50
                                review Judge Tunheim's Tirado opinion [.5];
                                telephone conference with Marc Betinsky re
                                protective order [.3].
02/23/21    K. Bennett          Review information re: instagram video;                  7.90       $5,411.50
                                emails/calls re: viewing video; video analysis [4.0]
                                Review Shellum (eye out) verdict form and other
                                damages information to prep for mediation [1.0];
                                Draft email to Sarff re: damages and video [.5]; edit
                                with RB [.4] Review additional instagram videos,
                                obtain stills, discuss with team [2.0].
02/23/21    M. Betinsky         Emails with K. Sarff re limited protective order,        0.80         $424.00
                                revise and finalize same, draft proposed order
                                granting same (.5); contact chambers re submission
                                of Judge Tunheim's Tirado MTD decision, draft
                                letter to Judge Nelson and oversee filing same (.3).
02/23/21    A. Koob             Telephone call to Northpoint to confirm receipt of       0.70         $161.00
                                RUSH request and email KHB regarding same [.2];
                                emails with KHB regarding RUSH request and
                                status of Soren's insurance on DOI [.2]; telephone
                                call to Fairview billing to check status of 5.31.20
                                and 10.07.20 hospital bills [.2]; review CNR from U
                                of M Physicians and update index regarding same
                                [.1].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 31 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:              March 31, 2022
                                                                         File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:              29

Date        Timekeeper          Description                                               Hours              Fees

02/24/21    R. Bennett          Review and analyze Shellum verdict and conference          5.00       $4,275.00
                                with Andy Noel and Katie Bennett [1.0]; review and
                                analyze video of Soren's immediate injury and
                                conference with Marc Betinsky, Andy Noel and
                                Katie Bennett re effect on valuation and action plan
                                [1.2]; review and revise email to Weyandt and K.
                                Sarff [.8]; review and analyze Judge Wright's Order
                                [.6]; work on damages analysis - email to Sarff and
                                telephone conference with Katie Bennett [.9];
                                review video with Phil Sieff [.3]; review video with
                                P. Schmit [.2].
02/24/21    A. Noel             TCW RB/KHB re damage supplement and other                  2.10       $1,533.00
                                supplements to mediation submission and valuation
                                [1.0]; review new orders on similar issues [1.1].
02/24/21    K. Bennett          Strategize re: mediation [2.0] Draft supplemental          7.00       $4,795.00
                                confidential submission to Weyandt [1.5]; edit with
                                RB [.9] Email ATK with instructions and
                                attachments for supplemental submission [.4]; call
                                with AJN/RB re: supplement/video [1.0]; follow up
                                mtg re: strategy on video and next steps [1.2]
02/24/21    M. Betinsky         Oversee filing stip for limited protective order and       1.90       $1,007.00
                                proposed order (.2); review newly received
                                Instagram video re shooting and Soren's injuries and
                                emails re same (.3); prepare and send letter to Judge
                                Nelson with new Hennepin County decision in
                                Wright v. City of Minneapolis (.2); follow-up
                                conference re: same with team (1.2).
02/24/21    A. Koob             Receive and review email from Jamee (Soren's               0.60         $138.00
                                roommate) with information regarding Instagram
                                video of DOI - Soren's injuries, find and view same,
                                forward link/information to KHB and RB, various
                                emails regarding viewing of video link [.5]; emails
                                to Billing Dept. regarding request for life of file
                                costs and fees on Friday per RB request [.1].
02/24/21    N. Adler            Cut and distribute Instagram video for Katie               1.50         $330.00
                                Bennett.
02/25/21    R. Bennett          Telephone conference with client [.5]; email Teresa        5.60       $4,788.00
                                McClain [.5]; review all video [1.2]; site visit [1.7];
                                review photos and compare to video [.6]; email A.
                                Koob re photos [.3]; telephone conference with Nick
                                Adler [.4]; review supplemental letter to Weyandt
                                [.4].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 32 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            30

Date        Timekeeper          Description                                            Hours              Fees

02/25/21    K. Bennett          Draft updated mediation submission letter to            2.00       $1,370.00
                                Weyandt [2.0].
02/25/21    A. Koob             Review and respond to email from KHB regarding          0.80         $184.00
                                supplemental materials to mediator [.1]; email to RB
                                regarding costs and fees request and email to group
                                regarding same [.1]; finalize supplemental letter to
                                mediator, prepare supplemental attachments, upload
                                and email same to mediator [.6].
02/26/21    R. Bennett          Telephone conference with Ronn Kreps [.5]; review       5.00       $4,275.00
                                fees and costs detail [.5]; review entire file in
                                preparation for mediation [4.].
02/26/21    K. Bennett          Prep for mediation [4.0]Review fees and costs [.5].     4.50       $3,082.50

02/26/21    M. Betinsky         Review fee information for mediation.                   0.20         $106.00

02/27/21    R. Bennett          Review Dr. Wattercott lengthy chart note in detail      1.50       $1,282.50
                                [1.0]; telephone conference with client re same and
                                effects on him [.5].
02/28/21    R. Bennett          Research medical terminology and compare email to       1.50       $1,282.50
                                Weyandt and Sarff [1.0]; telephone conference with
                                client [.5].
03/01/21    R. Bennett          Prepare for and attend mediation with client, Katie     8.60       $7,353.00
                                Bennett and Greg Weyandt [8.0]; telephone
                                conference with client [.3]; telephone conference
                                with Andy Noel [.3].
03/01/21    A. Noel             Telephone conference with RB [.3] and MEB [.3]          0.60         $438.00
                                both re mediation.
03/01/21    K. Bennett          Prep for mediation [1.5]Attend mediation [7.0].         8.50       $5,822.50

03/01/21    M. Betinsky         T/Cs with RB [.2], AJN [.3] both re settlement          0.50         $265.00
                                discussions and mediation, next steps.
03/02/21    R. Bennett          Conference with Marc Betinsky re action plan [.5];      1.10         $940.50
                                review Marc Betinsky email re discovery and
                                discovery plan and agree on plan [.6].
03/02/21    A. Noel             Conference with Marc Betinsky re: discovery [.5]        1.00         $730.00
                                and review rules re timing of discovery [.5]
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 33 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            31

Date        Timekeeper          Description                                            Hours              Fees

03/02/21    M. Betinsky         T/C with RB re next steps, review rules on              2.50       $1,325.00
                                commencing discovery before initial PTC, email
                                CRG re same, and T/C Sarff re scheduling Rule 26
                                meeting (1.0); work with screen grabs to highlight
                                officers present at shooting scene for discovery and
                                identification and numerous emails/calls re same
                                (1.0); ZOOM with CRG re strategy and next steps
                                (.5).
03/02/21    C. Sullivan         Preparation of graphics per M. Betinsky.                2.00         $560.00

03/03/21    R. Bennett          Conference with CRT re action plan [.4]; review         0.80         $684.00
                                Marc Betinsky discovery plan [.4].
03/03/21    A. Noel             Conference with team re: action plan/next steps [.4]    0.40         $292.00

03/03/21    K. Bennett          Conference with team re: action plan/next steps [.4]    0.40         $274.00

03/03/21    K. Bennett          Review photographs for discovery/strategize re:         1.40         $959.00
                                same [1.0]; conference with team re: action plan and
                                next steps [.4]
03/03/21    M. Betinsky         Conference with team re: action plan/next steps [.4]    0.40         $212.00

03/04/21    R. Bennett          Telephone conference with Marc Betinsky re Sarff        0.80         $684.00
                                and Rule 26f meeting [.4]; telephone conference
                                with client [.4].
03/04/21    M. Betinsky         Voicemails and T/C with Sarff re 26(f) meeting and      0.80         $424.00
                                commencing discovery (.4), follow-up T/C with RB
                                re same and next steps (.4)
03/05/21    R. Bennett          Telephone conference with client.                       0.80         $684.00

03/08/21    R. Bennett          Review and approve G. Weyandt mediation invoice         0.80         $684.00
                                [.3]; telephone conference with Greg Weyandt re:
                                any post-mediation follow-up [.5].
03/08/21    M. Betinsky         Work on draft Rule 26(f) report.                        1.70         $901.00

03/09/21    R. Bennett          Telephone conference with client re: status             0.30         $256.50

03/10/21    R. Bennett          Telephone conference with Andy Noel re verdict          0.70         $598.50
                                comparison and mediation results [.4]; email Sarff
                                [.3].
03/10/21    A. Noel             telephone conference with RB re voir dire               0.40         $292.00
                                comparison and mediation results [.4]
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 34 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:            March 31, 2022
                                                                         File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:            32

Date        Timekeeper          Description                                             Hours              Fees

03/11/21    R. Bennett          Review SRN order in detail [1.0]; telephone              2.00       $1,710.00
                                conference with Marc Betinsky re action plan -next
                                steps, Rule 26f and review draft Rule 26f [1.0].
03/11/21    M. Betinsky         Complete draft Rule 26(f) report and email same to       4.50       $2,385.00
                                CRG (2.5); review Judge Nelson's order on motion
                                to dismiss, T/Cs with RB re same (1.0), obtain and
                                review similar orders in Samaha and Armstrong
                                matters (.8), emails CRG re strategy and next steps
                                following same (.2).
03/11/21    A. Koob             Receive and review updated billing from M Health         2.00         $460.00
                                and update billing index regarding same [.4]; review
                                of file, bills, appointments and subrogation
                                information/itemizations, email to RB and KHB
                                regarding update of billing and medical records
                                requests, telephone call to Hennepin Health
                                requesting updated itemization and question about
                                potential duplicate item on itemization (left voice
                                mail), telephone call to MN DHS requesting
                                updated itemization (left voice mail) [1.6].
03/12/21    R. Bennett          Conference with Andy Noel re effect of Floyd             0.60         $513.00
                                settlement [.3]; telephone conference with client to
                                answer questions [.3].
03/12/21    A. Noel             Review draft Rule 26 and online research re ID           2.00       $1,460.00
                                angles [1.7]; conference with RB re: GF settlement
                                [.3]
03/12/21    M. Betinsky         Research LA Times article re police conduct in           1.00         $530.00
                                George Floyd protests and study published in same,
                                review same.
03/13/21    M. Betinsky         Review emails from Soren re CUAPB litigation and         0.30         $159.00
                                order and messages CRG re same.
03/15/21    R. Bennett          Conference with Andy Noel re state court order [.3];     1.90       $1,624.50
                                prepare for and attend zoom meeting re discovery
                                plan of action [1.6].
03/15/21    A. Noel             Conference with team re discovery.                       0.80         $584.00

03/15/21    K. Bennett          Review Rule 26(f) report.                                0.50         $342.50

03/15/21    K. Bennett          Civil rights conf re: discovery/plan/strategy.           0.80         $548.00

03/15/21    M. Betinsky         Zoom with CRG re strategy for discovery and draft        1.70         $901.00
                                Rule 26(f) report (.8); work on revisions to same
                                (.9)
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 35 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:              March 31, 2022
                                                                        File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:              33

Date        Timekeeper          Description                                              Hours              Fees

03/15/21    A. Koob             Receive and review updated subrogation letter from        0.10          $23.00
                                MN DHS.
03/16/21    R. Bennett          Telephone conference with Marc Betinsky re Rule           3.00       $2,565.00
                                26f draft [.3]; review and consider Rule 26f report
                                draft and issue comments thereto [1.0]; telephone
                                conference with Marc Betinsky re changes and
                                additions to Rule 26f report [1.0]; review proposed
                                changes and telephone conference with Marc
                                Betinsky [.4]; telephone conference with Marc
                                Betinsky re additional adds [.3].
03/16/21    M. Betinsky         T/C with RB re potential discovery aimed at               3.00       $1,590.00
                                identifying John Doe Defendants and adjustments to
                                26(f) report (1.0); revisions to 26(f) report and
                                follow-ups with RB (1.3); review CUAPB lawsuit
                                order and discuss potential impact for Soren (.5);
                                review order for PTC an emails re
                                scheduling/attending same (.2).
03/17/21    R. Bennett          Review draft Rule 26f report carefully [.5];              1.70       $1,453.50
                                telephone conference with Marc Betinsky re
                                changes and protective order [.6]; review Marc
                                Betinsky draft of protective order [.6].
03/17/21    K. Bennett          Review emails re: Rule 26(f) and discovery from           1.00         $685.00
                                MEB and Sarff and plan response.
03/17/21    M. Betinsky         Draft potential protective order, edits to draft 26(f)    2.10       $1,113.00
                                report, and email all documents to Sarff (1.3); Email
                                from Sarff re 26(f) planning meeting and discuss
                                response (.2); conference with RB re: edits (.6)
03/18/21    R. Bennett          Emails to/from Marc Betinsky re Rule 26f and              1.00         $855.00
                                protective order [.6]; telephone conference with
                                client [.4].
03/18/21    M. Betinsky         Work on officer identification document requests          0.70         $371.00
                                and interrogatories.
03/19/21    R. Bennett          Telephone conference with Marc Betinsky re                0.60         $513.00
                                interrogs and phased discovery.
03/19/21    A. Noel             Review email correspondence with Sarff [.7];              1.10         $803.00
                                telephone conference with Marc Betinsky re same
                                [.4]
03/19/21    M. Betinsky         Work on officer identification discovery (3.0);           4.00       $2,120.00
                                conference with RB re: same (.6); conference with
                                AJN re: Sarff email (.4)
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 36 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:              March 31, 2022
                                                                        File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:              34

Date        Timekeeper          Description                                              Hours              Fees

03/21/21    R. Bennett          Review NYT article and appended studies [1.2];            1.50       $1,282.50
                                email CRT [.3].
03/22/21    R. Bennett          Telephone conference with Andy Noel [.4]; review          3.00       $2,565.00
                                Marc Betinsky draft interrogatories [1.2]; review
                                Marc Betinsky request for production of documents
                                [1.1]; calls re: same with MEB [.3]
03/22/21    A. Noel             Review NYT and other media reports re MPD.                1.70       $1,241.00
                                indiscriminate use of force [1.3]; conference with
                                RB re: NYT article [.4]
03/22/21    K. Bennett          Review LAPD Report and take notes re: discovery           2.00       $1,370.00
                                ideas for Stevenson [2.0].
03/22/21    M. Betinsky         Draft, edit and revise officer identification             4.60       $2,438.00
                                interrogatories and document requests, incorporate
                                changes from KHB, T/C with RB and edits to
                                discovery requests per same (4.0); T/C RB re
                                strategy for 26(f) and discovery requests, issue with
                                interrogatory subparts, brief research on same (.6).
03/23/21    R. Bennett          Review city's answer in Tirado.                           1.00         $855.00

03/23/21    K. Bennett          Review MEB's draft ID discovery [.4].                     0.40         $274.00

03/23/21    M. Betinsky         Legal research in 8th Circuit on discrete subparts for    3.20       $1,696.00
                                interrogatories under Rule 33 and email RB re same
                                (2.0); emails re 26(f) meeting and planning (.2);
                                review answer in Tirado and comparison to
                                Complaint and emails CRG re same (1.0).
03/25/21    R. Bennett          Telephone conference with Randy Furst re                  2.80       $2,394.00
                                Minneapolis city council [.5]; email Andy
                                Noel/Marc Betinsky re Rule 68 issues [.8]; review
                                answer in detail [1.5].
03/25/21    M. Betinsky         Brief review of answer.                                   0.30         $159.00

03/26/21    R. Bennett          Further analysis of answer[.9]; conference with           4.30       $3,676.50
                                Marc Betinsky re answer defenses - strategy going
                                forward and Rule 11 issues for the City [.8]; review
                                Marc Betinsky complaint/answer comparisons and
                                memo [1.6]; telephone conference with Marc
                                Betinsky and Katie Bennett re relief [.5]; conference
                                with Andy Noel re motion to strike [.5].
03/26/21    A. Noel             Review answer [1.4] and telephone conference with         1.90       $1,387.00
                                RB re: motion to strike [.5]
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 37 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:              March 31, 2022
                                                                         File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:              35

Date        Timekeeper          Description                                               Hours              Fees

03/26/21    K. Bennett          Review comparison of Answer to Complaint and               1.70       $1,164.50
                                emails re: same [1.2]; conference with RB/MEB re
                                same [.5]
03/26/21    M. Betinsky         Prepare comparison of Answer to Amended                    3.00       $1,590.00
                                Complaint and circulate same to CRG, emails with
                                CRG re allegations in Answer and potential Rule 11
                                letter (2.5); conference call with RB/KHB re same
                                (.5)
03/29/21    R. Bennett          Telephone conference with Marc Betinsky re                 5.10       $4,360.50
                                service of discovery [.4]; telephone conference with
                                Marc Betinsky re Rule 11 letter [.3]; telephone
                                conference with Marc Betinsky re pictures and
                                numbering [.3]; prepare for zoom meeting - Rule
                                26f and attend same [.9]; review Rule 68 and zoom
                                conference with client [1.0]; telephone conference
                                with CRT re action plan [1.0]; telephone conference
                                with Randy Tietjen re Rule 11 and motion [.5];
                                review A. Koob email re bills and liens [.3];
                                telephone conference with Ronn Kreps re status post
                                Rule 69 offer [.4].
03/29/21    A. Noel             Email correspondence with team re Sarff meeting.           0.70         $511.00

03/29/21    K. Bennett          Update from MEB re: conf with Sarff [.2]Review             3.60       $2,466.00
                                Rule 68 offer [.3]Prep for call with client re: Rule
                                68 offer and plan [.3]Conference with client with
                                MEB, RB re: Rule 68 and plan [1.0]Conference
                                with MEB and RB re: action plan [1.0]Review
                                disocvery served today [.8].
03/29/21    M. Betinsky         Review materials and prep for 26(f) planning               6.80       $3,604.00
                                meeting (1.2); T/C with RB re same (.4); 26(f)
                                planning meeting with Sarff et al (.7); finalize
                                discovery requests, T/C with RB re same, prep
                                cover letter and oversee service of same (1.2);
                                conference with RB re Rule 11 letter and answer
                                (.3); review offer of judgment and conference with
                                RB/KHB re same (1.0); Zoom conference with
                                client and CRG re offer and response, action plan
                                (1.0); work on Rule 11 letter (.8); emails re lien info
                                (.2).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 38 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:              March 31, 2022
                                                                        File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:              36

Date        Timekeeper          Description                                              Hours              Fees

03/29/21    A. Koob             Emails from/to MEB regarding photo exhibits for           1.00         $230.00
                                discovery requests, prepare photos for exhibits to
                                discovery requests and email same to MEB [.4];
                                finalize officer identification interrogatories and
                                attach photo exhibits to same [.2]; emails to/from
                                MEB and finalize officer identification requests for
                                production and email same to MEB [.2]; review
                                email from RB regarding costs and respond to same,
                                review email from KHB regarding subrogation and
                                respond to same [.2].
03/30/21    R. Bennett          Telephone conference with Teresa McClain re: Rule         1.10         $940.50
                                68 offer [.3]; telephone conference with Weyandt re:
                                Rule 68 offer [.4]; email to team re offer thoughts re
                                same [.4].
03/30/21    K. Bennett          Review lien info from ATK and circulate amounts           1.10         $753.50
                                to team for evaluation [.5]Emails with ATK re:
                                hospital DOI treatment and Brave Choices
                                [.3]Review email re: strategy from RB [.3].
03/30/21    M. Betinsky         Review lien information (.2); work on Rule 11 letter      1.40         $742.00
                                (.8); emails re offer of judgment and strategy (.4).
03/30/21    A. Koob             Review email from KHB and review of file                  2.70         $621.00
                                materials relating to surbrogation/lien, telephone
                                call to Hennepin Health requesting updated
                                itemization, email to Hennepin Health regarding
                                same, respond to KHB email with updated
                                information on Hennepin Health and subrogation
                                information [.6]; additional email to KHB regarding
                                Brave Choices records request and submit request
                                for updated records/bills from Brave Choices [.2];
                                telephone call to M Health to check payment status
                                of DOI hospitalization [.3]; check on status of
                                outstanding Anesthesia billing request [.1];
                                telephone call and left message with MN DHS
                                regarding DOI hospitalization and email KHB
                                regarding same [.1]; telephone call from MN DHS
                                regarding DOI claims and email update to KHB
                                [.2]; receive and review updated costs/fees
                                spreadsheet and forward same to RB, KHB, MEB
                                [.1]; receive and begin review of updated M Health
                                records [1.1].
03/31/21    R. Bennett          Review facts and Rule 68 in Form II meeting of            1.00         $855.00
                                PI/Med Mal practice group [.5]; telephone
                                conference with client [.5].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 39 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:             March 31, 2022
                                                                       File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:             37

Date        Timekeeper          Description                                            Hours              Fees

04/01/21    K. Bennett          Review email from ATK re: surgery dates and             0.50         $342.50
                                review file/reply; emails with RB/ATK/client [.5].
04/01/21    M. Betinsky         Work on Rule 11 letter.                                 0.70         $371.00

04/01/21    A. Koob             Complete review of updated MHealth records and          2.40         $552.00
                                update MHealth medical records memo and medical
                                summary, review billing records regarding past
                                surgeries and emails from RB regarding
                                past/upcoming appointments, emails to/from RB
                                and KHB regarding 1.20.21 surgery cancellation -
                                confirmed by client.
04/02/21    R. Bennett          Review the City's rule 26f proposals [.6]; telephone    3.80       $3,249.00
                                conference with Marc Betinsky re same [.5]; prepare
                                response to Rule 26f [.5]; review defendants'
                                discovery [1.0]; telephone conference with Marc
                                Betinsky re initial responses [.4]; emails to/from
                                client [.6]; voice mail Sarff [.2].
04/02/21    A. Noel             Review Rule 26 drafts and offer comments, analysis      1.50       $1,095.00
                                and ideas
04/02/21    M. Betinsky         Review City's document requests and interrogatories     4.20       $2,226.00
                                to Soren, emails with Soren re same, review Soren's
                                documents, T/C with RB re same and responses,
                                begin formulating responses (2.4); review City's
                                proposed changes to 26(f) report and protective
                                order, emails with RB re same, strategize response
                                and begin working on same (1.8).
04/04/21    R. Bennett          Review Marc Betinsky draft Rule 26f report and          1.00         $855.00
                                email back/forth.
04/04/21    M. Betinsky         Work on revisions to 26(f) in light of Sarff's          1.80         $954.00
                                comments, emails with RB re same, review changes
                                to proposed protective order and work on same.
04/05/21    R. Bennett          Review and revise Rule 26f and comments [.5];           2.00       $1,710.00
                                telephone conference with Marc Betinsky [.5];
                                review protective order and comments in detail [.8]
                                and telephone conference with Marc Betinsky re
                                same [.2].
04/05/21    M. Betinsky         Complete revisions to 26(f); further revisions to       6.50       $3,445.00
                                same (1.3); Review and revise draft protective order
                                following Sarff's changes to same (2.3); emails and
                                T/Cs with RB re PO and 26(f) [.7]; emails to Sarff
                                re PO and 26(f)(.7); work on letter to Sarff re
                                Answer (1.5).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 40 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:             March 31, 2022
                                                                         File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:             38

Date        Timekeeper          Description                                              Hours              Fees

04/05/21    A. Koob             Receive and review emails from MEB regarding              2.00         $460.00
                                discovery and additional materials from client [.1];
                                begin to work on drafting discovery response
                                templates for Response to Request for Production
                                and Answers to Interrogatories, brief review of
                                materials from client [1.9].
04/06/21    R. Bennett          Telephone conference with Katie Bennett.                  0.30         $256.50

04/06/21    K. Bennett          telephone conference with RB re: discovery [.3]           0.30         $205.50

04/06/21    M. Betinsky         Attention to RRFPDs and ATIs and documents from           1.40         $742.00
                                Soren for same (1.0); additional work on letter to
                                Sarff re Answer and messages AJN re same (.4).
04/06/21    A. Koob             Finalize draft discovery responses outline and            0.80         $184.00
                                forward same to MEB [.2]; telephone call to
                                MHealth Billing Office to check on 1.20.21 surgery
                                on bill, but did not go forward due to testing
                                positive for COVID [.6].
04/08/21    R. Bennett          Telephone conference [.3] with Marc Betinsky and          1.00         $855.00
                                draft reply [.7].
04/08/21    A. Noel             Telephone conference with Bob Bennett re demand           1.00         $730.00
                                and Rule 68.
04/08/21    M. Betinsky         T/C with RB re settlement discussions with Sarff          1.00         $530.00
                                [.3] , research California settlement cited by City
                                and emails with RB re response to Sarff [.7]
04/08/21    A. Koob             Review email/article from RB regarding non-lethal         1.20         $276.00
                                projectiles, begin to work on redaction of production
                                for discovery responses from client (screen shots
                                and links).
04/12/21    R. Bennett          Telephone conference with Andy Noel re City of            1.60       $1,368.00
                                Mpls. stall/low ball antics [.3]; telephone conference
                                with Katie Bennett re City of Mpls. stall/low ball
                                antics [.3]; telephone conference with client [1.0].
04/12/21    K. Bennett          conf with RB re: Rule 68/strategy [.3]                    0.30         $205.50

04/13/21    M. Betinsky         Emails with Sarff re 26(f) report and proposed            0.40         $212.00
                                changes (.2); emails A. Koob re docs for discovery
                                responses (.2).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 41 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:             March 31, 2022
                                                                         File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:             39

Date        Timekeeper          Description                                              Hours              Fees

04/13/21    A. Koob             Review Hennepin Health materials and telephone            0.80         $184.00
                                call to Hennepin Health to again check status of
                                request for updated itemization and request to speak
                                with someone regarding potential duplication on
                                original itemization [.2]; review redacted
                                Tweets/Facebook screen shots and review links sent
                                by client and prepare document with links for
                                potential use in responses to discovery requests,
                                email same to MEB [.6].
04/14/21    M. Betinsky         Emails Sarff re 26(f) (.1); emails re latest medicals     0.20         $106.00
                                and billing (.1).
04/14/21    A. Koob             Receive and review University Anesthesia Providers        1.10         $253.00
                                billing and compare to itemizations from MN DHS
                                and Hennepin Health received to date, general
                                review of itemizations for missing any missing bills,
                                update billing index and request index and update
                                email to RB, KHB and MEB.
04/15/21    R. Bennett          Review Marc Betinsky email and telephone                  0.90         $769.50
                                conference with Marc Betinsky re disclosures [.6];
                                telephone conference with Marc Betinsky re Rule
                                26f - settlement position differences [.3].
04/15/21    M. Betinsky         Emails with Sarff re 26(f) report, revisions to same      2.10       $1,113.00
                                and finalize, emails re protective order (1.0); emails
                                and calls with A. Koob and work on preparing
                                documents for production with initial discovery
                                requests & responses to same (.7); multiple conf
                                with RB re: disclosures and settlement
                                positions/Rule 26 (.4)
04/15/21    A. Koob             Review email from MEB regarding redactions,               0.30          $69.00
                                review redacted documents and email MEB [.1];
                                telephone call with MEB regarding discovery
                                responses [.1]; redact additional item on Facebook
                                post and email to MEB regarding same [.1].
04/16/21    M. Betinsky         Begin drafting letter to Judge TNL in advance for         0.50         $265.00
                                Rule 16 conference.
04/18/21    M. Betinsky         Continue work on letter to Judge TNL in advance of        1.50         $795.00
                                Rule 16 conference.
04/19/21    R. Bennett          Text/email Soren re job application and status [.4];      1.80       $1,539.00
                                review job offer letter and other materials [.6];
                                review and revise letter to Judge TNL [.8].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 42 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:             March 31, 2022
                                                                         File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:             40

Date        Timekeeper          Description                                              Hours              Fees

04/19/21    M. Betinsky         Complete draft letter to Judge TNL, revise and edit       3.10       $1,643.00
                                same and send same to RB (2.5); email client, work
                                on responses to interrogatories and document
                                requests (.5); call with ATK re: discovery (.1)
04/19/21    A. Koob             Telephone call with MEB regarding discovery               0.40          $92.00
                                responses [.1]; receive and review email from K.
                                Baldwin at MN DHS, review subrogation materials
                                received to date and respond to same, review
                                additional email from MN DHS regarding
                                subrogation amount and respond to same [.3].
04/20/21    R. Bennett          Revise letter to MJ TNL [.5] and telephone                1.70       $1,453.50
                                conference with Marc Betinsky [.3]; text and email
                                to client [.5]; telephone conference with client [.4].
04/20/21    M. Betinsky         Emails with Soren re discovery responses, review          2.50       $1,325.00
                                documents from Soren, work on responses to
                                interrogatories and document requests, emails with
                                A. Koob re same (1.3); T/C with RB re edits to
                                letter to Judge TNL(.3), further changes to same and
                                final hard review of letter (.9).
04/20/21    A. Koob             Review emails with texts from MEB/client for              0.10          $23.00
                                discovery responses.
04/21/21    M. Betinsky         Work on discovery responses and review materials          0.90         $477.00
                                from Soren for conference call (.7); emails Sarff re
                                26(f) report (.2).
04/22/21    M. Betinsky         Call with Soren to discuss discovery responses and        3.50       $1,855.00
                                needed documents, review documents from Soren,
                                work on discovery responses and emails with
                                Soren/A. Koob re same (2.7); finalize and send
                                letter to Judge TNL for Rule 16 conference (.3);
                                review and edit 26(f) for filing, emails with Sarff re
                                same and attention to filing (.5).
04/22/21    A. Koob             Work on preparing screen shots from Soren for             2.60         $598.00
                                production with discovery responses and prepare
                                texts received to include with discovery responses,
                                start working on medical/billing records to be
                                produced with discovery responses.
04/25/21    M. Betinsky         Emails with Soren re discovery responses.                 0.30         $159.00

04/26/21    M. Betinsky         Review documents for RRFPDs, meetings with A.             4.00       $2,120.00
                                Koob re same, work on discovery responses, meet
                                with Soren re ATIs, numerous emails re same.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 43 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             41

Date        Timekeeper          Description                                             Hours              Fees

04/26/21    A. Koob             Review of all file materials and add additional          7.90       $1,817.00
                                materials to T Drive for potential production, emails
                                to MEB regarding same [1]; office conference with
                                MEB to go through documents for production in
                                response to discovery requests [.3]; receive and
                                review large number of additional group chat screen
                                shots from client and begin to prepare for Bates
                                numbering and production [6.6].
04/27/21    R. Bennett          Conference with Marc Betinsky/Katie Bennett re           0.70         $598.50
                                discovery responses and review email.
04/27/21    K. Bennett          Review emails re: text messages/group chats [.4]         0.70         $479.50
                                and discuss same with MEB/RB [.3]
04/27/21    M. Betinsky         T/C with client re discovery (.3); emails re same and    6.00       $3,180.00
                                additional documents for production (.3); emails
                                with A. Koob re privilege log (.3); work on
                                interrogatory responses and document responses and
                                email draft to client (4.5); emails with A. Koob re
                                documents for production, emails CRG re same and
                                T/C with RB/KHB re same (.6).
04/27/21    A. Koob             Email update to MEB regarding group chat texts           9.30       $2,139.00
                                and information within text string [.6]; continue to
                                organize materials/records for production with
                                discovery responses, including Bates numbering and
                                redaction of records [7.9]; receive, review, bates
                                number additional documents from client and
                                prepare privilege log regarding same [.8].
04/27/21    C. Sullivan         Preparation of photo graphics per A. Koob.               1.00         $280.00

04/28/21    R. Bennett          Telephone conference with Marc Betinsky re Rule          0.30         $256.50
                                16 and TNL.
04/28/21    M. Betinsky         Revisions to discovery responses and privilege log,      1.00         $530.00
                                T/C with RB re responses (.3), brief legal research
                                re contention interrogatories for same (.7).
04/29/21    R. Bennett          Review court order.                                      0.40         $342.00

04/29/21    M. Betinsky         Numerous emails with Soren re interrogatory              1.60         $848.00
                                responses, review additional documents for RFPDs,
                                email A. Koob re production set and Bates
                                stamping, revise interrogatory responses and
                                responses to RFPDs (1.4); emails with Sarff re
                                protective order and filing same (.2).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 44 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             42

Date        Timekeeper          Description                                             Hours              Fees

04/30/21    K. Bennett          Review email from MEB and call with MEB re:              0.40         $274.00
                                status of discovery responses and next steps for
                                Monday.
04/30/21    M. Betinsky         Emails with Soren re finalizing interrogatory            0.70         $371.00
                                responses, modifications to same and document
                                responses(.4), emails K. Bennett and A. Koob re
                                serving same (.3)
05/01/21    M. Betinsky         Final edits to interrogatories and email KHB.            0.20         $106.00

05/03/21    R. Bennett          Review responses [1.0]; telephone conference with        1.90       $1,624.50
                                Andy Noel and Marc Betinsky [.5]; further
                                conference with Marc Betinsky and Andy Noel [.4].
05/03/21    K. Bennett          Review/finalize discovery responses and emails           0.70         $479.50
                                with ATK/MEB.
05/03/21    M. Betinsky         Review defendants' ATI and RRFPD, partial review         2.80       $1,484.00
                                of bodycam videos in production, T/C with RB/AJN
                                re strategy for response and impact on Rule 16
                                conference (.9), research issues regarding improper
                                response, draft and send email regarding
                                deficiencies in response (1.6); email re finalization
                                of interrogatory and document responses and service
                                of same (.3).
05/03/21    A. Koob             Review emails from MEB regarding discovery               4.90       $1,127.00
                                responses, review new screenshots from client and
                                prepare for production, convert to PDF and bates
                                number the same and go through documents to
                                produce and remove evidence chain documents and
                                re-number all documents for production due to
                                removal, finalize documents for production, update
                                Privilege Log, finalize Answers to Interrogatories
                                and Response to Requests for Production with
                                updated Bates numbers, email KHB and MEB
                                regarding same [3.2]; emails with KHB and MEB
                                regarding discovery responses, telephone call to
                                KHB regarding service and Privilege Log, prepare
                                certificate of service and service letter and forward
                                same to KHB, upload documents for emailing and
                                prepare flash drive with documents being produced,
                                finalize materials for service and serve same via
                                mail and email [1.7].
05/04/21    R. Bennett          Being review defendants' documents which are             5.80       $4,959.00
                                produced en masse without organization.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 45 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:            March 31, 2022
                                                                          File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:            43

Date        Timekeeper          Description                                              Hours              Fees

05/04/21    K. Bennett          Review Defendants' discovery responses                    3.50       $2,397.50
                                [1.5]Review MEB's notes/takeaways [.5]Review hot
                                doc from RB/ATK [1.5].
05/04/21    M. Betinsky         Review documents from City's document                     1.80         $954.00
                                production, messages with CRG re same and
                                identification of shooter, strategize next steps.
05/04/21    A. Koob             Review email from MEB with document production            3.90         $897.00
                                from defendants, emails to/from MEB, attempt to
                                download document production from defendants,
                                email to J. Hanslick to request access to documents,
                                receive same and again attempt to download large
                                production from defendants [3.2]; telephone call
                                with RB regarding report in documents produced by
                                defendants [.2]; emails to/from J. Hanslick
                                regarding documents produced [.2]; submit requests
                                for Urology and Dr. Watercott records and update
                                request index [.3].
05/05/21    R. Bennett          Conference with Marc Betinsky and review email            2.00       $1,710.00
                                [1.0]; review MPD and Arradondo discovery
                                responses [1.0].
05/05/21    K. Bennett          Continue review of hot docs and drafting memo of          3.50       $2,397.50
                                locations/players [3.5].
05/05/21    M. Betinsky         Continued review of materials from Sarff, emails re       1.00         $530.00
                                same (.8); T/C with RB re Rule 16 conference and
                                follow-up email (.2).
05/06/21    R. Bennett          Review various BWC and Police reports[.6] and             5.20       $4,446.00
                                lengthy telephone conference with Marc Betinsky
                                [2.4]; prep for and attend Rule 16 hearing [1.8];
                                telephone conference with Katie Bennett re strategy
                                [.4].
05/06/21    K. Bennett          Review production from Defendants - finalize              5.90       $4,041.50
                                memo on hot doc reports [2.5]review emails from
                                MEB [.3]Review key videos [2.5]Discuss ideas for
                                conference with RB [.4]Discuss findings with MEB
                                [.2].
05/06/21    M. Betinsky         Review KHB memo re police reports in City's               3.20       $1,696.00
                                document production and T/C KHB re same (.5) ,
                                review bodycams received from City (.2), T/C with
                                RB re same and shooter identification(2.4), emails
                                RB/KHB re Rule 16 conference and follow-up T/C
                                with RB (.1)
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 46 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            44

Date        Timekeeper          Description                                            Hours              Fees

05/06/21    A. Koob             Finalize downloading/unzipping of large amount of       1.20         $276.00
                                videos/docs produced by defendants and telephone
                                call with MEB regarding videos.
05/07/21    R. Bennett          Telephone conference with Andy Noel re shooter ID       0.90         $769.50
                                strategy [.3]; telephone conference with Marc
                                Betinsky re shooter ID strategy [.3]; telephone
                                conference with Katie Bennett re shooter ID
                                strategy [.3].
05/07/21    A. Noel             telephone conference with RB re: strategy [.3]          0.30         $219.00

05/07/21    K. Bennett          telephone conference with RB re: strategy [.3]          0.30         $205.50

05/07/21    M. Betinsky         Continued review of bodycam footage received            2.00       $1,060.00
                                from City and T/C with RB re same.
05/07/21    P. McCaffrey        Video work and editing on a police video attempt to     1.00         $295.00
                                clean up video and locate data attorneys requested.
05/09/21    M. Betinsky         Continued review and assimilation of defendants'        2.70       $1,431.00
                                body cam videos.
05/10/21    R. Bennett          Telephone conference with Marc Betinsky re courts       2.50       $2,137.50
                                - proof standard - and comfortable with naming J.
                                Doe #1 [.6]; prepare for and attend zoom meeting
                                with CRT [1.2]; telephone conference with Sarff
                                [.3]; telephone conference with client [.4].
05/10/21    A. Noel             Review documents/emails/BWC footage/reports re          2.70       $1,971.00
                                ID.
05/10/21    A. Noel             meeting team re: plan for complaint [1.0]               1.00         $730.00

05/10/21    K. Bennett          Review video evidence in order to draft amended         9.50       $6,507.50
                                complaint [2.5]Meeting with MEB/RB/AJN/ATK
                                re: plan for complaint moving forward
                                [1.0]Strategize re: next steps/best course for
                                confirming shooter [1.2]Review McCann video and
                                draft memo [2.0]Review Bauer video and draft
                                memo [2.8].
05/10/21    M. Betinsky         ZOOM with CRG re bodycam videos and other               3.10       $1,643.00
                                documents received from city (1.0), strategy for
                                John Does and claims in Complaint, and next steps
                                (.8): continued review of materials from city (.7);
                                call with RB re: proof standard (.6)
05/10/21    A. Koob             Begin to work on draft of Initial Disclosures.          1.50         $345.00
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 47 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:             March 31, 2022
                                                                          File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:             45

Date        Timekeeper          Description                                               Hours              Fees

05/10/21    A. Koob             Attend Zoom meeting with RB, KHB, AJN and                  1.00         $230.00
                                MEB regarding strategy moving forward.
05/11/21    R. Bennett          Telephone conference with Jack Ryan [1.0];                 2.20       $1,881.00
                                telephone conference with Marc Betinsky re
                                research issues raised by J. Ryan [.6]; review MN
                                unlawful assembly research memo [.6].
05/11/21    K. Bennett          Begin review of Jensen's video and draft memo re:          1.50       $1,027.50
                                same [1.5].
05/11/21    M. Betinsky         T/C with RB re mandated warning language (.6),             4.70       $2,491.00
                                legal research regarding same and Minnesota
                                statutes, draft update email to CRG re same, emails
                                with Jack Ryan regarding same (4.1)
05/11/21    N. Adler            Background research on Benjamin Bauer,                     1.70         $374.00
                                correspond with Andy Noel.
05/12/21    R. Bennett          Conference with CRT and Cade and Adler [1.5];              3.60       $3,078.00
                                telephone conference with Dick Allyn re: Darcy
                                Klund (Strike 1) [1.0]; telephone conference with
                                Andy Noel [.4]; telephone conference with client
                                [.5]; call with RB re: deadlines [.2]
05/12/21    A. Noel             Review Jack Ryan input and emails.                         2.10       $1,533.00

05/12/21    K. Bennett          Civil rights meeting re: Stevenson discovery and           5.70       $3,904.50
                                videos with Adler and Cade [1.5] Continue review
                                of MPD videos (Jensen/Seeley) for drafting of
                                amended complaint/draft memo re: same [4.0];
                                follow-up call with MEB re: same [.2]
05/12/21    M. Betinsky         Zoom with CRG, N. Adler, B. Cade re bodycam                2.60       $1,378.00
                                videos, police practices, strategy, etc. (1.5); follow-
                                up T/C with KHB (.2); review protective order and
                                T/C with RB re same and impending scheduling
                                order (.2); emails with Jack Ryan re mandated
                                assembly warnings and uses of force, contents of
                                same and review materials and PPT from Jack (.7).
05/12/21    N. Adler            Team meeting [1.5] work on Benjamin Bauer                  2.00         $440.00
                                background [.5]
05/12/21    B. Cade             Case review/police reports and video review.               1.00         $220.00
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 48 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            46

Date        Timekeeper          Description                                            Hours              Fees

05/13/21    R. Bennett          Review Adler report on Benjamin Bauer [.8];             5.20       $4,446.00
                                review BWC video [2.2]; zoom meeting with N.
                                Adler, Katie Bennett and Andy Noel [.9];
                                correspondence to Sieff [.4]; (review Sarff email
                                and respond) email Sarff; discuss Sarff emails with
                                KHB [.9].
05/13/21    A. Noel             Review docs and protective order and telephone          1.70       $1,241.00
                                conference with team.
05/13/21    K. Bennett          Continue review of Seely's BWC/draft memo re:           5.40       $3,699.00
                                same [3.0] Zoom meeting re: same/identity of
                                shooter with AJN/RB and Nick Adler [.9] Review
                                memo re: Bauer from Nick Adler [1.0] Review
                                emails to and from Sarff re: Stevenson and discuss
                                with RB [.5].
05/13/21    M. Betinsky         Emails RB/Sarff re discovery issues and                 0.50         $265.00
                                deficiencies (.2); brief review of Bauer background
                                report (.2); email re updated Brave Choices (.1).
05/13/21    A. Koob             Telephone call to Hennepin Health to request            3.30         $759.00
                                updated itemization [.2]; call to M Health to check
                                status of 1.20.21 surgery charge that should be
                                removed from bills (no surgery done due to positive
                                COVID test) and check status of 5.31.20
                                hospitalization bills, whether or not paid by
                                insurance [.2]; begin review of updated Brave
                                Choice records received, prepare summary of
                                updated Brave Choices records, update medical
                                summary with Brave Choices records, and email
                                summary to KHB, MEB and RB, review updated
                                Brave Choices billing records and updates to billing
                                index and request index [2.9].
05/13/21    A. Koob             Work on draft/updates to Initial Disclosures.           0.40          $92.00

05/13/21    N. Adler            Finish Background on Bauer [1.1]; review reports        2.00         $440.00
                                and videos, meet with team [.9]
05/14/21    R. Bennett          Review Sarff email and respond after conference         3.40       $2,907.00
                                with CRT [1.2]; telephone conference with Katie
                                Bennett x3 re amended complaint [1.3]; new BWC
                                video [.9].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 49 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            47

Date        Timekeeper          Description                                            Hours              Fees

05/14/21    K. Bennett          Begin review of Hanneman's BWC video and draft          9.60       $6,576.00
                                memo re: same/prep for amending complaint [2.2]
                                Continue review of additional BWC and draft
                                notes/memo to prep for amending complaint [5.7];
                                conf with RB re: video/complaint amendements
                                [1.7]
05/14/21    M. Betinsky         Emails CRG re bodycam videos and confidential           0.50         $265.00
                                designations (.3); review pretrial scheduling order
                                and deadlines (.2).
05/17/21    R. Bennett          Continued review of discovery materials.                1.60       $1,368.00

05/17/21    K. Bennett          Review discovery from Defendants [all documents]        8.80       $6,028.00
                                [2.0]Review discovery from Defendants [BWC for
                                additional pertinent videos] [6.8].
05/17/21    M. Betinsky         Review KHB email re org chart/chain of command          0.40         $212.00
                                and emails CRG re strategy for named defendants in
                                amended complaint.
05/17/21    A. Koob             Review Pretrial Scheduling Order from Court;            0.70         $161.00
                                receive and review updated itemization from
                                Hennepin Health and go through to compare with
                                bills already received.
05/17/21    A. Koob             Continue to work on draft of Rule 26 Initial            0.80         $184.00
                                Disclosures.
05/18/21    R. Bennett          Telephone conference with Katie Bennett/Sarff [.5];     2.10       $1,795.50
                                telephone conference with Katie Bennett [.4];
                                further review of BWC evidence [1.2].
05/18/21    K. Bennett          Review discovery from Defendants [all documents]        9.80       $6,713.00
                                [4.5]Review discovery from Defendants [BWC for
                                additional pertinent videos] [2.5]Call with RB re:
                                discovery issues [.4]Conf call with Sarff and RB re:
                                discovery issues, plan and complaint/next steps
                                [.5]Review MPD training review of Bauer
                                [.6]Create diagram of van and placement at time of
                                shooting [1.0]Email Sarff re: list of videos [.3].
05/18/21    M. Betinsky         Emails CRG/Sarff re confidential designation on         0.80         $424.00
                                bodycams and list for removal (.4), review KHB
                                email re shooting lineup/orientation (.2), brief
                                review of draft initial disclosures (.2).
05/18/21    A. Koob             Continue to work on draft of Rule 26 Initial            4.20         $966.00
                                Disclosures and preparing additional documents to
                                be produced, forward draft Initial Disclosures to
                                MEB and emails with MEB regarding same.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 50 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                      Date:             March 31, 2022
                                                                      File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                     Page:             48

Date        Timekeeper          Description                                           Hours              Fees

05/19/21    R. Bennett          Zoom CRT [1.5]; review amended complaint in            3.60       $3,078.00
                                detail [2.1].
05/19/21    A. Noel             Conference with team re approach with amended          1.50       $1,095.00
                                complaint and confidential designations
05/19/21    K. Bennett          Continue to draft amended complaint [4.3]Circulate     6.00       $4,110.00
                                current draft to team ahead of mtg [.2]Zoom
                                meeting with civil rights team to review Complaint,
                                edits/strategy and motion re: confidential
                                designation [1.5].
05/19/21    M. Betinsky         Review draft Amended Complaint (1.5), ZOOM             3.00       $1,590.00
                                with CRG re same and strategy for claims and
                                changes to same (1.5)
05/20/21    R. Bennett          Telephone conference with Katie Bennett and            2.30       $1,966.50
                                review BWC screenshots [.6]; telephone conference
                                with Marc Betinsky re 40 BIP rounds [.6];
                                continued review and edits on amended complaint
                                [1.1].
05/20/21    K. Bennett          Review New England Journal letter/appendix.            0.80         $548.00

05/20/21    K. Bennett          Continue drafting amended complaint [2.8]              6.20       $4,247.00
                                Continue review of Bauer video [1.2] Research re:
                                BIP round on Bauer video [1.2] Zoom and calls with
                                Marc to review research and compare to evidence at
                                scene [.4]; calls with RB re: BWC screenshots [.6]
05/20/21    M. Betinsky         T/Cs with KHB, RB, Zoom with KHB re body cam           2.00       $1,060.00
                                videos and clarifying allegations/claims for
                                amended complaint naming the John Doe
                                defendants (.4), review materials produced by City
                                regarding same (1.6)
05/21/21    R. Bennett          Telephone conference with Andy Noel re inclusion       3.80       $3,249.00
                                of Angerhofer as a defendant [.5]; telephone
                                conference with Katie Bennett re drafting sections
                                of amended complaint [.5]; review 5/21/21 draft
                                amended complaint [2.0]; draft new section of
                                amended complaint [.8].
05/21/21    A. Noel             telephone conference with RB/MEB re: inclusion of      0.50         $365.00
                                Angerhofer [.5]
05/21/21    K. Bennett          Continue review of New England Journal and             2.80       $1,918.00
                                discuss same with with RB [.8] Review PowerPoint
                                from Jack Ryan [2.0] .
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 51 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            49

Date        Timekeeper          Description                                            Hours              Fees

05/21/21    K. Bennett          Continue strategizing and drafting amended              3.80       $2,603.00
                                complaint [3.6]Email updated draft to RB [.2].
05/21/21    M. Betinsky         telephone conference with RB/AJN re: inclusion of       0.50         $265.00
                                Angerhofer [.5]
05/23/21    M. Betinsky         Review and edit draft initial disclosures and email     0.50         $265.00
                                A. Koob re same.
05/24/21    R. Bennett          Review amended complaint 5/24 draft [2.0]; zoom         3.50       $2,992.50
                                meeting with Katie Bennett re editing first amended
                                complaint [1.5].
05/24/21    K. Bennett          Continue editing amended complaint and email to         4.00       $2,740.00
                                RB [2.3]Review voice mail from RB and schedule
                                meeting time to review amended complaint
                                [.2]Meeting with RB re: amended complaint [1.5].
05/24/21    M. Betinsky         Emails with Soren/A. Koob re information needed         0.20         $106.00
                                for initial disclosures.
05/24/21    A. Koob             Review email from MEB regarding Initial                 0.80         $184.00
                                Disclosures and updates to same, email to KHB/RB
                                regarding contact information and email to client
                                requesting additional information.
05/25/21    R. Bennett          Conference with Katie re complaint [.4]; telephone      1.00         $855.00
                                conference with Marc Betinsky re his review and
                                edits [.6].
05/25/21    K. Bennett          Circulate updated amended complaint to team [.2]        0.80         $548.00
                                Discuss amended complaint and plan with MEB
                                [.2]; conf with RB re: same [.4]
05/25/21    M. Betinsky         Review, revise and redline Amended Complaint and        5.10       $2,703.00
                                emails with CRG re same (4.5); conf with RB re:
                                same (.6)
05/26/21    K. Bennett          Review MEB red lined complaint [1.8]Zoom                2.30       $1,575.50
                                meeting re: red lined complaint [.5].
05/26/21    M. Betinsky         ZOOM with CRG re questions in amended                   1.50         $795.00
                                complaint (.5), work on editing/modifying same
                                (1.0)
05/27/21    M. Betinsky         Emails with Sarff re confidential designation on        1.60         $848.00
                                docs, emails A. Koob re same, emails and T/C with
                                A. Koob re initial disclosures and needed info from
                                Soren (.6); work on revisions to Amended
                                Complaint (1.0).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 52 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:            March 31, 2022
                                                                         File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:            50

Date        Timekeeper          Description                                             Hours              Fees

05/27/21    A. Koob             Telephone call with MEB regarding Initial                3.20         $736.00
                                Disclosures and forward Brave Choices invoice
                                regarding legal consult [.2]; emails from/to MEB
                                regarding CONFIDENTIAL stamps for previously
                                produced medical records, stamp confidential
                                updated Brave Choices records and stamp
                                CONFIDENTIAL all medical records previously
                                produced, email updated CONFIDENTIAL stamped
                                records to opposing counsel [1.8]; receive and
                                review billing records from HCMC, email to MEB
                                regarding HCMC records, update billing index,
                                redact and Bates number HCMC records for
                                production with Initial Disclosures and updates to
                                Initial Disclosures [.8]; review emails from RB,
                                MEB and defendants' counsel regarding documents
                                re-produced, zip file of imaging and re-send along
                                with Midwest Laboratories records to defense
                                counsel per request [.4].
05/28/21    M. Betinsky         T/C with Soren regarding information for initial         1.90       $1,007.00
                                disclosures, edit same and emails with A. Koob re
                                same (.4); complete revisions to Amended
                                Complaint and circulate same (1.5).
05/30/21    R. Bennett          Review Marc Betinsky red line/final revisions.           1.50       $1,282.50

05/30/21    M. Betinsky         Emails re timing of filing Amended Complaint and         0.20         $106.00
                                meet/confer with Sarff re confidentiality
                                designations.
06/01/21    A. Noel             Review and revise Marc Betinsky revisions to             1.70       $1,241.00
                                amended complaint.
06/01/21    K. Bennett          Review redlined complaint [1.0]Finalize complaint,       1.70       $1,164.50
                                email Sarff re: first amended complaint plan/dates
                                and times for meet and confer [.7].
06/01/21    M. Betinsky         Finalize initial disclosures and attention to service    0.70         $371.00
                                of same, emails A. Koob re same (.4); emails A.
                                Koob and Sarff re Dr. Sher report and
                                misdesignation and attention to service of newly
                                marked confidential copy (.3).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 53 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:              March 31, 2022
                                                                          File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:              51

Date        Timekeeper          Description                                                Hours              Fees

06/01/21    A. Koob             Review email from MEB regarding additions to                3.60         $828.00
                                Initial Disclosures, update/finalize draft of Initial
                                Disclosures and forward same to MEB for review
                                [1.5]; emails to/from MEB regarding Dr. Sher report
                                being marked confidential, add confidential
                                stamp/designation to Dr. Sher report [.2]; finalize
                                Initial Disclosures, prepare Certificate of Service
                                and service letter and email to MEB for review [.8];
                                emails to/from B. Peterson regarding mailing and
                                email documents for production to BITS to create
                                flash drive [.2]; final review of letter, certificate of
                                service and Initial Disclosures and email to B.
                                Peterson for mailing, prepare email to opposing
                                counsel serving Initial Disclosures and documents
                                via email and forwarding flash drive password [.3];
                                email Sarff, et al. regarding re-production of Dr.
                                Sher report with confidential designation [.2];
                                receive and review Defendants' Initial
                                Disclosures/documents produced and
                                download/save same [.4].
06/02/21    K. Bennett          Review materials disclosed from MPD on 6.1 [6.0]            8.10       $5,548.50
                                Draft memo to file/team of new materials [1.7]
                                Draft email to team re: memo and analysis with re:
                                to amended complaint [.4].
06/02/21    M. Betinsky         Review KHB memo re additional discovery                     0.30         $159.00
                                materials received from City.
06/03/21    A. Noel             Review Katie Bennett memo re documents and                  2.50       $1,825.00
                                communicate with team re: same
06/03/21    M. Betinsky         Emails re meet and confer for amended complaint             0.30         $159.00
                                (.2); review City's initial disclosures (.1).
06/04/21    R. Bennett          Review def. Rule 26 disclosures and Katie Bennett           2.00       $1,710.00
                                memo.
06/04/21    K. Bennett          Emails re: meet and confer [.2]Continue review of           4.10       $2,808.50
                                Defendants production and finalize memo
                                [3.6]Review initial disclosures and emails re: same
                                [.3].
06/04/21    M. Betinsky         Emails re initial disclosures and missing emails            0.40         $212.00
                                from same, emails re meet & confer with Sarff and
                                Amended Complaint.
06/07/21    R. Bennett          Conference with CRT [.5]; review materials in 03            3.00       $2,565.00
                                production [2.5].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 54 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:              March 31, 2022
                                                                       File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:              52

Date        Timekeeper          Description                                             Hours              Fees

06/07/21    K. Bennett          Review memos and initial disclosures/discuss with        7.50       $5,137.50
                                RB [.3]Email Sarff re: emails mentioned in initial
                                disclosures [.3]Texts re: meeting today [.1]Zoom re:
                                meet and confer/plan and edits to amended
                                complaint after review of additional production
                                [.5]Review emails from Sarff and ATK re download
                                Prod 03 [.3]Begin review of Prod 03 and draft
                                memo re: same [6.0].
06/07/21    M. Betinsky         Zoom CRG re status and Sarff meet/confer.                0.50         $265.00

06/07/21    A. Koob             Receive, review and download supplemental                0.60         $138.00
                                production from defendants and emails with KHB.
06/08/21    R. Bennett          Review Katie Bennett memos re docs in 6/7/21             5.20       $4,446.00
                                production by defendants [1.0]; review MPD SWAT
                                policies [.9]; review Katie Bennett memo, review of
                                docs in 5/3/21 production from defendants [.7];
                                review of Katie Bennett's review of defendants'
                                6/1/21 production [.8]; prep for meet and confer
                                [.9]; telephone conference with Katie Bennett re stip
                                [.3]; review stip [.3]; telephone conference with
                                Marc Betinsky re stip [.3].
06/08/21    K. Bennett          Cont review of Prod 03 and draft memo re same            6.60       $4,521.00
                                [4.0]Email Sarff re missing documents [.3]Email
                                team re: SWAT materials and discovery ideas for
                                Stevenson [.7]Prep for meet and confer/call with RB
                                [.7]Call with counsel for Defendants re: First
                                Amended Complaint [.4]Draft stipulation and
                                circulate to team [.5].
06/08/21    M. Betinsky         Emails re Sarff call and proposed Amended                0.90         $477.00
                                Complaint and stip, review and edit stip and email
                                KHB re same (.4); review memo re additional
                                discovery items (.2); Call with RB re: stip (.3)
06/08/21    A. Koob             Telephone call from City Attorney's Office               0.10          $23.00
                                regarding documents produced with Plaintiff's Rule
                                26(a) Disclosures - needing additional information
                                for access to the flash drive.
06/09/21    R. Bennett          Prepare for and attend conference call with CRT re       1.60       $1,368.00
                                action plan [1.0]; review stip and conference with
                                CRT [.6].
06/09/21    A. Noel             Review stip and telephone conference with team re        0.70         $511.00
                                same.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 55 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:              March 31, 2022
                                                                        File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:              53

Date        Timekeeper          Description                                              Hours              Fees

06/09/21    K. Bennett          Prepare for and attend zoom meeting with civil            2.50       $1,712.50
                                rights team re: action plan [1.3] Edit stipulation,
                                send to Sarff, review her redline and discuss [1.2].
06/09/21    M. Betinsky         ZOOM with CRG re stip for amended complaint,              1.00         $530.00
                                discovery issues, and next steps in the case.
06/10/21    M. Betinsky         Emails re stip and amended complaint.                     0.20         $106.00

06/11/21    R. Bennett          Telephone conference with Katie Bennett re: stip          0.60         $513.00
                                [.4] and review email re: same [.2]
06/11/21    K. Bennett          Emails with defense counsel re: Stip. [.4]; calls with    0.80         $548.00
                                RB re: same [.4]
06/11/21    M. Betinsky         Review stip and emails re same for amended                0.20         $106.00
                                complaint.
06/14/21    R. Bennett          Telephone conference with Soren.                          0.50         $427.50

06/14/21    K. Bennett          Review CBS story on MPD payouts.                          0.20         $137.00

06/15/21    R. Bennett          Telephone coherence with Katie Bennett re:                0.30         $256.50
                                Amended Complaint
06/15/21    K. Bennett          telephone conference with RB re: complaint [.3]           0.30         $205.50

06/16/21    A. Noel             Review and analyze amended complaint.                     2.20       $1,606.00

06/16/21    K. Bennett          Review correspondence from Court/emails with              3.10       $2,123.50
                                team re: same [.4]Redact amended complaint send
                                to Sarff on 6/1; compare and finalize redline
                                amended complaint for court [2.5]email to
                                team/finalize and email directions to Molly [.2].
06/16/21    M. Betinsky         Review email from Court regarding Amended                 0.40         $212.00
                                Complaint, emails CRG and T/C with RB re same,
                                review redactions and documents needed for
                                submission to the court.
06/18/21    K. Bennett          Review emails and article/video re: Bender's              0.30         $205.50
                                response to recent news story with RB and
                                strategize [.3].
06/18/21    M. Betinsky         Review article re Lisa Bender and potential               0.20         $106.00
                                admissions by Minneapolis, emails re same and
                                upload video re same.
06/24/21    R. Bennett          Review emails and details re admission of service         0.70         $598.50
                                by individual defendants [.5]; TC with MEB re: stip
                                to file Amended Complaint [.2]
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 56 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:            March 31, 2022
                                                                          File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:            54

Date        Timekeeper          Description                                              Hours              Fees

06/24/21    M. Betinsky         T/C with RB re stip to file amended complaint and         0.20         $106.00
                                status/strategy.
06/25/21    R. Bennett          Review 8th Circuit opinion in Burbridge.                  0.40         $342.00

06/25/21    M. Betinsky         Email court re stip to amend complaint.                   0.10          $53.00

06/29/21    K. Bennett          Review email from court and provide attachments to        0.20         $137.00
                                Sarff [.2].
06/29/21    M. Betinsky         Email from Court, emails KHB and opposing                 0.20         $106.00
                                counsel re stip to amend.
07/05/21    K. Bennett          Review emails re: stip and calls with MEB/RB re           0.50         $342.50
                                same.
07/07/21    A. Noel             Deal with stip issues.                                    1.30         $949.00

07/07/21    M. Betinsky         Email from Sarff re misfiled stip, review prior           0.40       No Charge
                                emails to confirm same, call to Court regarding
                                fixing misfiling.
07/08/21    M. Betinsky         Draft and edit amended stipulation regarding              0.80         $424.00
                                amended complaint, conference call with RB/KHB
                                re same and filing.
07/09/21    R. Bennett          Review filings and telephone conference with Marc         1.40       $1,197.00
                                Betinsky [.6]; telephone conference with client [.8].
07/09/21    M. Betinsky         Attention to filing amended complaint under seal          1.20         $636.00
                                and redacted amended complaint, call with court re
                                unsigned filing, correct filing and re-file (.4), T/C
                                with RB re same (.6); review Sarff changes to
                                amended stip re amended complaint (.2).
07/12/21    M. Betinsky         Call with court re issuance of summonses, review          0.60         $318.00
                                same (.2), T/C with RB/KHB re same and service
                                (.3), draft and send email to Sarff re service of
                                summons and amended complaint (.1)
07/13/21    A. Koob             Review of updated M Health records and begin to           1.90         $437.00
                                work on summary of updated records.
07/15/21    M. Betinsky         Emails re Sarff's changes to replacement stip.            0.20         $106.00

07/15/21    A. Koob             Complete review/summary of M Health updated               4.70       $1,081.00
                                records and add information to medical summary
                                [1.1]; receive and review Hennepin Specialty Clinic
                                records and work on summary of same [3.6].
07/19/21    M. Betinsky         Review MTF and records re latest medicals.                0.20         $106.00
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 57 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:              March 31, 2022
                                                                         File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:              55

Date        Timekeeper          Description                                               Hours              Fees

07/19/21    A. Koob             Receive and review updated M Health billing                2.50         $575.00
                                records and compare to updated records received
                                and update billing index, email to D. Roisum
                                regarding missing billing, review billing index and
                                previous M Health billing, miscellaneous file review
                                and organization, finalize Hennepin Specialty
                                Clinics summary, update medical summary with
                                Hennepin Specialty Clinic appointments and email
                                update to KHB, RB, MEB and AJN, emails to/from
                                D. Roisum with additional information for missing
                                M Health bills.
07/20/21    R. Bennett          Telephone conference with Marc Betinsky re July            0.70         $598.50
                                27 letter to Judge TNL [.4]; two voice mails to K.
                                Sarff at office and mobile [.3].
07/20/21    M. Betinsky         T/C with RB re required update letter to Court and         1.40         $742.00
                                interactions with Sarff and begin work on letter to
                                Judge TNL.
07/21/21    R. Bennett          Telephone conference with Marc Betinsky re letter          2.70       $2,308.50
                                [.3]; telephone conference with K. Sarff re
                                settlement issues [.4]; telephone conference with M.
                                Betinsky re K. Sarff conversation [.3]; telephone
                                conference with Andy Noel and Katie Bennett re
                                settlement and Sarff conversation [.5]; review
                                emails [.5]; telephone conference with client [.7].
07/21/21    A. Noel             telephone conference with RB/KHB re: settlement            0.50         $365.00
                                and Sarff conversation [.5]
07/21/21    K. Bennett          telephone conference with RB/AJN re: settlement            0.50         $342.50
                                and Sarff conversation [.5]
07/21/21    M. Betinsky         Continue drafting settlement letter to Judge TNL           4.00       $2,120.00
                                (2.9); T/Cs with RB re discussions with Sarff related
                                to same and settlement (.6); emails/T/Cs with CRG
                                re fees and costs to date and settlement strategy (.5).
07/22/21    R. Bennett          Review and propose my changes to letter to TNL.            1.00         $855.00

07/22/21    M. Betinsky         Complete draft of letter to Judge TNL, review,             3.50       $1,855.00
                                revise and edit same, emails with RB re same and
                                review & implement RB changes to same.
07/22/21    A. Koob             Review email from D. Roisum regarding missing M            0.30          $69.00
                                Health billing and submit updated request for same
                                and update request index.
07/23/21    R. Bennett          Conference with Marc Betinsky re letter to TNL             1.00         $855.00
                                [.5]; review and final approval [.5].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 58 of 103

                                               ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            56

Date        Timekeeper          Description                                            Hours              Fees

07/23/21    M. Betinsky         Finalize and submit letter to Judge TNL (.5) and        1.00         $530.00
                                T/C with RB re status and next steps (.5)
07/26/21    M. Betinsky         Work on second round of discovery requests.             0.50         $265.00

07/27/21    R. Bennett          Telephone conference with Kristin Sarff [.7]; memo      1.00         $855.00
                                to file [.3].
07/29/21    M. Betinsky         Work on discovery requests.                             0.30         $159.00

07/30/21    R. Bennett          Review McCann answer [.7]; same with Severance          2.70       $2,308.50
                                answer [.8]; same with Bauer answer [.7]; cursory
                                review City's answer [.5].
07/30/21    M. Betinsky         Brief review of Severance, McCann, and Bauer            1.10         $583.00
                                answers (.8); work on discovery requests (.3).
08/02/21    R. Bennett          Telephone conference with Marc Betinsky re              0.50         $427.50
                                analyze 4 answers.
08/02/21    A. Noel             Review and analyze answers.                             1.20         $876.00

08/02/21    M. Betinsky         Zoom RB re strategy and topics for written              0.50         $265.00
                                discovery and work on same.
08/04/21    R. Bennett          Review order for settlement conference [.6];            2.10       $1,795.50
                                correspondence to client [.5]; draft and revise
                                correspondence to Sarff and telephone conference
                                with Marc Betinsky [1.0].
08/04/21    M. Betinsky         T/C with RB re strategy (1.0) and email to Sarff re     1.50         $795.00
                                settlement, review and modify same (.4); email to
                                client (.1).
08/05/21    A. Koob             Review email from RB to client with Order for           0.10          $23.00
                                Settlement Conference.
08/09/21    R. Bennett          Review file.                                            0.30         $256.50

08/09/21    K. Bennett          Review and compare Bauer Answer and Amended             2.70       $1,849.50
                                Complaint [2.0]Review updated medical summaries
                                [.7].
08/11/21    K. Bennett          Strategize re: discovery requests and discuss with      0.50         $342.50
                                MEB re: production [.5]
08/11/21    M. Betinsky         Work on drafts of Interrogatories and document          2.00       $1,060.00
                                requests to all defendants, review document
                                received in discovery thus far for same (1.7), T/Cs
                                and emails with KHB re index of defense
                                documents for same (.3);
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 59 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:            March 31, 2022
                                                                       File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:            57

Date        Timekeeper          Description                                           Hours              Fees

08/12/21    R. Bennett          Telephone conference with Marc Betinsky re             1.80       $1,539.00
                                discovery [.4]; email Sarff [.4]; review Marc
                                Betinsky draft discovery requests [1.0].
08/12/21    M. Betinsky         Complete drafts of interrogatories to Bauer, City,     3.90       $2,067.00
                                Severance and McCann and RFPDs to City and
                                Bauer and edit same (3.5); T/C with RB re
                                depositions and strategy for settlement conference
                                (.4).
08/13/21    M. Betinsky         Make necessary edits to discovery requests, oversee    1.40         $742.00
                                prep of cover letter, oversee service of discovery
                                requests to Bauer, McCann, Severance and City.
08/16/21    M. Betinsky         Work on comparisons of Complaint to various            0.60         $318.00
                                answers filed by defendants.
08/17/21    M. Betinsky         Continue work on comparisons of answers to             0.70         $371.00
                                Amended Complaint.
08/18/21    R. Bennett          Telephone conference with client and K Bennett         0.60         $513.00

08/18/21    K. Bennett          Discussions re: next steps and call with Soren/RB.     0.40         $274.00

08/18/21    M. Betinsky         Continue working on comparison of answers to           0.70         $371.00
                                Amended Complaint.
08/19/21    M. Betinsky         Work on comparisons of answers to Amended              1.70         $901.00
                                Complaint (1.5); email Jack Ryan (.2).
08/20/21    M. Betinsky         Work on comparisons between answers and                1.30         $689.00
                                Amended Complaint (1.0); emails re deposition
                                scheduling (.3).
08/23/21    R. Bennett          Review and revise depo notice and room scheduling      2.70       $2,308.50
                                [.6]; telephone conference with Andy Noel re
                                potential methodology for ID inquiry [.6]; review
                                Bauer personnel file [1.5].
08/23/21    A. Noel             telephone conference with RB re: potential             0.60         $438.00
                                methodology for ID inquiry [.6]
08/23/21    M. Betinsky         Emails re depositions and logistics for same.          0.20         $106.00

08/30/21    R. Bennett          Work on settlement strategy.                           1.00         $855.00

08/30/21    E. Mignanelli       Review and analyze pleadings for the case and          0.70         $406.00
                                ethical wall memorandum.
08/31/21    A. Noel             Telephone conference with Tim Phillips re MPD          1.00         $730.00
                                depos he has completed in state court matter and
                                draft memo re: same
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 60 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             58

Date        Timekeeper          Description                                             Hours              Fees

08/31/21    M. Betinsky         Deposition prep and document review for same             0.70         $371.00

09/01/21    R. Bennett          Conference with CRT re action plan - discovery and       1.00         $855.00
                                depos.
09/01/21    A. Noel             Telephone conference with team re discovery and          1.00         $730.00
                                depo strategy.
09/01/21    K. Bennett          Meeting with Civil Rights team re: work allocation       1.00         $685.00
                                and plan heading into depositions.
09/01/21    E. Mignanelli       Conference with team re planning for depositions         1.00         $580.00
                                and analysis of discovery in preparation for same.
09/01/21    M. Betinsky         CRG planning meeting about next steps and strategy       2.40       $1,272.00
                                for Bauer, McCann, Severance depositions (1.0);
                                begin review of documents for same (1.0); draft list
                                of bullet points for Sarff re discovery documents
                                from Marks and use in Bauer deposition (.4).
09/02/21    M. Betinsky         Continue review of city document production for          2.00       $1,060.00
                                deposition prep.
09/03/21    M. Betinsky         Continue review of defense document production           2.00       $1,060.00
                                for deposition prep.
09/07/21    R. Bennett          Conference with Marc Betinsky re use of force time       0.70         $598.50
                                trap [.3][; telephone conference with Ronn Kreps
                                [.4].
09/08/21    E. Mignanelli       Begin review and organization of discovery               0.70         $406.00
                                produced by defendants in preparation for
                                depositions.
09/08/21    M. Betinsky         Continue legal research on less-lethal uses and facts    4.00       $2,120.00
                                surrounding uses of force for deposition prep
09/09/21    R. Bennett          Review email from Sarff and telephone conference         1.50       $1,282.50
                                with Marc Betinsky [.5]; review and revise March
                                Betinsky's draft and conference with Marc Betinsky
                                and Andy Noel [1.0].
09/09/21    A. Noel             Meeting with team re video and ID issues.                0.70         $511.00

09/09/21    M. Betinsky         Email from Sarff re extension request, T/C with RB       2.70       $1,431.00
                                re strategy for response and additional information
                                re same (.5), draft and revise email to Sarff re same
                                (.5); continued research on case law re less-lethals
                                and crowd/riot situations (1.0); conf with RB/AJN
                                re: video/ID (.7)
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 61 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:             March 31, 2022
                                                                         File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:             59

Date        Timekeeper          Description                                              Hours              Fees

09/10/21    R. Bennett          Telephone conference with client [.5]; conference         2.00       $1,710.00
                                with Marc Betinsky on case issues for deposition
                                questions and review related cases (2nd circuit)
                                [1.5].
09/10/21    M. Betinsky         Continued research on defense purported                   5.00       $2,650.00
                                justifications for use of force and crowd-control/riot
                                case law (3.0); T/C with RB re discovery extension
                                request and lack of response, strategy moving
                                forward (.3); work on review of documents from
                                city for depositions (1.7).
09/13/21    K. Bennett          call with MEB re: depo prep/strategy/assignments          0.50         $342.50
                                [.5]
09/13/21    M. Betinsky         Latest email from Sarff re discovery responses,           3.50       $1,855.00
                                mesages with CRG re same, draft and circulate
                                response to same (.6); T/C with KHB re deposition
                                prep, strategy and next steps (.5); review defendants'
                                discovery re deposition prep (2.4).
09/14/21    K. Bennett          Begin deposition prep/file review [.6]Review              4.00       $2,740.00
                                original complaint and answer comparison
                                [1.0]Review amended complaint filed under seal
                                and comparison to answer; begin drafting memo re:
                                key issues from Bauer's answer [2.4].
09/14/21    M. Betinsky         Complete comparison of Bauer answer to amended            3.00       $1,590.00
                                complaint and email KHB re same and thoughts
                                about admissions for use at impending depositions.
09/14/21    A. Koob             Receive and review missing billing record from M          1.30         $299.00
                                Health, compare to records received previously and
                                review of records requested to date, submit request
                                for billing records from U of M Physicians [.5];
                                receive and review CNR from HCMC regarding
                                bills for 1.27.21 visit with Dr. Watercott, review of
                                previous records received and confirm visit date in
                                records, email to K. Lyons and D. Roisum regarding
                                same [.4]; emails with K. Lyons regarding Dr.
                                Watercott and online search regarding same [.2];
                                submit request for records from Bright Eyes Vision
                                Clinic and update notes/indexes regarding same [.2].
09/15/21    K. Bennett          Continue review of Defendants' discovery to index         4.00       $2,740.00
                                and create list of hot documents/depo prep.
09/15/21    M. Betinsky         Emails about defendants' document production,             0.60         $318.00
                                missing documents and correspondence with Sarff.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 62 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             60

Date        Timekeeper          Description                                             Hours              Fees

09/16/21    R. Bennett          Review Katie Bennett memo [.5]; review Sarff             2.40       $2,052.00
                                email [.3]; conference with Angela Koob and Katie
                                Bennett re defendants' ATI and RRPD [.4]; review
                                same [1.0].
09/16/21    K. Bennett          Continue review of defendant's discovery and depo        4.40       $3,014.00
                                prep for defendants' upcoming depositions.
09/16/21    K. Bennett          Review discovery responses [2.6]Begin drafting           4.00       $2,740.00
                                letter to Sarff re: same [1.4].
09/16/21    M. Betinsky         Review defendants' discovery responses(.4),              2.10       $1,113.00
                                conference calls with RB/KHB re deficiencies in
                                same and next steps(.7), email KHB thoughts for
                                Sarff letter and legal research regarding City's
                                discovery deficiencies, follow-up messages re same
                                (1.0)
09/16/21    A. Koob             Review email from KHB regarding upcoming                 0.10          $23.00
                                depositions/prep and respond to same.
09/17/21    R. Bennett          Review and approve letter to Sarff re discovery          1.00         $855.00
                                issue.
09/17/21    A. Noel             conference with RB/MEB re: KHB ltr [.3]                  0.30         $219.00

09/17/21    K. Bennett          Continue review and analysis of Sept 13 discovery        5.90       $4,041.50
                                and update letter to Sarff [2.2]Review emails with
                                citations from MEB; calls with MEB re: edits and
                                strategy [.7]Edit letter and send to AJN/MEB for
                                comment [.9]Call with MEB/AJN and edit letter
                                [.3]Further edit letter/demand portion and email
                                draft to RB for review [.3]Continue depo prep/file
                                review/organization of unlabeled documents from
                                defendants [1.5].
09/17/21    M. Betinsky         Review and revise letter (1.8), follow-up T/C with       3.20       $1,696.00
                                KHB re: same (.4), review revised letter and make
                                further edits (.7), follow-up call and emails with
                                KHB/AJN re same (.3)
09/20/21    R. Bennett          Review file/prep to move quickly on Sarff and City.      1.40       $1,197.00

09/20/21    K. Bennett          Continue review of initial disclosures [2.2]Draft and    3.20       $2,192.00
                                send list for printing/depo prep to ATK [1.0]
09/20/21    M. Betinsky         Work on comparison of McCann answer to                   4.50       $2,385.00
                                amended complaint (2.5); work on document review
                                for impending depositions (2.0).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 63 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:               March 31, 2022
                                                                          File Number:        129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:               61

Date        Timekeeper          Description                                                 Hours              Fees

09/20/21    A. Koob             Email to KHB regarding deposition preparation [.1];          4.70       $1,081.00
                                work on organizing and preparing binders for
                                deposition preparation/potential exhibits and
                                printing off copies for binders for RB and KHB
                                [4.5]; email to KHB regarding documents and
                                telephone call with KHB regarding same [.1].
09/21/21    R. Bennett          Telephone conference with Marc Betinsky and                  5.20       $4,446.00
                                Katie Bennett re action plan variables [1.2]; watch
                                MPD videos with Katie Bennett for deposition [4.0].
09/21/21    K. Bennett          Review video memos and flag key portions;                    8.20       $5,617.00
                                compare to audio files [2.2]Begin review of
                                McCann BWC video [.6]Call with RB and MEB re:
                                deposition plan [1.2]Call with RB re: video
                                [.2]Review video with RB/strategize re: McCann,
                                Severance and Bauer depositions [4.0]
09/21/21    M. Betinsky         Strategy meeting (call) with RB/KHB re impending             7.20       $3,816.00
                                depositions, missing documents, settlement
                                conference and potential motion to compel (1.2);
                                review documents for deposition (1.5); work on
                                comparison of Severance answer to Amended
                                Complaint (3.0); further research re less-lethal use
                                in crowd situations (1.5).
09/21/21    A. Koob             Continue to work on preparing deposition prep                3.80         $874.00
                                binders/potential exhibits, finalize binders, review
                                same and email to KHB.
09/22/21    R. Bennett          Conference with Katie Bennett [.5]; telephone                3.00       $2,565.00
                                conference with Marc Betinsky re to-do list - motion
                                [.7]; review hot docs [1.0]; review Katie Bennett
                                email re proof trail [.4]; review Sarff letter and text -
                                late [.4].
09/22/21    K. Bennett          Continue review of SWAT 1280 body worn camera                8.90       $6,096.50
                                (and others) to confirm weapon of each individaul;
                                draft memo/email re same and depo outline.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 64 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:            March 31, 2022
                                                                       File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:            62

Date        Timekeeper          Description                                           Hours              Fees

09/22/21    M. Betinsky         T/C RB re next steps and deposition strategy (.4);     5.00       $2,650.00
                                T/C KHB re bodycam video review (.3); review
                                materials from KHB re documents received from
                                City, review bodycam videos re same, review
                                outlines of deposition questions, strategize for
                                depositions (3.0); review correspondence from City
                                re documents and depositions, messages with CRG
                                re same and strategy for next steps (.5); complete
                                comparison of Severance answer to amended
                                complaint and email KHB re thoughts for
                                admissions useful in deposition (.8).
09/23/21    R. Bennett          Telephone conferences with Marc Betinsky re            1.60       $1,368.00
                                recent productions x4 [1.0]; conference with Katie
                                Bennett re hot docs [.6].
09/23/21    K. Bennett          Continue prepping for depositions and drafting         3.50       $2,397.50
                                witness outlines. [2.9] conference with RB re: hot
                                docs/depos [.6]
09/23/21    M. Betinsky         Review all newly produced documents from               9.80       $5,194.00
                                defendants and index same, emails with RB/KHB re
                                same and deposition strategy factoring in new
                                documents, prepare list of missing documents and
                                email opposing counsel same.
09/23/21    A. Koob             Review emails regarding production and                 3.50         $805.00
                                download/save same and print off documents for
                                KHB review [2.5]; create binders for KHB of
                                additional documents for review, additional
                                documents produced and telephone call to KHB
                                regarding same and extract additional documents
                                [.4]; telephone call with MEB regarding production
                                and potential missing items [.3]; review documents
                                produced for missing documents and email to MEB
                                [.3].
09/24/21    R. Bennett          Review hot docs to prep for depo/potential exhibits    2.50       $2,137.50
                                for use at depositions
09/24/21    K. Bennett          Deposition prep/review training documents recently     3.50       $2,397.50
                                produced in native form [2.0]Strategize with RB re:
                                upcoming depositions [1.0]Update from MEB with
                                RB/KHB re: recent production and plan for
                                depositions [.5]
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 65 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:              March 31, 2022
                                                                          File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:              63

Date        Timekeeper          Description                                                Hours              Fees

09/24/21    M. Betinsky         Review additional documents/video from City, T/Cs           5.30       $2,809.00
                                with RB/KHB re same and deposition strategy (4.5);
                                work on exhibits for depositions and emails/T/Cs
                                with Paul McCaffrey re preparation of same, emails
                                RB/KHB re same (.8).
09/24/21    A. Koob             Review emails regarding missing .wav files and              1.20         $276.00
                                download same [.3]; begin review/compare of Bauer
                                employment records produced in Stevenson vs.
                                Bauer employment records produced in Marks [.9]
09/26/21    R. Bennett          Review BWC video and compare to report [3.0];               4.20       $3,591.00
                                review requests [1.2].
09/26/21    K. Bennett          Review BWC with RB and strategize re: depositions           4.20       $2,877.00
                                [3.0]Continue review of Key Docs from Initial
                                Disclosures/prep for depositions [1.2].
09/27/21    R. Bennett          Conference call with Marc Betinsky and Katie                5.60       $4,788.00
                                Bennett [1.4]; telephone conferences with Marc
                                Betinsky x5 [1.6]; review reports and video [2.0];
                                telephone conference with Jane Doby x2 [.6].
09/27/21    A. Noel             Review Katie Bennett emails, photos, memos for              1.90       $1,387.00
                                strategizing/depo advice
09/27/21    K. Bennett          Review key BWC and begin drafting additional               10.30       $7,055.50
                                outlines for depositions [6.2]Calls/Zooms with Paul
                                [.5]Calls with RB and MEB re: video evidence,
                                strategy [1.4]Review letter to Sarff and discuss with
                                team [1.2]Begin review of Key Docs from
                                Stevenson Prod 1 and prep for depositions
                                [.8]Review texts re: Sarff's production [.2].
09/27/21    M. Betinsky         Numerous conferences with RB/KHB re deposition              9.80       $5,194.00
                                issues, review outline of identification questions for
                                depositions, strategize re in-person vs remote
                                depositions, conferences with RB/P. McCaffrey re
                                in-person depositions, technology and attempts to
                                stream video over Zoom, test same with various
                                videos and different locations, draft and edit letter to
                                Sarff re depositions, attention to exhibits to same
                                and oversee sending same, review amended depo
                                notice and revise same, further work on deposition
                                prep and strategy, emails and coordinate with court
                                reporter and videographer for depositions (9.5);
                                brief review of additional documents received from
                                city (.3).
09/27/21    P. McCaffrey        Assistance with depo prep.                                  2.00         $590.00
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 66 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             64

Date        Timekeeper          Description                                             Hours              Fees

09/27/21    P. McCaffrey        Assistance with depo prep.                               0.70         $206.50

09/28/21    R. Bennett          Telephone conference with client [.3]; attend            5.20       $4,446.00
                                meeting re depo prep with Marc Betinsky and Katie
                                Bennett [3.0]; telephone conference with Kristin
                                Sarff x2 [.8]; telephone conference with Marc
                                Betinsky [.4}; review revised outline [.5]; call with
                                A. Koob re: exhibits [.2]
09/28/21    K. Bennett          Review key BWC and draft outline for timing             11.60       $7,946.00
                                around shooting and email to team [1.7]Continue
                                review of Key Docs from Stevenson Production
                                1/prep for depositions [2.0]Review key BWC and
                                analyze with RB/MEB [4.0]Continue review of
                                documents, complaint/radio traffic and depo
                                prep/drafting outlines for upcoming depositions
                                [3.2]Calls with RB/MEB re: Sarff conversations
                                [.4]Call with MEB re: supervisory claim [.3].
09/28/21    M. Betinsky         Prep session with RB/KHB for depositions, review        11.00       $5,830.00
                                bodycam video, work on outlines, etc, coordinate
                                with technology team re depositions and
                                audio/video for same (4.5); review newly produced
                                documents from City & emails RB/KHB re same
                                (5.5); conference calls with RB/KHB re deposition
                                schedule and changes, strategy for depositions
                                before 11/2 settlement conference and call with
                                Sarff re same (.5); conference call RB/KHB re
                                supervisory liability claim and potential amendment,
                                review scheduling order re same and strategize re
                                amendment (.5).
09/28/21    A. Koob             Receive and begin to download/brief review of            3.90         $897.00
                                recent document production [.6]; telephone call with
                                RB regarding documents for deposition prep and
                                print/prepare binders with same for RB, KHB and
                                MEB [1.1]; continue to work on comparing Bauer
                                employment documents produced in Stevenson vs.
                                Marks productions [1.8]; save additional document
                                prep materials in depo prep folder on T Drive [.4].
09/28/21    P. McCaffrey        Continued - Assistance with video work.                  0.70         $206.50

09/29/21    R. Bennett          Review 2nd amended complaint reline, emails and          5.70       $4,873.50
                                stip and telephone conference with Marc Betinsky
                                re same x2 [1.0]; emails to Sieff [.4]; review of
                                9/22/2021 Doe production [2.8]; telephone
                                conference with Marc Betinsky re transcript of
                                Bauer 40 MMM usage/OPCR21-01629 [1.5].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 67 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            65

Date        Timekeeper          Description                                            Hours              Fees

09/29/21    A. Noel             Review and offer comments on the amended                1.00         $730.00
                                complaint.
09/29/21    K. Bennett          Continue drafting McCann Depo outline [1.2]Draft        4.40       $3,014.00
                                exhibits for van and line up [.6]Strategize with
                                regard to video use to establish locations at
                                McCann's deposition [.8]Review MEB finds re:
                                Bauer (IA, interviews) [1.8].
09/29/21    M. Betinsky         Numerous conferences with RB/KHB re                     7.00       $3,710.00
                                depositions, planning and strategy, emails re same,
                                T/Cs with Jane Doby/Jayme Hogan re same (1.2);
                                continue review of newly produced documents from
                                defendants (5.0); review amended complaint and
                                prepare redlined second amended complaint, email
                                same to CRG and Sarff (.8).
09/29/21    A. Koob             Continue to work on downloading production,             1.20         $276.00
                                including telephone call with BITS regarding same,
                                emails to/from MEB.
09/30/21    R. Bennett          Re-notice depo and telephone conference with Marc       2.50       $2,137.50
                                Betinsky re discovery [.7]; review Katie Bennett
                                depo outline: Swat 1280 van layout and weapon
                                assignments 5/31/20; lineup at go time exh.; Swat
                                1280 van weapon layout 5/31/20; review Sarff
                                response and stip [1.8].
09/30/21    K. Bennett          Review of hot documents from 6.7 production             2.70       $1,849.50
                                [1.2]Strategize re: depos and supervisory liability
                                [1.5].
09/30/21    M. Betinsky         Complete review and indexing of latest city             8.00       $4,240.00
                                document production (6.0); draft stipulation re
                                amended complaint, emails with Sarff re same, draft
                                proposed order re same (.7); emails/calls with
                                RB/KHB re deposition strategy and planning,
                                emails re revised deposition notice, emails re
                                deposition logistics (1.3).
09/30/21    A. Koob             Email to MEB regarding missing Bauer materials          0.30          $69.00
                                (from Marks production) and additional review of
                                same for other missing pages.
10/01/21    R. Bennett          Attend zoom meeting with Marc Betinsky and Katie        4.50       $3,847.50
                                Bennett re: Second Amended Complaint [1.0];
                                telephone conference with Marc Betinsky re filing
                                of 2nd amended complaint [.5]; further document
                                and exhibit review [3.0].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 68 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             66

Date        Timekeeper          Description                                             Hours              Fees

10/01/21    K. Bennett          Continue review of 6.7 production hot documents          9.70       $6,644.50
                                [2.4]Zoom meeting re: depo prep and
                                strategy/recent document production with MEB and
                                RB [1.1]Beging in-depth review of McCann BWC
                                re: supervisory claims [3.7]Continue
                                drafting/editing McCann depo outline re: command
                                staff/supervisory claims [2.5].
10/01/21    M. Betinsky         Calls with RB re depositions and strategy (.5),          5.00       $2,650.00
                                ZOOM with RB/KHB re bodycam videos and use in
                                depositions (1.1), deposition logistics, use of
                                documents, etc, continued review and analysis of
                                documents for deposition of McCann on 10/18
                                (2.4); attention to finalizing redlines of amended
                                complaint, stip for amended complaint, proposed
                                order and filing same (1.0).
10/01/21    A. Koob             Telephone call with MJO and emails regarding             0.80         $184.00
                                redaction of Amended Complaints for filing, receive
                                and review documents, redact information from
                                Amended Complaints, emails to/from MEB
                                regarding Amended Complaints, update to
                                Amended Complaints, finalize and email Amended
                                Complaints to MEB and MJO.
10/04/21    R. Bennett          Conference with Katie Bennett [.3]; telephone            3.00       $2,565.00
                                conference with client [1.2]; telephone conference
                                with Andy Noel re call [.4]; telephone conference
                                with Katie Bennett re call and action plan [.5];
                                analyze RK billing data [.6].
10/04/21    A. Noel             conference with RB re: call with client [.4]             0.40         $292.00

10/04/21    K. Bennett          Continue review of McCann's BWC video re:                8.00       $5,480.00
                                supervisory claims/draft outline re: same [6.8]Send
                                Part I McCann outline to team [.2]Emails with
                                Molly and Paul to set up rooms/practice runs for this
                                week [.2]; Conference with RB re: action plan [.8]
10/04/21    M. Betinsky         Emails with KHB, review outline of phase 1 of            0.30         $159.00
                                McCann questions.
10/05/21    R. Bennett          Telephone conference with Marc Betinsky re               6.10       $5,215.50
                                launcher/ordinance characteristics, etc. [.5]; review
                                his further response [.5]; telephone conference with
                                Marc Betinsky/Katie Bennett re mode of deposition
                                attack - usages of these outlines [.9]; review
                                document production 5 - all outlines [4.2].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 69 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:            March 31, 2022
                                                                       File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:            67

Date        Timekeeper          Description                                           Hours              Fees

10/05/21    K. Bennett          Review McCann's BWC for use of force/shots and         8.60       $5,891.00
                                draft outline re: same and send to team [4.6]Conf
                                call with MEB/RB re: depo prep/delegation of
                                duties and plan at depo re: BWC [.8]Emails with
                                Jayme Hogan re: video depo [.2]Review MEB's
                                emails re: launcher and site; call re: same and
                                respond with Jensen video times to watch
                                [.5]Continue drafting use of force/elimination of
                                others outline and review BWC [1.7]Review emails
                                from MEB re: possible other videos capturing 40
                                mm launchers firing and reply [.3]Review articles
                                on MPD excessive force post GF murder [.5].
10/05/21    M. Betinsky         Research re LMT launcher and 40mm rounds used,         6.70       $3,551.00
                                emails RB/KHB re same (.8), T/C with RB re
                                deposition strategy, conference call with RB/KHB
                                re same (.9), review outlines of identification
                                questions and substantive info for McCann depo,
                                review documents for same, review video for same,
                                strategize for deposition (5)
10/06/21    R. Bennett          Dept prep for Ryan McCann with Marc Betinsky           5.00       $4,275.00
                                and Katie Bennett [4.0]; conference with Jayme
                                Hogan - McCaffrey/Ricardo/Travis [1.0].
10/06/21    K. Bennett          Prep for civil rights team meeting/depo prep.          8.20       $5,617.00

10/06/21    E. Mignanelli       Develop strategy and preparation for McCann            0.90         $522.00
                                deposition.
10/06/21    M. Betinsky         Meeting with RB/KHB for video review for use in        7.50       $3,975.00
                                depositions, strategy and planning for depositions,
                                outline preparation and document review for same,
                                work on compiling list of hot docs and collating
                                same for use in depos, team meeting with
                                multimedia group re camera set up and screens for
                                bodycam viewing.
10/06/21    P. McCaffrey        Asssistance with depo setup.                           0.70         $206.50

10/06/21    R. Ehramjian        Depo and tech run through in the Conference            0.70         $196.00
                                Center.
10/06/21    T. Wilhelmi         Depo prep, room and tech setup/ run through in the     0.70         $196.00
                                Conference Center.
10/07/21    R. Bennett          Conference with Katie Bennett [.5]; telephone          3.00       $2,565.00
                                conference with client [.4]; depo prep [2.1].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 70 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:            March 31, 2022
                                                                          File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:            68

Date        Timekeeper          Description                                              Hours              Fees

10/07/21    K. Bennett          Cont review of 6.7 production and drafting                4.70       $3,219.50
                                questions re: materials/hot docs/McCann depo prep
                                questions [4.2] conf with RB re same [.5]
10/07/21    M. Betinsky         Continue preparing list of hot docs for McCann            6.30       $3,339.00
                                deposition, bodycam and document review for
                                same, deposition, strategy, and logistics (6.0); email
                                Sarff re missing McCann docs from prior IA/deadly
                                force case (.3);
10/08/21    R. Bennett          Review document production in prep for deposition         2.80       $2,394.00
                                and settlement conference.
10/08/21    K. Bennett          Finalize review of 6.7 production and drafting            6.80       $4,658.00
                                questions re: materials/hot docs/McCann depo prep
                                questions.
10/08/21    M. Betinsky         Complete review and indexing of hot docs for              4.80       $2,544.00
                                McCann deposition, emails RB/KHB re same (4.4);
                                attention to logistics for deposition and emails
                                multimedia team/KHB re same (.4).
10/11/21    R. Bennett          Telephone conference with Marc and further review         4.40       $3,762.00
                                of docs in prep for depo [2.0]; telephone conference
                                with Katie Bennett re depo plan [.3]; review
                                Severance and McCann statements [1.0]; telephone
                                conference with Marc re letter to TNL [.5]; review
                                next draft of letter [.6].
10/11/21    K. Bennett          Review notes on 6.7.20 review of hot docs and             1.60       $1,096.00
                                create outline for McCann; send to team [1.6].
10/11/21    K. Bennett          call with RB re depo plan/strategy [.3]                   0.30         $205.50

10/11/21    M. Betinsky         Draft, revise, and edit status update letter to Judge     7.80       $4,134.00
                                TNL (5.5); T/C with RB re strategy and exhibits for
                                McCann deposition (.5), work on exhibits, work on
                                deposition prep (1.8).
10/12/21    R. Bennett          Review and approve letter to TNL [.4]; telephone          4.90       $4,189.50
                                conference with Katie Bennett and Marc Betinsky re
                                docs, exhibits and depos [2.0]; review doc
                                production [1.2]; review exhibit list [.5]; updated
                                outline [.5]; telephone conference with Katie
                                Bennett [.3].
10/12/21    A. Noel             Review status letter to TNL.                              1.30         $949.00
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 71 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:             March 31, 2022
                                                                         File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:             69

Date        Timekeeper          Description                                              Hours              Fees

10/12/21    K. Bennett          Zoom conf with MEB/RB re: depo strategy and              10.00       $6,850.00
                                questions/exhibit discussion and discussion of next
                                steps and staffing needs heading into Monday's
                                deposition [2.0]Create exhibit list and
                                circulate/email ATK re: plan [1.7]Review 3A and
                                04 production [1.0]Continue review of recent
                                9.22.21 production and strategize re: upcoming
                                depositions [3.6]Draft outline for McCann with
                                citations to 9.22.21 production and circulate [1.4];
                                conf with RB re: same [.3]
10/12/21    M. Betinsky         Zoom with RB/KHB re McCann deposition                     6.60       $3,498.00
                                exhibits, strategy and logistics (2.0); email Sarff re
                                COVID issues and attestation (.2); legal research on
                                deadly force with less-lethal weapons (2.0); finalize
                                update letter to Judge TNL and attachment and send
                                same (.5); emails re exhibits for depositions (.4);
                                work on deposition outline review to add
                                questions/topics for McCann deposition (1.5).
10/12/21    A. Koob             Receive and review HCMC records and review of             3.80         $874.00
                                most-recent records requested and medical
                                summary, email to KHB/RB regarding requesting
                                updated records [.4]; request/submit updated records
                                requests for HCMC, M Health and Brave Choices,
                                update index, file organization and review [.8];
                                telephone call with RB regarding McCann
                                deposition exhibits [.1]; multiple emails from KHB
                                regarding McCann deposition exhibits and emails
                                from MEB regarding same [.3]; work on
                                saving/organizing deposition exhibits for printing in
                                advance of McCann deposition, emails to KHB and
                                MEB regarding same [2.2].
10/13/21    R. Bennett          Review exhibits and outline and depo prep.                3.80       $3,249.00

10/13/21    K. Bennett          Review and edit McCann depo outline part I,               8.00       $5,480.00
                                SWAT van identification outline and SWAT
                                weapon outline [4.6]Create Van Packet Exhibit and
                                Weapon Packet Exhibit [1.8]Review MEB edits to
                                McCann Depo outline part I and add in citations to
                                McCann BWC video/finalize [1.6].
10/13/21    M. Betinsky         Review and edit outlines of McCann deposition,            8.00       $4,240.00
                                emails RB/KHB re same, numerous emails with
                                RB/KHB re strategy for McCann deposition and
                                logistics.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 72 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             70

Date        Timekeeper          Description                                             Hours              Fees

10/13/21    A. Koob             Prepare email with instructions/depo exhibits to be      0.20          $46.00
                                printed in advance of McCann deposition and send
                                to Office Services.
10/14/21    R. Bennett          Prep for depos - review and circulate outlines -         4.20       $3,591.00
                                exhibits; calls/strategy re: same
10/14/21    K. Bennett          Review MEB edits and finalize KHB edits to              10.50       $7,192.50
                                McCann depo outline part I [4.2]Review MEB edits
                                and finalize KHB edits to McCann depo outline part
                                II [3.4]Review BWC to send clips needed re:
                                graham factors to Paul and email [1.1]Review
                                Layout at shooting exhibit, edit and circulate
                                [.8]Discussions with MEB re: Jensen and Kelly
                                depositions; review emails re: 10.14 production
                                [.3]Email ATK re: additional exhibits
                                [.3]Discussions with RB and MEB re: prep meeting
                                tomorrow [.4].
10/14/21    M. Betinsky         Emails Sarff re latest batch of City documents and       8.70       $4,611.00
                                begin review and indexing of new documents from
                                City (2.6); numerous emails/calls with RB/KHB re
                                deposition planning, logistics, and strategy, work on
                                additions/edits to deposition outlines for McCann
                                (1.0); attention to filing second amended complaint
                                under seal and redacted second amended complaint
                                and T/C with A. Koob re same (.5); review Seely
                                and Kelly prior deposition testimony, T/Cs and
                                emails with RB/KHB re same and use at McCann
                                (or other) depositions, prepare bullet points of key
                                testimony and admissions (4.0); emails re Exhibits
                                for McCann deposition, shortened bodycam clip and
                                review same (.5); email Sarff re attendees at
                                McCann depo (.1).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 73 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                            Date:            March 31, 2022
                                                                            File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                           Page:            71

Date        Timekeeper          Description                                                Hours              Fees

10/14/21    A. Koob             Telephone call with MEB regarding filing of                 9.40       $2,162.00
                                Second Amended Complaint under seal and
                                redacted version of Second Amended Complaint,
                                revisions to same and finalize [.8]; file Second
                                Amended Complaint under seal and redacted
                                versions [.6]; work on review of McCann deposition
                                exhibits, various emails with KHB and MEB,
                                including additional deposition exhibits for printing,
                                additional information, including BWC and audio
                                for flash drives, create flash drives with BWC and
                                audio for McCann deposition, organize and print
                                additional exhibits for McCann deposition, review
                                of exhibits printed by Office Services, review of all
                                exhibits for McCann deposition, prepare index of
                                exhibits for KHB info, deliver exhibits to KHB [8].
10/14/21    P. McCaffrey        Asssistance with depo setup.                                2.00         $590.00

10/15/21    R. Bennett          Depo prep with Katie Bennett, Andy Noel and Marc            6.00       $5,130.00
                                Betinsky with outlines and exhibits.
10/15/21    A. Noel             Team meeting re depo prep.                                  2.00       $1,460.00

10/15/21    K. Bennett          Prep for McCann deposition - exhibits and finalize          9.60       $6,576.00
                                outlines [2.3]Prep with RB and MEB re:
                                video/outline and strategy [7.3].
10/15/21    M. Betinsky         Continue review and indexing newly received                 9.50       $5,035.00
                                documents form City (3.5); meet with RB/KHB re
                                McCann deposition, strategize for same, review and
                                test bodycam videos, work on exhibits for
                                deposition and prepare exhibit list, revisions to
                                outlines for deposition (6.0).
10/15/21    A. Koob             Email to KHB and MEB regarding McCann                       0.10          $23.00
                                deposition exhibits.
10/15/21    P. McCaffrey        Asssistance with depo setup.                                1.00         $295.00

10/16/21    K. Bennett          Edit outlines and finalize; send to team.                   3.50       $2,397.50

10/17/21    E. Mignanelli       Prepare for deposition of R. McCann by reviewing            1.20         $696.00
                                and analyzing outlines and exhibits referenced in
                                same.
10/17/21    M. Betinsky         Review finalized outlines for McCann and email              4.00       $2,120.00
                                RB/KHB re same, review finalized index list.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 74 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:            March 31, 2022
                                                                       File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:            72

Date        Timekeeper          Description                                           Hours              Fees

10/18/21    R. Bennett          Prep for and attend deposition of Ryan McCann,        12.00      $10,260.00
                                including meeting with clients and CRT during and
                                after deposition.
10/18/21    K. Bennett          Prep for McCann depo (finalize exhibits, outlines,    11.60       $7,946.00
                                lists and gather all items required for depo)
                                [2.5]Attend deposition of McCann [9.1].
10/18/21    G. Wiessner         Researched law on deadly force and wrote               8.00       $3,880.00
                                memorandum summarizing the findings.
10/18/21    E. Mignanelli       Attend deposition of R. McCann.                       10.60       No Charge

10/18/21    M. Betinsky         Final prep for and attend McCann deposition;          12.00       $6,360.00
                                debrief afterwards.
10/18/21    A. Koob             Emails with MEB regarding McCann deposition and        0.10          $23.00
                                client.
10/19/21    R. Bennett          Post depo conference with Katie Bennett and Marc       0.70         $598.50
                                Betinsky [.4]; conference with Katie Bennett and
                                Marc Betinsky re letter to TNL [.3].
10/19/21    K. Bennett          Call with RB/MEB re: letter to TNL[.3]; post depo      0.70         $479.50
                                conference with RB/MEB [.4]
10/19/21    M. Betinsky         Continue review and indexing of latest batch of        3.20       $1,696.00
                                documents from City.
10/19/21    M. Betinsky         Calls with RB and KHB re: letter to TNL[.3]; post      0.70         $371.00
                                depo conference with team [.4]
10/20/21    R. Bennett          Go over TNL letter outline in detail with Katie        1.60       $1,368.00
                                Bennett [.8]; discuss BWC differences and event
                                anchor with Katie Bennett and Marc Betinsky [.8].
10/20/21    K. Bennett          Review updated medical [1.4]Review status letter      10.60       $7,261.00
                                [.4]Review mediation submissions [.9]Review order
                                for settlement conference [.2]Begin drafting
                                confidential settlement submission [4.8]Review
                                BWC for time differences [2.4]Discussion w
                                MEB/RB re: BWC time differences and plan for
                                settlement conference [.3]Review article re: recent
                                settlement [.2].
10/20/21    M. Betinsky         Continue review and indexing latest batch of           2.80       $1,484.00
                                documents from City (2.2); conference call with
                                RB/KHB re strategy, bodycam sync issues, and pre-
                                settlement conference submissions (.6).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 75 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             73

Date        Timekeeper          Description                                             Hours              Fees

10/21/21    R. Bennett          Review of BWC events/time comparison [.6];               3.30       $2,821.50
                                review email and discuss with team [.8]; site visit
                                with B. Cade and Katie Bennett [1.5]; conference
                                with Katie Bennett [.4].
10/21/21    A. Noel             Review in detail Katie Bennett memo re further           1.70       $1,241.00
                                shooter ID and associated BWC.
10/21/21    K. Bennett          Additional scene visit with RB/Cade [1.5];               1.90       $1,301.50
                                conference with RB re same [.4]
10/21/21    K. Bennett          BWC review for time analysis [5.3]Draft memo re:        10.40       $7,124.00
                                same [1.9]Circulate memo to team [.2]Begin
                                drafting letter to Mag. TNL [2.6]; conference with
                                RB re: BWC time analysis [.4]
10/21/21    E. Mignanelli       Review of pertinent BWC footage from McCann's            0.50         $290.00
                                deposition testimony in preparation for continued
                                discovery and anticipated conferences.
10/21/21    M. Betinsky         Continue review and indexing of latest batch of          7.50       $3,975.00
                                documents from City (6.0); comparison of
                                differences between time stamps, strategize re use of
                                same for settlement-conference submission, review
                                KHB memo re same, emails re same (1.5).
10/21/21    A. Koob             Review of subrogation information received to date,      3.70         $851.00
                                telephone call to Hennepin Health requesting
                                updated subrogation information and email to
                                Hennepin Health regarding same, telephone call
                                (left voice mail) and email to MN DHS regarding
                                updated subrogation information [.5]; receive and
                                review HCMC billing records, review of previous
                                bills received and update billing index [.5]; receive
                                and review updated itemization from Hennepin
                                Health and compare to bills received to date, submit
                                requests for records from Midwest Eye
                                Laboratories, Anesthesia and M Health as found in
                                Hennepin Health itemization, updates to request
                                index and billing index and email to K. Lyons
                                regarding request for bills from M Health [2.3];
                                telephone call to M Health billing to check status of
                                outstanding 5.31.20 bills, 10.07.20 surgery and
                                1.20.21 canceled surgery charge [.2];
                                summary/update to KHB and RB regarding
                                subrogation information/billing to date [.2].
10/21/21    B. Cade             Case investigation; scene inspection; photos;            4.00         $880.00
                                measurements.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 76 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            74

Date        Timekeeper          Description                                            Hours              Fees

10/22/21    R. Bennett          Telephone conference with Marc Betinsky re letter       4.30       $3,676.50
                                thoughts and demand [.5]; telephone conference
                                with Andy noel re his settlement email and letter
                                strategy [.4]; telephone conference with Katie
                                Bennett re same plus thoughts on recent draft letter
                                to TNL and review same [.7]; review and comment
                                on letter [.7]; telephone conference with Esther re
                                her take on Sarff and demand thoughts [.4]; work on
                                final draft of demand letter [.5]; telephone
                                conference with Soren Stevenson [.7]; email to Sarff
                                [.4].
10/22/21    A. Noel             Telephone conference with RB [.4] and review            1.10         $803.00
                                memos re video issues/needs [.7]
10/22/21    K. Bennett          Finalize draft letter to TNL and send to RB for         5.70       $3,904.50
                                review [5.4]; telephone conference with RB re:
                                letter [.3]
10/22/21    G. Wiessner         Followed up with additional research on deadly          1.80         $873.00
                                force issues related to less-lethal weapons.
10/22/21    M. Betinsky         Continue reviewing and indexing latest document         5.50       $2,915.00
                                dump from City (3.3); multiple T/Cs with RB re
                                demand letter to Sarff (.5), review and edit same,
                                emails re same (.9); strategize with KHB re
                                mediation submission and information for same (.3);
                                emails RB/Sarff re missing documents from
                                McCann depo (.2); review site visit photos (.3).
10/22/21    B. Cade             Case investigation; download photos.                    0.50         $110.00

10/23/21    R. Bennett          Revise letter to TNL [1.0]; telephone conference        1.90       $1,624.50
                                with Marc Betinsky [.5]; telephone conference with
                                Marc Betinsky [.4].
10/23/21    M. Betinsky         Multiple T/Cs with RB re 11/2 settlement                3.50       $1,855.00
                                conference submission (.9), review same, edit same,
                                implement RB changes to same, emails with
                                RB/KHB re thoughts about means to shorten letter,
                                work on accomplishing same (2.6)
10/24/21    R. Bennett          Review, analyze and consider changes and additions      1.50       $1,282.50
                                to Marc Betinsky's edited redline to TNL [1.1];
                                review emails to Marc Betinsky and Katie Bennett
                                [.4].
10/24/21    M. Betinsky         Prepare redline to settlement letter to Judge TNL,      3.80       $2,014.00
                                review, revise and implement changes to letter,
                                email RB/KHB re same.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 77 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:              March 31, 2022
                                                                        File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:              75

Date        Timekeeper          Description                                              Hours              Fees

10/25/21    R. Bennett          Telephone conference with Andy Noel re letter and         4.20       $3,591.00
                                demand [.5]; revise draft [.6]; zoom meeting with
                                Katie Bennett and Marc Betinsky [1.0]; deal with
                                meet and confer report [.5]; prep for and attend meet
                                and confer scheduled by K. Sarff [1.0]; review and
                                approve final letter to TNL [.6].
10/25/21    A. Noel             conference with RB re: demand/letter [.5]                 0.50         $365.00

10/25/21    K. Bennett          Edit settlement submission to Judge TNL and email         6.10       $4,178.50
                                to RB [2.3]Zoom re: letter with RB/MEB/Esther and
                                edit letter [1.0]Discuss plan at settlement conference
                                [.3]Review emails from Sarff re: meet and confer,
                                prep for and attend meet and confer [.7]Debrief re:
                                meet and confer and what should be added to ltr
                                [.3]Begin review of McCann deposition [1.5].
10/25/21    M. Betinsky         Zoom with RB/KHB/Esther M. re settlement letter           3.90       $2,067.00
                                to Judge TNL and next steps, further revisions to
                                letter (1.0), final hard read of letter and edits to
                                same, T/Cs with RB and oversee sending same to
                                Judge TNL (2.2); emails from Sarff re McCann
                                written discovery (.3) and emails with RB re same
                                (.4).
10/25/21    A. Koob             Review email from KHB regarding Sorenson                  0.50         $115.00
                                records/bills, review related file materials and
                                prepare and email response to KHB regarding same.
10/26/21    R. Bennett          Office conference with Marc Betinsky and Katie            1.00         $855.00
                                Bennett re settlement strategy, depos after
                                settlement fails, next steps.
10/26/21    K. Bennett          Finish review of McCann deposition                        3.80       $2,603.00
                                [2.5]Discussion re: Sarff emails/depo plan with RB
                                [.5]Discussion re: Sarff emails/depo plan with
                                MEB/RB [.5]Discussion re: depo plan and stip with
                                MEB [.3].
10/26/21    M. Betinsky         Planning and strategy session with RB/KHB re              1.80         $954.00
                                settlement conference and additional depositions,
                                emails re same with Sarff/KHB (1.0); continue
                                review and indexing latest documents from City
                                (.8).
10/27/21    R. Bennett          Work on mediation thoughts.                               0.70         $598.50

10/27/21    M. Betinsky         Continue review of and indexing latest batch of           2.00       $1,060.00
                                documents from City.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 78 of 103

                                               ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:             March 31, 2022
                                                                          File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:             76

Date        Timekeeper          Description                                               Hours              Fees

10/28/21    R. Bennett          File review.                                               0.60         $513.00

10/28/21    M. Betinsky         Continue indexing latest batch of documents from           1.30         $689.00
                                City.
10/29/21    M. Betinsky         Emails Sarff and messages CRG re deposition                0.70         $371.00
                                scheduling (.2); continue review and indexing of last
                                batch of city documents (.5).
11/01/21    R. Bennett          Prep for mediation [1.4]; telephone conference with        2.90       $2,479.50
                                client [.3]; telephone conference with Katie Bennett
                                [.3]; telephone conference with Marc Betinsky [.3];
                                review Samantha Wright action [.6].
11/01/21    K. Bennett          Review emails from Sarff and discuss with RB.              0.40         $274.00

11/01/21    M. Betinsky         Research re other pending less-lethal cases and            2.50       $1,325.00
                                related civil-rights matters, strategize for settlement
                                conference and case moving forward if matter does
                                not settle (2.0), emails with CRG re same (.5)
11/02/21    R. Bennett          Prep for and attend settlement conference.                12.00      $10,260.00

11/02/21    K. Bennett          Prep for and attend settlement conference.                 9.80       $6,713.00

11/02/21    M. Betinsky         Prep for and attend settlement conference with RB,        10.80       $5,724.00
                                KHB, and client.
11/02/21    A. Koob             Review email from KHB regarding prosthesis                 0.30          $69.00
                                invoice, review records and email response with
                                invoice and update [.2]; telephone call with KHB
                                regarding lien amounts [.1].
11/03/21    R. Bennett          Conference with E. Magnanelli, Katie Bennett and           1.70       $1,453.50
                                Marc Betinsky post mediation information
                                requested by TNL [.7]; telephone conference with
                                Ronn Kreps [.5]; conference with Katie Bennett re
                                proof to TNL [.5].
11/03/21    K. Bennett          Debrief with Esther/RB/MEB re: settlement                  2.40       $1,644.00
                                conference/next steps [.7]Begin research on
                                MGDPA requested by TNL and discuss/emails with
                                MEB re: same [1.2]; conf with RB re: letter to TNL
                                [.5]
11/03/21    E. Mignanelli       Develop strategy with K. Bennett, R. Bennett, and          0.70         $406.00
                                M. Betinsky re moving case toward resolution and
                                action items if settlement is not approved.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 79 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             77

Date        Timekeeper          Description                                             Hours              Fees

11/03/21    M. Betinsky         Zoom RB/KHB/ESM re status post-settlement                4.20       $2,226.00
                                conference and strategy for next steps (.7); research
                                data practices act issues re bodycams and police
                                reports for settlement discussion or potential motion
                                practice if case does not settle, T/C with KHB re
                                same, follow-up emails RB/KHB re same (2.3);
                                prep memo re other pending less-lethal actions and
                                related litigation (1.2).
11/04/21    R. Bennett          Work on final response to TNL's request                  0.70         $598.50

11/04/21    A. Noel             Review and input on Judge TNL letter.                    1.10         $803.00

11/04/21    K. Bennett          Research re: MGDPA and begin drafting letter to          5.30       $3,630.50
                                TNL; send to team for review [3.9]Review MEB
                                redline [.5] and discussion with RB/MEB re: same
                                [.9]
11/04/21    M. Betinsky         Review, revise and edit submission to Judge TNL re       4.50       $2,385.00
                                MGDPA issues for potential settlement (2.0), meet
                                with RB and KHB re same (.9), format and send to
                                Judge TNL (.1); complete memo re other pending
                                less-lethal cases and related civil-rights matters
                                (1.5).
11/08/21    R. Bennett          Review materials sent to TNL [.4]; telephone             2.20       $1,881.00
                                conference with Marc Betinsky and Katie Bennett
                                [.3][; telephone conference with Holly McClelland
                                [.3]; telephone conference with Soren x2 [.3];
                                telephone conference with TNL [.4]; telephone
                                conference with Katie Bennett [.3]; telephone
                                conference with Marc Betinsky [.2].
11/08/21    K. Bennett          Discuss plan/next steps with MEB/RB [.2]Discuss          0.50         $342.50
                                call with TNL with RB [.3].
11/08/21    M. Betinsky         Conference call RB/KHB re next steps and strategy,       1.00         $530.00
                                follow-up call with RB re information from Judge
                                TNL re status of settlement discussions.
11/11/21    M. Betinsky         T/C with RB re settlement status and strategy/next       0.30         $159.00
                                steps if the matter does not resolve.
11/12/21    E. Mignanelli       Conversations re getting appearance entered in light     0.20       No Charge
                                of local rule precluding pro hac admission for
                                "residents" of Minnesota.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 80 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                      Date:             March 31, 2022
                                                                      File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                     Page:             78

Date        Timekeeper          Description                                           Hours              Fees

11/16/21    R. Bennett          Correspondence to file [.3]; telephone conference      2.50       $2,137.50
                                with TNL clerk [.3]; review pleadings [.6];
                                telephone conference with client [.5]; telephone
                                conference with Katie Bennett and Marc Betinsky
                                x2 [.8].
11/16/21    A. Noel             Review and analyze Katie Bennett memos re video        1.50       $1,095.00
                                and communications with team.
11/16/21    M. Betinsky         Numerous telephone calls and emails with RB/KHB        1.50         $795.00
                                re potential settlement status, next steps, contact
                                with Judge TNL, and strategize next moves in the
                                event case does not settle.
11/18/21    R. Bennett          Emails to client and court.                            0.60         $513.00

11/18/21    A. Koob             Receive and begin review of records received, begin    0.70         $161.00
                                to work on summary of same for Midwest Eye Lab,
                                M Health bills and Brave Choices.
11/19/21    R. Bennett          Conference with Katie Bennett, Marc Betinsky and       2.20       $1,881.00
                                Esther Mignanelli re motion [.9]; monitor city
                                council meeting [.8]; telephone conference with
                                client [.5].
11/19/21    K. Bennett          Review city council meeting agenda/watch meeting       1.80       $1,233.00
                                [.5]Meeting with team re: motion
                                practice/confidentiality issues and next steps
                                [.9]Review RB correspondence with TNL and
                                discuss [.4].
11/19/21    M. Betinsky         T/Cs and emails RB/KHB re settlement update from       0.80         $424.00
                                Judge TNL and city council meeting (.5); review
                                memo and email re latest medicals (.3).
11/19/21    A. Koob             Finalize review and summary/update of Brave            2.10         $483.00
                                Choices records, Midwest Eye Lab records, update
                                billing and request indexes and email updates to
                                KHB, RB, AJN and MEB.
11/23/21    R. Bennett          Telephone conference with client.                      0.60         $513.00

11/23/21    K. Bennett          conference with RB/MEB re discovery issues and         1.00         $685.00
                                plan [1.0]
11/23/21    K. Bennett          Begin review of production indexes/depo exhibit        1.70       $1,164.50
                                lists for memo on improper designation [.7];
                                strategize with RB/MEB re: outstanding discovery
                                [1.0]
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 81 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:              March 31, 2022
                                                                         File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:              79

Date        Timekeeper          Description                                               Hours              Fees

11/23/21    M. Betinsky         Strategize with RB/KHB re next steps and                   1.00         $530.00
                                outstanding discovery issues.
11/24/21    R. Bennett          Conference with Marc Betinsky and Katie Bennett            1.00         $855.00
                                re action plan [.6]; telephone conference with Ronn
                                Krepps [.4].
11/24/21    K. Bennett          Finalize review/memo re: improper designations             2.80       $1,918.00
                                and send to team [1.5]Emails and discussions with
                                team re: plan/motion/ideas for arguments
                                [.9]Review updated medical records summaries [.4].
11/24/21    M. Betinsky         Emails re strategy for potential motion re                 0.40         $212.00
                                overdesignation of confidential materials and review
                                list of improperly designated document categories.
11/29/21    E. Mignanelli       Begin drafting motion to enforce compliance with           5.10       $2,958.00
                                protective order in light of over-designation of
                                discovery as confidential (1.1); draft letter to
                                opposing counsel re over-designation of material as
                                confidential (4).
11/29/21    M. Betinsky         Emails with E. Mignanelli re letter to Sarff               0.40         $212.00
                                regarding improper document designations, review
                                draft letter.
11/30/21    R. Bennett          Review Esther's draft letter.                              0.50         $427.50

11/30/21    E. Mignanelli       Continue drafting motion to enforce compliance             2.70       $1,566.00
                                with protective order in light of over-designation of
                                discovery as confidential.
11/30/21    M. Betinsky         Emails and T/C with E. Mignanelli re challenge to          0.40         $212.00
                                document designations, letter to Sarff re same.
12/01/21    E. Mignanelli       Finish initial draft brief in support of motion seeking    9.70       $5,626.00
                                to fix defendants' improper confidentiality
                                designations.
12/02/21    R. Bennett          Telephone conference with client.                          0.50         $427.50

12/02/21    R. Bennett          email and respond to Sarff [.3]; conf with K.              0.80         $684.00
                                Bennett and Marc Betinsky to finalize letter [.5]
12/02/21    M. Betinsky         Review E. Mignanelli letter and brief re changes to        2.20       $1,166.00
                                confidentiality designations.
12/03/21    K. Bennett          Call with Esther re: letter to Sarff [.6]Calls with        1.80       $1,233.00
                                Marc re: letter to Sarff on discovery deficiencies
                                [.8]Calls with RB re: deficiency letter [.4].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 82 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            80

Date        Timekeeper          Description                                            Hours              Fees

12/03/21    E. Mignanelli       Correspondence with M. Betinsky, R. Bennett, and        1.70         $986.00
                                K. Bennett re changes to be made to draft
                                correspondence to opposing counsel re various
                                outstanding discovery issues, and begin revising
                                letter to opposing counsel in light of same.
12/03/21    M. Betinsky         T/C with KHB re draft letter to Sarff re outstanding    4.50       $2,385.00
                                discovery issues, follow-up T/Cs with RB, E.
                                Mignanelli re same (1.0), legal research re
                                appropriate answers and certification of
                                interrogatory responses by counsel for party, revise
                                and edit letter to Sarff (3.3); emails re deposition
                                scheduling (.2).
12/06/21    R. Bennett          Work on discovery scheduling with K Bennett and         1.70       $1,453.50
                                M Betinsky and depo outlines.
12/06/21    K. Bennett          Review emails re: depositions and discuss with RB       7.00       $4,795.00
                                [.4]Begin prepping for Severance deposition
                                (reviewing discovery hot docs and drafting
                                deposition outline) [4.4]Continue drafting outline
                                and circulate to team for review [2.2].
12/06/21    E. Mignanelli       Finish initial draft communications to defense          5.30       $3,074.00
                                counsel re improper confidentiality designations,
                                gaps in document production and in defendants'
                                answers to interrogatories (4.3); review and analyze
                                defendants' previous discovery responses in
                                preparation for same (1).
12/06/21    M. Betinsky         Brief review of Severance deposition outline (.4)       1.50         $795.00
                                and letter to Sarff re outstanding discovery issues
                                (.4); emails KHB/E. Mignanelli re same (.2); T/C
                                with RB/KHB re Severance deposition and
                                scheduling/logistics issues and attention to same
                                (.5).
12/06/21    B. Cade             Case investigation.                                     0.50         $110.00

12/07/21    R. Bennett          Telephone conference with Katie Bennett x4 re           4.70       $4,018.50
                                Sarff letter [1.2]; telephone conference with Marc
                                Betinsky re strategy with Sarff letter [.5]; review
                                and revise Severance depo outline [2.5]; conference
                                with Marc Betinsky and Katie Bennett to finalize
                                letter [.5].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 83 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            81

Date        Timekeeper          Description                                            Hours              Fees

12/07/21    K. Bennett          Review updated draft letter to Sarff re:                8.40       $5,754.00
                                discovery/PO issues; review letter to TNL on
                                MGDPA [1.2]Discuss plan and ideas with RB
                                [.5]Discuss plan and ideas with MEB [.6]Begin
                                editing letter and circulate [2.2]Review RB
                                edits/discuss and circulate [.4]Depo prep for
                                Severance [.8]Review MEB edits; review RB edits
                                to depo outline and continue drafting [2.5]Review
                                emails re: scheduling of depos and discuss [.2].
12/07/21    E. Mignanelli       Review and analyze final correspondence sent to         0.30         $174.00
                                opposing counsel re discovery deficiencies.
12/07/21    M. Betinsky         Review and revise draft letter to Sarff re numerous     5.10       $2,703.00
                                discovery issues/prepare redline (2.0) T/Cs with
                                RB/KHB re same, emails re same (.6);
                                emails/messages re deposition scheduling (.2);
                                review, revise and edit Severance deposition outline
                                (1.5), T/C with RB re same and strategy, T/C with
                                KHB re same (.3), review RB edits and adds to
                                outline (.5).
12/08/21    K. Bennett          Continue editing Severance outline/depo prep and        5.10       $3,493.50
                                organizing exhibits [5.1].
12/08/21    M. Betinsky         Prep for Severance depo.                                0.50         $265.00

12/09/21    K. Bennett          Continue editing deposition outline for Severance       3.20       $2,192.00
                                and send to group [2.8]Finalize exhibits for
                                Severance deposition [.4].
12/09/21    M. Betinsky         Prep for Severance depo and attend to logistics for     1.20         $636.00
                                same, emails re same.
12/10/21    R. Bennett          Attend Severance depo in part and conference with       2.50       $2,137.50
                                Katie Bennett and Marc Betinsky.
12/10/21    K. Bennett          Prep for and attend depo of Defendant Severance.        8.50       $5,822.50

12/10/21    E. Mignanelli       Revise draft brief in support of motion seeking to      3.80       $2,204.00
                                fix defendants' improper confidentiality
                                designations, and communications with case team re
                                same.
12/10/21    M. Betinsky         Final prep for and attend Severance deposition,         6.50       $3,445.00
                                debrief afterwards with RB/KHB.
12/13/21    R. Bennett          Review draft of brief by Esther [.6]; telephone         1.00         $855.00
                                conference with Katie Bennett and Marc Betinsky re
                                Jack Ryan [.4].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 84 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:             March 31, 2022
                                                                         File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:             82

Date        Timekeeper          Description                                              Hours              Fees

12/13/21    K. Bennett          Discuss next steps and expert strategy with               0.60         $411.00
                                RB/MEB [.4]Email to Jack Ryan re: zoom meeting
                                request [.2].
12/13/21    M. Betinsky         conference call with RB/KHB re: Jack Ryan and             0.40         $212.00
                                expert issues [.4]
12/13/21    A. Koob             Update medical summary with most-recent records           4.20         $966.00
                                received, Midwest Eye Labs, Brave Choices [.9];
                                receive and review M Health Fairview updated
                                billing, review of bills received to date and organize
                                billing index, emails to K. Lyons regarding
                                outstanding records, multiple emails with K. Lyons
                                and D. Roisum regarding outstanding records,
                                update billing index to reflect bills received from M
                                Health Anesthesia providers that had been
                                outstanding, email to D. Roisum, receive and begin
                                review of updated M Health medical records and
                                begin to work on summary of same [3.3].
12/14/21    K. Bennett          Review reworked draft/MEB edits and comments,             2.10       $1,438.50
                                emails from team re: improper designation.
12/14/21    M. Betinsky         Review draft motion re confidentiality designation        1.70         $901.00
                                and edit same, emails RB/KHB re same (1.5);
                                emails re Jack Ryan consultation and meeting (.2).
12/14/21    A. Koob             Complete review of updated M Health records and           2.40         $552.00
                                summary of same, finalize summary [1.6]; add
                                updates from M Health records to medical summary
                                [.3]; receive and brief review of Hennepin County
                                Specialty Clinics updated records, compare bills
                                received to previously received bills from HCMC,
                                email to K. Lyons regarding missing bill for
                                10.07.21 appointment and update to request index
                                [.5].
12/16/21    A. Koob             Receive and review email from D. Roisum                   5.40       $1,242.00
                                regarding missing records and review billing index
                                and request index and respond to same [.3]; receive
                                and review missing 10.07 billing record and
                                additional billing for Watercott visit and update to
                                billing index [.3]; compare bills to records to make
                                sure all accounted for and emails to D. Roisum
                                regarding missing records [.1]; receive and review
                                HCMC Specialty Clinic records and prepare
                                summary of same and update to request index [4.7].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 85 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:              March 31, 2022
                                                                        File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:              83

Date        Timekeeper          Description                                              Hours              Fees

12/17/21    R. Bennett          Review revised brief re over designation; review          2.70       $2,308.50
                                and respond to Sarff email re depositions [.5];
                                telephone conference with client [.5]; details re
                                BITS held email and IME [.7].
12/17/21    K. Bennett          Review updated draft of memo re: confidentiality          2.00       $1,370.00
                                designations and emails re: same.
12/17/21    E. Mignanelli       Revise and edit brief in support of motion to change      2.80       $1,624.00
                                confidentiality designations in light of M. Betinsky's
                                review, and draft communications re same to R.
                                Bennett, K. Bennett, and M. Betinksy.
12/17/21    M. Betinsky         Emails re deposition scheduling and                       0.50         $265.00
                                IME/encryption issues (.3); review latest medicals
                                (.2).
12/17/21    A. Koob             Finalize summary of updated HCMC Specialty                0.80         $184.00
                                Clinic records and email to KHB, RB and MEB.
12/18/21    M. Betinsky         Review RB edits to brief re confidentiality               0.30         $159.00
                                designations and emails re same.
12/19/21    E. Mignanelli       Analyze R. Bennett's comments and suggestions for         0.60         $348.00
                                confidentiality brief.
12/19/21    M. Betinsky         Emails re motion concerning confidentiality and           0.20         $106.00
                                edits to same.
12/20/21    R. Bennett          Telephone conference with Jack Ryan and CRT [.8];         3.00       $2,565.00
                                conference with Esther/Katie Bennett/Marc
                                Betinsky re brief [1.0]; work on letter to TNL with
                                Katie Bennett [.7]; telephone conference with Marc
                                Betinsky re edits and filing [.5].
12/20/21    K. Bennett          Review updated memo and write notes re: edits             5.50       $3,767.50
                                [1.2]Call with Jack re: plan/deadlines/materials and
                                overview of developments in case [.7]Zoom
                                meeting with Esther/RB/MEB re: edits and plan for
                                redesignation memo [1.2]Review caselaw re: Bauer
                                depo/admission from Marks [.4]Review last status
                                letter and draft status ltr to TNL; review with
                                RB/MEB and review final submission [2.0].
12/20/21    E. Mignanelli       Conference with M. Betinsky, R. Bennett, and K.           8.60       $4,988.00
                                Bennett re direction of motion re improper and
                                voluminous confidentiality designations (1); and
                                continue revising brief in light of same (7.6).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 86 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:             March 31, 2022
                                                                       File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:             84

Date        Timekeeper          Description                                            Hours              Fees

12/20/21    M. Betinsky         Conference call with RB/KHB and Jack Ryan re            4.50       $2,385.00
                                expert report and opinion (.8); review RB edits to
                                latest draft motion re confidentiality designations
                                and conference with E. Mignanelli/RB/KHB re
                                changes to same and strategy (2.2); review RB letter
                                to Judge TNL re status update, revise and edit same,
                                finalize letter and send to Judge TNL (.8); emails
                                Sarff/RB re depositions and scheduling (.2); conf
                                with RB re: ltr/filing (.5)
12/20/21    A. Koob             Office conference with KHB regarding                    1.80         $414.00
                                supplementing records [.1]; begin to work on
                                supplemental document production including review
                                of documents previously produced, pulling new
                                documents, redaction, bates numbering and
                                confidential stamping [1.7].
12/21/21    R. Bennett          Review Sarff email re witnesses - depos [.3]; email     1.70       $1,453.50
                                client and Marc Betinsky - A.Koob re action plan
                                [.7]; review Esther's draft [.7].
12/21/21    K. Bennett          Review updated memo re: redesignation and               4.10       $2,808.50
                                unsealing of complaint/redline and circulate
                                [1.1]Review file/pull exhibits for Esther/email
                                Molly re: letters [.4]Review emails with Sarff re:
                                depositions scheduling [.4]Emails with Soren re:
                                deposition scheduling [.4]Call to Soren re: same/Liz
                                [.3]Review Liz memo/notes from ATK and call/text
                                Liz re: deposition [.5]Review updated memo/edit
                                [1.0].
12/21/21    E. Mignanelli       Communications with case team re motion to unseal       1.10         $638.00
                                complaint and re confidentiality designations (.1);
                                begin drafting declaration in support of
                                confidentiality motion and search for exhibits to
                                attach to same (1).
12/21/21    M. Betinsky         Review, revise, edit and redline memo in support of     4.00       $2,120.00
                                motion re confidentiality designations, emails with
                                RB/KHB/ESM re same (3.0); emails re deposition
                                scheduling, T/C with RB re same, emails client re
                                same, T/C with KHB re same (.6); review memos re
                                witness interviews (.4).
12/21/21    A. Koob             Continue to prepare and finalize documents for          3.20         $736.00
                                production [2.9]; upload materials for production,
                                prepare Certificate of Service and email service to
                                defense counsel with supplemental documents [.3].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 87 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                           Date:            March 31, 2022
                                                                           File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                          Page:            85

Date        Timekeeper          Description                                               Hours              Fees

12/21/21    A. Koob             Review emails from RB regarding interviews of              0.60         $138.00
                                Jamee and Elizabeth, review memos and respond to
                                same [.2]; review of materials related to G. Merry
                                and email to KHB, RB and MEB regarding same,
                                multiple emails to/ from Soren and RB and KHB
                                regarding upcoming depositions and who will be
                                deposed [.4].
12/22/21    R. Bennett          Further review of draft brief and emails [.8]; review      2.30       $1,966.50
                                motions and declaration [.5]; telephone conference
                                with Katie Bennett re meet and confer and results of
                                telephone conference with Sarff [.7]; review Marc
                                Betinsky email re Griffin Merry [.3].
12/22/21    K. Bennett          conference with RB re: meet and confer with                1.60       $1,096.00
                                Sarff/plan for motion/request to wait to file; update
                                remainder of team re: same [1.6]
12/22/21    E. Mignanelli       Revise brief in support of motion to unseal                4.30       $2,494.00
                                complaint and re confidentiality in light of M.
                                Betinsky and K. Bennett's reviews and edits (1.0);
                                draft motion, proposed order, notice of hearing,
                                declaration in support of motion, and other
                                certificates of compliance to accompany filing of
                                motion (2.1); communications with case team and
                                final revisions in anticipation of filing of motion
                                (1.2).
12/22/21    M. Betinsky         Review all documents to be filed with motion re            4.00       $2,120.00
                                confidentiality designation, review, revise and edit
                                brief re same, meet with KHB re same, meet with
                                ESM re same, revise meet and confer statement and
                                distribute, review email history with Sarff re same,
                                conf. call with KHB/ESM re strategy and meet and
                                confer with Sarff, next steps (3.5); work on
                                deposition scheduling, T/C with Griffin Merry re
                                same, update CRG re same, email Sarff (.5).
12/23/21    A. Koob             Emails with D. Roisum regarding Stevenson                  0.20          $46.00
                                records/billing and review electronic file regarding
                                same.
01/05/22    R. Bennett          Phone call with client (.4); phone call with K. Sarff      0.70         $598.50
                                (.3).
01/06/22    R. Bennett          Emails and text to and from client (.5).                   0.50         $427.50
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 88 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:            March 31, 2022
                                                                          File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:            86

Date        Timekeeper          Description                                              Hours              Fees

01/06/22    K. Bennett          Email team re: deposition plan [.4]Emails and             1.00         $685.00
                                discussions with team re: Sarff no-reply/filing of
                                motion; email Brenda re: potential filing tomorrow
                                re: re-designations [.6].
01/06/22    E. Mignanelli       Revise meet and confer statement to accompany             0.30         $174.00
                                anticipated filing of confidentiality motion and
                                motion to unseal.
01/06/22    M. Betinsky         Emails re deposition planning (.2); emails re motion      0.40         $212.00
                                concerning confidentiality designations (.2).
01/07/22    R. Bennett          Review Sarff letter and our motions and filings.          2.00       $1,710.00

01/07/22    K. Bennett          Review and edit meet and confer statement                 1.20         $822.00
                                [.6]Review emails re: redesignation motion; email
                                re: same [.6].
01/07/22    E. Mignanelli       Finalize memorandum in support of motion to seal          4.20       $2,436.00
                                and related submissions (3.1); review and analyze
                                local rules and procedures provided in J. TNL's
                                protective order to conform sealing process to same
                                (.6)' communication and coordination with staff
                                completing filing (.5).
01/07/22    M. Betinsky         Attention to motion re confidentiality designations,      1.40         $742.00
                                review and revise submissions with same, T/C with
                                ESM re same and filing same, numerous emails re
                                same (1.0); review Sarff letter re same (.2); emails
                                re deposition scheduling (.2).
01/08/22    K. Bennett          Review Sarff's response to Dec 7 letter [1.0].            1.00         $685.00

01/10/22    R. Bennett          Phone call with K. Bennett re: deponents (.3); email      0.50         $427.50
                                re: deposition of additional witnesses (.2).
01/10/22    K. Bennett          Email re: additional deponents to team [.2]; email        0.40         $274.00
                                Sarff re: Caspers, Arradondo and Bauer availability
                                [.2].
01/10/22    K. Bennett          conference with RB re: deponents [.3]                     0.30         $205.50

01/10/22    K. Bennett          conference with RB re: depositions [.4]                   0.40         $274.00

01/11/22    K. Bennett          Being prepping/drafting outline for Caspers               2.10       $1,438.50
                                deposition [2.1].
01/11/22    A. Koob             Emails regarding Severance video depos, retrieve          0.70         $161.00
                                flash drive, review and download same, email to
                                KHB and telephone call with KHB.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 89 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:             March 31, 2022
                                                                        File Number:      129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:             87

Date        Timekeeper          Description                                             Hours              Fees

01/12/22    K. Bennett          Continue depo prep for list of upcoming                  4.00       $2,740.00
                                depos/strategize re: claims in complaint [1.2]Begin
                                review of Severance deposition [2.8].
01/13/22    R. Bennett          Phone call with K. Bennett re: deposition (.6);          0.90         $769.50
                                calls/emails with M Betinsky re: fact witnesses [.3]
01/13/22    K. Bennett          Finish review of Severance deposition                    4.90       $3,356.50
                                [1.0]Strategize re: deposition plan; email team re:
                                same [1.0]Call to RB re: plan; draft email to
                                Sarff/email Sarff re deponents and extension
                                [.7]Continue drafting Caspers deposition outline
                                [2.0]Review scheduling order [.2].
01/13/22    M. Betinsky         T/C with RB re deposition planning, emails re same,      0.40         $212.00
                                messages with Griffin Merry re Feb 22 deposition,
                                emails RB/KHB re same and logistics.
01/14/22    R. Bennett          Phone call with K. Bennett re: depos (.4); phone call    3.10       $2,650.50
                                with client (.3); review outline for Caspers depo and
                                BRRT 40mm shooter and BWC data (1.0); review
                                motion response and email team (1.4).
01/14/22    K. Bennett          Finalize draft depo outline for Caspers [2.4]Review      5.00       $3,425.00
                                BWC video and supplemental reports/draft outlines
                                re: additional personnel with 40 mm
                                launchers/disqualifying evidence [2.6].
01/14/22    M. Betinsky         Brief review of opposition to confidentiality motion,    0.20         $106.00
                                emails RB/KHB/ESM re same.
01/15/22    K. Bennett          Review defendants' memo [2.0]Review emails from          3.20       $2,192.00
                                team re: same [.4]Call with RB to strategize
                                [.3]Email team with ideas for argument; email team
                                re: next steps [.5].
01/15/22    E. Mignanelli       Review and analyze defendants' response to motion        0.70         $406.00
                                to unseal complaint and change confidentiality
                                designations.
01/15/22    M. Betinsky         T/C RB re confidentiality motion, email                  0.50         $265.00
                                RB/AJN/KHB/ESM re same and thoughts for
                                response/argument.
01/16/22    E. Mignanelli       Analyze primary authorities relied upon by               3.80       $2,204.00
                                defendants in response to motion to unseal and draft
                                and argument outline in preparation for hearing on
                                same.
01/16/22    M. Betinsky         Review opposition to motion re confidentiality,          1.30         $689.00
                                email thoughts for arguments to RB/KHB/ESM,
                                review ESM argument outline.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 90 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            88

Date        Timekeeper          Description                                            Hours              Fees

01/17/22    R. Bennett          Review Mille Lacs county subpoena and revise            3.70       $3,163.50
                                same (.6); phone call with K. Bennett re: Mille Lacs
                                subpoena changes (.4); further review of defendants
                                responses to ur motion; review EM's and KHB's
                                arguement outline and draft proposal to make
                                additional arguments to reorganize (1.7); attend
                                zoom re: same with KHB/EM and MB (1.0).
01/17/22    K. Bennett          Review Esther's outline for argument/edit and           8.30       $5,685.50
                                recirculate; review MEB's notes re: argument and
                                strategize [2.2]Prep for meeting with team and
                                attend zoom meeting re: argument and reply brief
                                [1.4]Review scheduling order and draft Stip for
                                Extension [1.0]Strategize re: 40 mm launcher
                                depositions [1.4]review and discuss video with
                                MEB and how to best use evidence at depositions
                                [.3]Draft subpoena and exhibit a to Mille Lacs
                                County and circulate to team; review edits
                                [1.6]Draft status update letter to TNL and circulate
                                [.4].
01/17/22    E. Mignanelli       Conference with case team re strategy for replying      1.80       $1,044.00
                                to arguments in defendants' response to motion to
                                unseal (1); begin outlining issues raised in each of
                                the cases relied upon in defendants' response (.8).
01/17/22    M. Betinsky         T/C with RB, Zoom with RB/KHB/ESM re                    1.80         $954.00
                                confidentiality motion, reply brief, arguments for
                                same, etc. (1.3); review draft subpoena to Mille
                                Lacs, T/Cs with KHB re same and stip for extension
                                of time, strategy for impending depositions, emails
                                re same (.5).
01/18/22    R. Bennett          Phone call with K. Bennett re reply brief request       0.70         $598.50
                                (.3); phone call with K. Bennett re: schedule, plan
                                and stipulation (.4).
01/18/22    K. Bennett          conf with RB re: scheduling depos/stipulation for       0.40         $274.00
                                extension [.4]
01/18/22    K. Bennett          Calls/emails to chambers re: reply brief [.2]Review     0.80         $548.00
                                RB edits to Feb 1 status update letter and finalize
                                [.3]Review emails to Sarff re: depos/deadlines and
                                develop plan if no response [.3].
01/19/22    R. Bennett          Review Mille Lacs subpoena (final) (.4).                0.40         $342.00

01/19/22    K. Bennett          Review, edit and finalize subpoena materials to         1.50       $1,027.50
                                MLCSO; email instructions to Brenda [1.5].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 91 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:            March 31, 2022
                                                                         File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:            89

Date        Timekeeper          Description                                             Hours              Fees

01/19/22    A. Koob             Email to B. Zwinger regarding service and review         0.10          $23.00
                                of various emails regarding service of subpoenas.
01/20/22    R. Bennett          Review deposition schedule (.3); phone call with K.      3.20       $2,736.00
                                Bennett re dates need to be secured (.4); call with
                                M. Betinsky and K. Bennett re: approach to depos,
                                scheduling and need for 60 day rather than 30 day
                                extension give Sarff's failure to reply (.5); review
                                Sarff email regarding depos and schedule; phone
                                call with K. Bennett re: same (.8); phone call with
                                K. Bennett and Sarff re: depositions and schedule
                                (.6); phone call with M. BEtinsky and K. Bennett
                                and schedule (.6).
01/20/22    K. Bennett          Call and email to Sarff [.5]Begin prep and depo          7.80       $5,343.00
                                outline for Angerhofer [4.0]Review emails from
                                Sarff [.4]Calls with RB [1.2]Call with RB/Sarff
                                [.6]Call with RB/MEB re: staffing and next steps re:
                                upcoming depositions [1.1].
01/20/22    M. Betinsky         Conf call with RB/KHB re impending depositions,          1.80         $954.00
                                scheduling and coverage, strategy for same (1.1),
                                emails Sarff and RB/KHB re schedule, follow-up
                                call with KHB re video for depositions and strategy
                                re timestamps on videos/use in depositions (.7)
01/20/22    A. Koob             Emails regarding McCann transcript [.2]; telephone       1.70         $391.00
                                call with KHB regarding videos for McCann
                                deposition [.1]; emails regarding Gerlicher and
                                review materials received to date [.6]; receive and
                                review emails from KHB with McCann video
                                depositions and download, save and review of same
                                [.8].
01/21/22    R. Bennett          Call with K. Bennett and M. Betinsky re: pinning         0.80         $684.00
                                BWC timer down.
01/21/22    K. Bennett          Finalize draft of Angerhofer deposition outline          3.30       $2,260.50
                                [1.5]Continue prep for Caspers and 40 mm
                                launchers/SWAT 1280 depositions [1.4]Strategy
                                call with MEB/RB re: video evidence/Chris Sullivan
                                [.4].
01/21/22    M. Betinsky         Numerous T/Cs with RB/KHB re deposition                  1.00         $530.00
                                strategizing, use of still frames, and deposition
                                coverage/planning.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 92 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:              March 31, 2022
                                                                        File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:              90

Date        Timekeeper          Description                                              Hours              Fees

01/22/22    K. Bennett          Review McCann Video deposition to strategize re:          2.40       $1,644.00
                                Caspers deposition [1.0]Review McCann BWC;
                                Muridi BWC re: Caspers and BRRT identification
                                depositions [1.4].
01/22/22    E. Mignanelli       Begin drafting reply brief in support of motion to        6.40       $3,712.00
                                unseal and change defendant's improper
                                confidentiality designations.
01/23/22    R. Bennett          Review Gerlicher outline for depositions; review          3.00       $2,565.00
                                Gerlicher interview including exhibits.
01/24/22    R. Bennett          Phone call with M. Betinsky re: draft reply brief x2      3.00       $2,565.00
                                (1.1); review E. Mignanelli draft reply brief (1.0);
                                review Caspers diagrams/outline (.5); review depo
                                notices (.4).
01/24/22    K. Bennett          Continue review of BWC and fInalize Caspers depo          8.40       $5,754.00
                                outline; circulate to team [3.0]Strategize re: SWAT
                                1280 depositions and continue review of BWC and
                                time difference analysis [2.5]Create exhibits re: time
                                differences of BWC [1.0]Email Chris re: Hakanson
                                video [.2]Discuss Hakanson with RB; Monnell
                                claim [.3]Review re-draft of reply to
                                unseal/redesigate and send edits [1.2]Review email
                                from Esther and send schedule for Stevenson [.2].
01/24/22    E. Mignanelli       Finish draft reply brief (3.8); conference with M.        5.60       $3,248.00
                                Betinksky re same and revise draft reply brief
                                accordingly (1.1); draft joint motion for continued
                                sealing and required attachment to same (.6).
01/24/22    M. Betinsky         T/Cs with RB re reply brief in support of                 5.40       $2,862.00
                                confidentiality motion (1.1), review brief, T/Cs and
                                emails with RB/KHB/ESM re same, edit and revise
                                brief (4.1); emails re deposition scheduling and
                                outlines for depositions, emails Sarff re subpoenas
                                and deposition notices (.3).
01/25/22    R. Bennett          Deal with expert report issues (1.0); phone call with     2.40       $2,052.00
                                K. Bennett (.4); phone call with M. Betinsky and K.
                                Bennett re: video with Soren (.3); review and revise
                                reply brief (.4); phone call with client (.3).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 93 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:              March 31, 2022
                                                                       File Number:       129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:              91

Date        Timekeeper          Description                                             Hours              Fees

01/25/22    K. Bennett          Review updated draft of motion to unseal [.8]Call        5.40       $3,699.00
                                with MEB re: strategy for hearing [.6]Email Brenda
                                re: deposition notices [.2]Email to Brenda re:
                                hearing and binder [.2]Review depo
                                notices/subpoenas; email to Soren re: deposition
                                notice and prep session; call to Jamee and text to
                                client re: email for Jamee [.8]Call with MEB re:
                                depo plan and info to lay witnesses [.3]Begin
                                drafting depo outline for Meath [2.5].
01/25/22    K. Bennett          Review motion to seal and email Sarff to re:             0.60         $411.00
                                agreeing to unseal [.3]; conf with RB/MEB re: video
                                with Soren [.3]
01/25/22    M. Betinsky         Attention to deposition planning, T/Cs with KHB re       3.60       $1,908.00
                                same (.6), T/Cs with RB re subpoenas from Sarff
                                and depo notices (.2), T/C with Griffin Merry re
                                subpoena and deposition date and follow-up emails
                                with him and RB/KHB (.8), T/C with Nick Adler re
                                Instagram video showing Soren's shooting and
                                follow-ups with him and KHB (.6); T/Cs with RB
                                and KHB re reply on confidentiality motion and
                                edits/changes to same, messages ESM re same and
                                finalizing brief (1.0); emails re continued-sealing
                                motion and best approaches with Sarff and
                                discovery extension deadlines/strategy (.4).
01/25/22    A. Koob             Telephone call with RB regarding transcripts for         0.30          $69.00
                                Soren review, prepare transcripts for Soren and
                                email same to Soren.
01/25/22    C. Sullivan         Preparation of body cam video graphics per K.            1.50         $420.00
                                Bennett.
01/26/22    R. Bennett          Review Anthony Caspers depo outline in detail            3.30       $2,821.50
                                (1.0); provide suggestions and approaches with K.
                                Bennett (.8); review attachments (.5); review revised
                                outline and Caspers BWC video (1.0)
01/26/22    K. Bennett          Review/finalize reply brief and emails re: same         10.60       $7,261.00
                                [.5]Conf call with RB on Caspers outline
                                [.6]Research Caspers background, strategize re:
                                depo and edit outline [5.1]Continue prepping for
                                SWAT 1280 depositions, begin drafting Meath's
                                deposition outline [2.4]Review stills from Chris
                                Sullivan and information on time difference [2.0].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 94 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:            March 31, 2022
                                                                          File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:            92

Date        Timekeeper          Description                                              Hours              Fees

01/26/22    M. Betinsky         Messages with Griffin Merry re Instagram video            0.60         $318.00
                                and impending deposition, emails re strategy for
                                depositions, etc (.4); attention to getting reply on
                                confidentiality filed (.2).
01/26/22    A. Koob             Emails with MEB regarding sending video of Soren          0.30          $69.00
                                aftermath of shooting video to Griffin Merry, upload
                                video and send/email video of same to Griffin
                                Merry, emails with Griffin Merry.
01/26/22    C. Sullivan         Preparation of body cam video graphics per K.             5.50       $1,540.00
                                Bennett.
01/27/22    R. Bennett          Review Baude 8th Circuit opinion and call with K.         3.30       $2,821.50
                                Bennett re: same (.6); call with KHB re: BWC
                                evidence and presentation (1.3); review Mille Lacs
                                County and phone call with K. Bennett (.9); rule out
                                Mille Lacs County Swat as Stevenson shooter (.5).
01/27/22    K. Bennett          Continue review of stills from Chris Sullivan            10.00       $6,850.00
                                [1.4]Distill BWC time difference and set up call
                                with Chris [.8]Begin drafting Seely's deposition
                                outline [5.7]Discuss strategy with 40 mm shooters
                                with RB [.4]; discuss same with MEB [.2]Review
                                email and subpoena response from Mille Lacs
                                [.8]Calls to RB and MEB re: same [.5]Email Seely
                                dep outline to team [.2].
01/27/22    M. Betinsky         T/Cs with KHB re still frames from bodycams,              0.90         $477.00
                                Stevenson depositions and strategy (.4); T/C with
                                KHB re subpoena response from Mille Lacs and
                                review documents re same (.3); emails re continued
                                joint sealing re confidentiality motion (.2).
01/28/22    K. Bennett          conf call with MEB re: depo strategy, scheduling,         0.50         $342.50
                                next steps [.5]
01/28/22    K. Bennett          Review proposed Joint Motion edits; review pgs re:        4.60       $3,151.00
                                D motion and add Plaintiff's section/circulate to
                                team with rationale and finalize/send to Brenda
                                [.5]Being prepping for hearing on motion to unseal
                                [1.3]Begin drafting Kaminski deposition outline
                                [2.3]Email Kaminski to MEB/RB and link to T
                                drive with frame by frames and outline key pages
                                [.3]Email Mille Lacs documents and response from
                                Joe Walsh to Sarff [.2]Review Dr. Ali M.'s expert
                                report and discuss with RB [1.2].
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 95 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:            March 31, 2022
                                                                          File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:            93

Date        Timekeeper          Description                                              Hours              Fees

01/28/22    E. Mignanelli       Assist K. Bennett in communications with opposing         0.70         $406.00
                                counsel and finalization of joint sealing motion, and
                                review and analyze third party discovery produced
                                by Mille Lacs County Sheriff's Department.
01/28/22    M. Betinsky         Review draft Caspers deposition outline and prepare       2.20       $1,166.00
                                thoughts for same (1.3); further review of Mille
                                Lacs documents and emails KHB re same (.2);
                                emails re continued sealing motion and changes to
                                same (.2); conference call with team re depositions,
                                strategy, scheduling and next steps (.5).
01/31/22    R. Bennett          Phone call with K. Bennett re: depo (.4); phone call      3.40       $2,907.00
                                with M. Betinsky rel letter to Judge TNL re status
                                update (.4); review draft of status update letter to
                                Judge TNL; edit/add changes (.9); phone call with
                                K. Bennett re: Sarff no show (.5); phone call with K.
                                Bennett re: Caspers depo (.5); further revisions to
                                letter and phone call with M. Betinsky re: same (.7).
01/31/22    K. Bennett          Continue to prep for Caspers deposition                   7.60       $5,206.00
                                [2.4]Discuss with team re: Sarff's message to
                                reception; call Sarff; email Sarf [.6]Attend
                                deposition of Caspers [2.5]Debrief with MEB/RB
                                and send key testimony to team [.8]Review and edit
                                update letter to TNL [.5]Review edits from
                                RB/MEB and approve for sending [.8].
01/31/22    K. Bennett          Email Sarff re: outstanding deposition scheduling         0.40         $274.00
                                [.4].
01/31/22    M. Betinsky         Final prep for Caspers deposition, attend deposition,     6.50       $3,445.00
                                deal with Sarff no-show and strategize email,
                                debrief with RB after depo, attend to exhibits for
                                same, strategize next steps and impending
                                depositions (4.3); review, revise and edit status
                                update letter to Judge TNL, T/Cs with RB and
                                emails RB/KHB re same (2.2).
01/31/22    A. Koob             Receive and review Mille Lacs County documents,           0.40          $92.00
                                save same to T Drive [.2]; review subrogation
                                information, telephone call to Hennepin Health (left
                                voicemail) and email to Hennepin Health regarding
                                updated itemization request [.2]
01/31/22    C. Sullivan         Preparation of graphics per K. Bennett.                   3.00         $840.00

02/01/22    R. Bennett          Phone call with K. Bennett and M. Betinsky                1.50       $1,282.50
                                regarding damages, deposition and proof.
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 96 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                          Date:            March 31, 2022
                                                                          File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                         Page:            94

Date        Timekeeper          Description                                              Hours              Fees

02/01/22    K. Bennett          Draft deposition outline for Sgt. Johnson and             8.00       $5,480.00
                                circulate to team with plan [2.3]Email Exhibits from
                                Caspers to Jane [.2]Review frame by frames and
                                BWC time analysis; strategize re: depositions of
                                1280 and Bauer [4.0]Review findings with MEB via
                                zoom conference [1.0]Emails with Soren re: depo
                                prep [.2]Emails with Brenda/Trial Support re:
                                hearing [.3].
02/01/22    M. Betinsky         ZOOM with KHB re bodycams and                             2.40       $1,272.00
                                stillframes/frame-by-frame breakdown of same and
                                strategize for impending depositions, numerous
                                emails re same (1.5); emails Sarff re deposition
                                scheduling (.2); emails Soren re prep session for
                                deposition and document review, etc (.3); emails re
                                logistics for hearing on confidentiality motion (.2);
                                final revisions to update letter to Judge TNL and
                                send same (.2).
02/01/22    A. Koob             Email from J. Hanslick regarding access to                0.10          $23.00
                                documents and email to KHB regarding same.
02/01/22    C. Sullivan         Preparation of graphics per K. Bennett.                   2.00         $560.00

02/02/22    R. Bennett          Review and revise email to K. Sarff (.5); phone call      3.80       $3,249.00
                                with K. Bennett re: deposition (.5); email A. Koob
                                (.3); depo strategy with M. Betinsky and K. Bennett
                                (1.5); phone call with client (.5); organize client's
                                visit (.5).
02/02/22    K. Bennett          Review Sarff's scheduling email; review Scheduling       10.70       $7,329.50
                                order, calendar; draft response and circulate to team
                                to check schedules and review past scheduling
                                emails [1.3]Prep, strategize re: upcoming 40 mm
                                depositions [2.4]Prep, strategize re: upcoming
                                Monell depositions [3.4]Continue prepping for
                                hearing on Confidentiality designations - pull cases,
                                review [1.7]Strategize with RB re: Soren prep/depo
                                [.4].Depo strategy call with RB/MEB [1.5]
02/02/22    E. Mignanelli       Development of strategy for SWAT 1280 officer             0.40         $232.00
                                depositions, and correspondence with opposing
                                counsel re scheduling of same.
02/02/22    M. Betinsky         Conf call with RB/KHB re deposition planning,             1.70         $901.00
                                scheduling and strategy (1.5); review draft emails re
                                same, emails KHB/Sarff re same (.2)
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 97 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            95

Date        Timekeeper          Description                                            Hours              Fees

02/02/22    A. Koob             Review email from RB regarding request for              0.10          $23.00
                                materials for client review in advance of deposition
                                and respond to same.
02/03/22    R. Bennett          Phone call with M. Betinsky and K. Bennett re:          4.00       $3,420.00
                                motion argument (1.0); review medical records to
                                prep Soren for deposition (2.5); phone call with A.
                                Koob (.5).
02/03/22    K. Bennett          Continue prep for argument - review cases, briefs       8.90       $6,096.50
                                and strategize re: outline, powerpoint and
                                anticipation of TNL's questions [7.9]; conf with
                                RB/MEB re: strategy and argument ideas [1.0]
02/03/22    M. Betinsky         Conference call with RB/KHB re strategy and             1.40         $742.00
                                arguments for confidentiality motion hearing,
                                strategize re same (1.0); emails Sarff and RB/KHB
                                re deposition planning, T/Cs RB/KHB re same (.4).
02/03/22    A. Koob             Review/gather medical records/summary of same           4.50       $1,035.00
                                for RB for client deposition preparation, updates to
                                medical summary and email to RB with materials
                                for review [4]; telephone call with RB regarding
                                deposition prep materials and email Dr. Sher's
                                report to RB [.5].
02/04/22    R. Bennett          Phone call with M. Betinsky re: Chris Sullivan          1.70       $1,453.50
                                expert/lay status (.4); review Johnson outline and
                                emails (1.0); phone call with Rochelle Olson (.3).
02/04/22    K. Bennett          Continue prep for Bauer and additional 40 mm            7.50       $5,137.50
                                launcher operators' depositions - review of frame by
                                frames, review of BWC and time differences;
                                continue drafting outlines [3.3]Continue preparation
                                for hearing on motion to unseal and de-designation
                                [4.2].
02/04/22    M. Betinsky         Review Johnson deposition outline and emails            0.80         $424.00
                                RB/KHB re same (.4); T/C with KHB re arguments
                                and strategy for confidentiality hearing before TNL
                                (.4); emails re press at confidentiality hearing and
                                hearing notice (.2).
02/06/22    K. Bennett          Continue prep for argument/outline and edit             1.20         $822.00
                                powerpoint [1.2].
02/07/22    R. Bennett          Review K. Bennett argument and powerpoint (.7);         2.10       $1,795.50
                                phone call with K. Bennett re: thoughts (.5); review
                                additions (.3); review medical (.6).
            CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 98 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:            March 31, 2022
                                                                        File Number:     129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:            96

Date        Timekeeper          Description                                            Hours              Fees

02/07/22    K. Bennett          Continue to prep for hearing [4.0]Review                6.40       $4,384.00
                                scheduling emails, prep subpoenas and zoom info
                                and depo notices [1.0]Review medical
                                summaries/records and draft list/rationale for
                                proposed medical experts [.9]conf with RB re:
                                powerpoint/argument [.5]
02/08/22    R. Bennett          Phone call with K. Bennett re: argument (.5); attend    2.50       $2,137.50
                                argument of motion re: "Confidentiality" with Judge
                                TNL and phone call with K. Bennett and E.
                                Mignanelli afterward (2.0).
02/08/22    K. Bennett          Review argument outline/strategize/edit and prep        6.20       $4,247.00
                                for argument [3.4]Mtg with Esther to prep for
                                argument [1.0]Attend argument [1.2]Debrief re:
                                argument and discuss next steps with team [.6].
02/08/22    E. Mignanelli       Prepare for and attend argument on confidentiality      3.10       $1,798.00
                                motion and motion to unseal.
02/08/22    M. Betinsky         T/C with KHB re arguments and strategy for              1.20         $636.00
                                confidentiality motion hearing, follow-up with
                                KHB/RB/ESM following hearing and takeaways,
                                strategizing next steps (.8); emails re deposition
                                planning and strategy (.4).
02/08/22    N. Adler            Review file- Prep for meeting.                          1.50         $330.00

02/09/22    R. Bennett          Prepare for and attend pre deposition conference        5.90       $5,044.50
                                with client (3.0); phone call with K. Bennett re:
                                Stevenson depositions and strategy (.9); review Rule
                                68 Offer and separate call with M. Betinsky; K.
                                Bennett, A. Noel and client (1.6); email to
                                CFO/COO T. Schwartz (.4).
02/09/22    K. Bennett          Email Sarff/strategize re: depos [.3]Finalize           7.60       $5,206.00
                                subpoenas/attachments/depo notices for Nelson and
                                Arradondo [1.0]Continue preparation for
                                depositions of Seely and Defendant Bauer; continue
                                drafting Seely outline [3.6]Prep for meeting with
                                civil rights team tmr re: use of BWC at Bauer and
                                Seely's deposition [1.4]Review Rule 68 offer
                                [.4]Discussions with team re: Rule 68 offer and plan
                                re: discussion with Soren [.5];call with MEB re:
                                depositions/BWC use at depos [.4]
02/09/22    M. Betinsky         T/C with KHB re impending depositions, use of           1.20         $636.00
                                bodycam videos, strategy and planning, emails re
                                same (.8); review offer of judgment, T/C with RB re
                                same and messages RB/KHB/ESM re same (.4).
              CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 99 of 103

                                                 ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:               March 31, 2022
                                                                       File Number:        129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:               97

Date          Timekeeper           Description                                           Hours                Fees


Total Professional Services                                                           2,367.60      $1,481,258.00


Timekeeper             Title                                     Hours             Rate               Fees
R. Bennett             Partner                                  548.00          $855.00       $468,540.00
A. Noel                Partner                                  101.20          $730.00          $73,876.00
K. Bennett             Partner                                  731.50          $685.00       $501,077.50
M. Betinsky            Counsel                                  606.40          $530.00       $321,392.00
M. Betinsky            Counsel                                       0.40                        No Charge
E. Mignanelli          Associate                                  78.70         $580.00          $45,646.00
G. Wiessner            Associate                                     9.80       $485.00           $4,753.00
E. Mignanelli          Associate                                  10.80                          No Charge
A. Koob                Paralegal                                224.60          $230.00          $51,658.00
N. Adler               Investigator                               20.70         $220.00           $4,554.00
B. Cade                Investigator                                  6.00       $220.00           $1,320.00
R. Ehramjian           Miscellaneous                                 1.70       $280.00            $476.00
C. Sullivan            Miscellaneous                              15.00         $280.00           $4,200.00
T. Wilhelmi            Miscellaneous                                 0.70       $280.00            $196.00
P. McCaffrey           Trial Consultant                           12.10         $295.00           $3,569.50
                                                                                Totals      $1,481,258.00

Detail for Expenses

Description                                                                                              Amount

Copies
    03/31/21       Copies - Thomson Reuters - West - West Publishing Corporation                         $195.42
                   - Court document retrieval from Hennepin County, MN District
                   CourtCommunities United Against Police Brutality v. City of
                   Minneapolis (27-CV-19-20757)
Court Reporter
    10/26/21       Court Reporter - DOBY PROFESSIONAL REPORTING -                                      $1,942.55
                   DOBY PROFESSIONAL REPORTING INC - Depo of Ryan
                   McCann
    12/17/21       Court Reporter - DOBY PROFESSIONAL REPORTING -                                      $1,037.00
                   DOBY PROFESSIONAL REPORTING INC - Deposition of
                   Matthew Severance
    02/03/22       Court Reporter - DOBY PROFESSIONAL REPORTING -                                        $652.10
                   DOBY PROFESSIONAL REPORTING INC - Video deposition
              CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 100 of 103

                                             ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:          March 31, 2022
                                                                        File Number:   129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:          98

Description                                                                                        Amount

                   of Anthony Caspers; original and one copy; reporter's appearance
                   fee; read and sign administration fee; exhibits scanned and
                   indexed; postage and delivery.
                                                                            Subtotal             $3,631.65
Experts
    09/22/20       Experts - Law Enforcement Risk Management Group, Inc - Law                    $8,500.00
                   Enforcement Risk Management Group, Inc - Retainer fee for
                   expert witness services of Jack Ryan
    01/12/21       Experts - Medicolegal-Ophthamology LLC - Experts -                            $2,500.00
                   Explanatory expert to review all records and imaging and
                   develop a report for the mediation
    01/16/21       Experts - Brave Choices, Inc. - Heather Marie Holt -                            $200.00
                   Consultation and case summary for upcoming mediation
    03/17/22       Experts - Medicolegal-Ophthamology LLC - Medicolegal-                         $4,195.00
                   Ophthamology LLC - Final invoice - Receive Stevenson records
                   and review; begin review and speak with Robins Kaplan IT;
                   work on report; complete first draft and finalize.
                                                                          Subtotal              $15,395.00
Filing Fees
    10/06/20       Filing Fees - Corporate Payment Systems - Filing Fees - MN                      $400.00
                   District Court
    11/08/21       Filing Fees - Corporate Payment Systems - Filing Fees                           $100.00
    11/23/21       Filing Fees - Corporate Payment Systems - Filing Fees - Courts                $(100.00)
                   USDC MN
                                                                           Subtotal                $400.00
Local Travel
    11/05/21       Local Travel - Marc E. Betinsky - Parking - M. Betinsky,                         $11.00
                   11/02/2021 Parking at courthouse for settlement conference
    11/05/21       Local Travel - Robert Bennett - Parking - R. Bennett, 11/02/2021                 $11.00
                   Parking for settlement conference
                                                                           Subtotal                 $22.00
Mediation/Arbitration
    03/08/21     Mediation/Arbitration - Weyandt Mediation, PLLC - Weyandt                       $2,060.00
                 Mediation, PLLC - Plaintiff's portion of mediator's fee
Medical Records/Reports
    09/17/20       Medical Records/Reports - Civil Action Group - Medical                           $84.63
                   Records/Reports -Brave Choices Soren Stevenson
    09/28/20       Medical Records/Reports - Civil Action Group - Medical                           $72.00
                   Records/Reports -Fairview Central Business Office* - Soren
                   Stevenson
    09/28/20       Medical Records/Reports - Civil Action Group - Medical                          $108.04
                   Records/Reports -Fairview Health Services - Soren Stevenson
    10/05/20       Medical Records/Reports - Civil Action Group - Medical                           $52.29
                   Records/Reports - Fairview Health Services - Soren Stevenson
              CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 101 of 103

                                             ROBINS KAPLAN LLP

Stevenson, Soren                                                       Date:          March 31, 2022
                                                                       File Number:   129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                      Page:          99

Description                                                                                       Amount

    10/26/20       Medical Records/Reports - Civil Action Group - Medical                         $993.43
                   Records/Reports - Fairview Health Services - Soren Stevenson
    11/23/20       Medical Records/Reports - Civil Action Group - Medical                          $46.28
                   Records/Reports - U of M Physicians-BILLING for Soren
                   Stevenson
    12/30/20       Medical Records/Reports - Civil Action Group - Medical                          $52.29
                   Records/Reports - Fairview Health Services for Soren Stevenson
    01/11/21       Medical Records/Reports - Civil Action Group - Medical                         $753.33
                   Records/Reports - Fairview Health Services for Soren Stevenson
    01/11/21       Medical Records/Reports - Civil Action Group - Medical                          $52.94
                   Records/Reports - Fairview Central Business Office for Soren
                   Stevenson
    01/11/21       Medical Records/Reports - Civil Action Group - Medical                         $194.95
                   Records/Reports - Fairview Health Services for Soren Stevenson
    01/14/21       Medical Records/Reports - Civil Action Group - Medical                          $50.14
                   Records/Reports - Fairview Health Services for Soren Stevenson
    01/25/21       Medical Records/Reports - Civil Action Group - Medical                          $66.73
                   Records/Reports - Brave Choices for Soren Stevenson
    01/28/21       Medical Records/Reports - Civil Action Group - Medical                          $28.44
                   Records/Reports - U of M Physicians-Billing for Soren
                   Stevenson
    02/03/21       Medical Records/Reports - Civil Action Group - Medical                          $68.85
                   Records/Reports - University of Minnesota Dentistry-Billing for
                   Soren Stevenson
    02/04/21       Medical Records/Reports - Civil Action Group - Medical                          $69.32
                   Records/Reports - Midwest Eye Laboratories for Soren
                   Stevenson
    02/04/21       Medical Records/Reports - Civil Action Group - Medical                          $45.01
                   Records/Reports - University of Minnesota School of Dentistry
                   for Soren Stevenson
    02/11/21       Medical Records/Reports - Civil Action Group - Medical                         $149.65
                   Records/Reports - Midwest Eye Laboratories - Soren Stevenson
    03/05/21       Medical Records/Reports - Sharecare Health Data Services, LLC                   $21.47
                   - Sharecare Health Data Services, LLC - Medical records
    03/26/21       Medical Records/Reports - Civil Action Group - Medical                          $28.44
                   Records/Reports
    04/08/21       Medical Records/Reports - Civil Action Group - Medical                          $70.39
                   Records/Reports - Fairview Central Business Office - Soren
                   Stevenson
    04/15/21       Medical Records/Reports - Civil Action Group - Medical                         $491.98
                   Records/Reports - Fairview Health Services for Soren Stevenson
    05/18/21       Medical Records/Reports - Civil Action Group - Medical                          $82.68
                   Records/Reports - University Anesthesia Providers, LLC for
                   Soren Stevenson
    06/09/21       Medical Records/Reports - Civil Action Group - Medical                          $66.18
                   Records/Reports - Brave Choices for Soren Stevenson
    06/30/21       Medical Records/Reports - Civil Action Group - Medical                          $27.88
                   Records/Reports
              CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 102 of 103

                                               ROBINS KAPLAN LLP

Stevenson, Soren                                                        Date:          March 31, 2022
                                                                        File Number:   129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                       Page:          100

Description                                                                                        Amount

    07/14/21         Medical Records/Reports - Civil Action Group - Medical                         $53.07
                     Records/Reports - Fairview Central Business Office - Soren
                     Stevenson
    07/16/21         Medical Records/Reports - Civil Action Group - Medical                        $465.53
                     Records/Reports - Fairview Health Services - Soren Stevenson
    08/06/21         Medical Records/Reports - Civil Action Group - Medical                         $85.60
                     Records/Reports - Hennepin County Medical Center for Soren
                     Stevenson
    09/16/21         Medical Records/Reports - Civil Action Group - Medical                         $49.71
                     Records/Reports - Fairview Central Business Office for Soren
                     Stevenson
    09/17/21         Medical Records/Reports - Civil Action Group - Medical                         $28.44
                     Records/Reports - Hennepin County Medical Center-Billing for
                     Soren Stevenson
    10/25/21         Medical Records/Reports - Civil Action Group - Medical                         $50.89
                     Records/Reports -Hennepin County Medical Center for Soren
                     Stevenson
    10/29/21         Medical Records/Reports - Civil Action Group - Medical                         $28.44
                     Records/Reports - Bright Eyes Vision Clinic for Soren Stevenson
    11/19/21         Medical Records/Reports - Civil Action Group - Medical                         $28.00
                     Records/Reports - Hennepin County Medical Center- Billing -
                     Soren Stevenson
    12/06/21         Medical Records/Reports - Civil Action Group - Medical                         $65.85
                     Records/Reports - Brave Choices Client: Soren Stevenson
    12/06/21         Medical Records/Reports - Civil Action Group - Medical                        $108.66
                     Records/Reports - Midwest Eye Laboratories Client: Soren
                     Stevenson
    12/14/21         Medical Records/Reports - Civil Action Group - Medical                        $144.53
                     Records/Reports - M Health Fairview Client: Soren Stevenson
    12/20/21         Medical Records/Reports - Civil Action Group - Medical                         $51.33
                     Records/Reports - Fairview Central Business Office* Client:
                     Soren Stevenson
    12/20/21         Medical Records/Reports - Civil Action Group - Medical                        $105.87
                     Records/Reports - Hennepin County Medical Center Client:
                     Soren Stevenson
    12/20/21         Medical Records/Reports - Civil Action Group - Medical                         $67.39
                     Records/Reports - University Anesthesia Providers, LLC Client:
                     Soren Stevenson
    12/20/21         Medical Records/Reports - Civil Action Group - Medical                         $51.33
                     Records/Reports - Fairview Central Business Office* Client:
                     Soren Stevenson
                                                                            Subtotal             $5,061.98
Messenger Service
    01/14/21         Messenger Service - Platinum Courier Service - Messenger                       $36.32
                     Service - RK to Neal Sher, MD
Service of Process
              CASE 0:20-cv-02007-SRN-TNL Doc. 86-7 Filed 04/04/22 Page 103 of 103

                                              ROBINS KAPLAN LLP

Stevenson, Soren                                                         Date:          March 31, 2022
                                                                         File Number:   129949.0000
Stevenson, Soren v. City of Minneapolis; John Doe                        Page:          101

Description                                                                                         Amount

    10/27/20        Service of Process - Metro Legal Services Inc. - Metro Legal                     $60.00
                    Services, Inc. - Service of S&C on Chief Arradondo and City of
                    Mpls.
    02/02/22        Service of Process - Metro Legal Services Inc. - Metro Legal                    $200.00
                    Services, Inc. - Service upon Mille Lacs County Sheriff's Office.
                                                                             Subtotal               $260.00
Video Depositions
    10/24/21        Video Depositions - Envision Video - Envision Video - Video                   $1,420.00
                    depo of Ryan McCann
    01/09/22        Video Depositions - Envision Video - Envision Video -                           $890.00
                    videography of Matthew Severance deposition
    02/07/22        Video Depositions - Envision Video - Envision Video - Video                     $530.00
                    deposition of Anthony Caspers; thumb drive with video files.
                                                                          Subtotal                $2,840.00
Color Copies
                    Color Copies (11,708) from 07/02/20 - 01/31/22                                $1,756.20
Photocopies
                    Photocopies (3,067) from 01/14/21 - 01/31/22                                    $276.03


                                                                     Total Expenses              $31,934.60
